                                          Case Number:20-002755-CI

Filing #   108550742 E-Filed 06/08/2020 05:07:14 PM




                                                             "
                                    EXHIBIT A',




***ELECTRONICALLYFILED 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
  FILED 05/15/2020 14:42:42 KEN    BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

Filing #   107269380 E-Filed 05/08/2020 09:44:17 PM


                                                      IN THE CIRCUIT COURT FOR PINELLAS COUNTY, FLORIDA
                                                                                       PROBATE DIVISION


           IN RE: ESTATE OF                                                                Case No. 20-004321-ES
           DONALD JOHN JACK
                             Deceased.


                                                              i


                                               LETTERS OF ADMINISTRATION


           TO ALL WHOM IT MAY CONCERN


                    WHEREAS, Donald John Jack,            a   resident of 12542 82nd Terrace N., Seminole, FL 33776, died


           on   April 21,2020, owning assets in the State of Florida, and

                    WHEREAS, Jessica Gunter has been appointed personal representative of the estate of the

           decedent and has   performed all   acts   prerequisite to issuance of Letters of Administration in the estate,

                     NOW, THEREFORE, I, the undersigned circuit judge, declare Jessica Gunter duly qualified

           under the laws of the State of Florida to act          as   personal representative of the estate of Donald John Jack,

           deceased, with full power to administer the            estate   according to law;        to    ask, demand,                 sue   for,   recover   and

           receive the property of the   decedent; to pay the debts of the decedent as far as the                                 assets of    the estate will


           permit and the law directs; and to make distributionof the estate according to law.

                    ORDERED in chambers, Pinellas County, Florida.
                                                                                       05415/2020 1 1:03:20 AM
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                                                                                               Pamela A. M.                     Campbell
                                                                                                            Circuit Judge




***ELECTRONICALLYFILED 05/08/2020 00:44:16 PM: KEN BURKE. CLERK OF THE CIRCUIT COURT. PINELLAS COUNTY***
                                                                                                                        TMM / ALL
                                                                                                     Transmittal Number: 21644374
Notice of Service of Process                                                                            Date Processed: 06/22/2020

Primary Contact:           Jamie Curry
                           Brookdale Senior Living
                           111 Westwood Pl
                           Ste 400
                           Brentwood, TN 37027-5057

Electronic copy provided to:                   Bahar Azhdari
                                               Marti Downey
                                               Laurel Johnston
                                               Michael Mueller
                                               Jennifer Fitzpatrick
                                               Timothy Cesar

Entity:                                       American Retirement Corporation
                                              Entity ID Number 1915123
Entity Served:                                American Retirement Corporation
Title of Action:                              The Estate of Donald J. Jack, by and Through Jessica Gunter vs. CCRC OPCO
                                              Freedom Square, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Wrongful Death
Court/Agency:                                 Pinellas County Circuit Court, FL
Case/Reference No:                            20-002755-CI
Jurisdiction Served:                          Florida
Date Served on CSC:                           06/19/2020
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Bennie Lazzara Jr.
                                              813-873-0026

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                                                         Case Number:20-002755-CI

Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM

                              IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                           CIVIL DIVISION
        THE ESTATE OF DONALD J. JACK, by and through
        JESSICA GUNTER, Personal Representative,

                        Plaint.iff,

        V.

        CCRC OPCO - FR :EDOM SQUARE, LLC; HCP,
        INC. a/k/a HCP 1NC. OF MARYLAND n/k/a                                          CASE NO: 20-002755-CI
        HEALTHPEAK Pf:OPERTIES, INC.; BROOKDALE
        SENIOR LIVING, INC.; BKD TWENTY-ONE
        MANAGEMENT COMPANY,INC.; AMERICAN
        RETIREMENT CCjRPORATION; LIFE CARE
        SERVICES, LLC; and, CYNTHIA AYALA (as to
        SEMINOLE PAVILION REHABILITATION AND                                               CERTIFIED PROCESS SERVER 6~
        NURSING SERVICES),
                                                                                         SECOND JUDIC iRCUlT COUR~FLOR!
                        Defendants.                                                       DATE SER~ ' . . _ O TIfr9E ~~

                                                                  SUMMONS

     --T-HE ST-AT-E-OF FLORIDA—

       TO ALL AND SINGULAR SHERIFFS OF SAID STATE:
                                                                                                                 1"_~5
       GREETINGS:

               YOU ARE HEREBY COMMANDED to serve this sutnmons and a copy of the Complaint and Designation of Email
       Addresses in the above styled cause upon the defendant(s):

                                              AMERICAN RETIREMENT CORPORATION
                                               c/o CORPORATION SERVICE COMPANY
                                                        1201 HAYS STREET
                                                      TALLAFIASSEE, FL 32301

       Each defendant is hereby reqtured to serve written defenses to said Complaint on plaintiffs attorney, whose nanie and address is:

                                                  BENNIE LAZZARA JR., ESQUIRE
                                                     WILKES & McHUGH, P.A.
                                                   TAMPA COMMONS, SUITE 800
                                                ONE NORTH DALE MABRY HIGHWAY
                                                        TAMPA, FL 33609
                                                                 (813) 873-0026
       within twenty (20) days affter service of this stunmons upon that defendant, exclusive of the day of service, and to file the original
       of said written defenses with the clerk of said court eitlier before service on plaintiffs attomey or inunediately tliereafter. If a
       defendant fails to do so, a default will be entered against that defendant for the relief demanded in the complaint or petition.
                                                                                  JUN 09 2020
                WITNESS my liand and the seal of said Court on the            day of                        1 2020.
   KEN BURKE CLERK CIRCUIT COURT                                                                                                      rf
                                                                          KEN BURKE, CPA
   315 Court Street                                                       Clerk of the Circiut Court
   Clearwater, Pinellas County, FL 33756-5165                                                                         ~~.,
                                                                                                                      ~*.;:
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                                                                          BY      EPUTY C RI~—                          (ttCqSCCiiti (•~ ~
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***ELECTRONICALLY FILEL 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM



                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                          IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                          CIVIL DIVISION


         THE ESTATE OF DONALD J. JACK, by and
         through JESSICA GUNTER, Personal
         Representative,

                        Plaintiff,

         V.


          CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
          INC. a/k/a HCP INC. OF MARYLAND n/k/a                  CASE NO.: O~ ` ~9 755 - C ~
          HEALTHPEAK        PROPERTIES,        INC.;
          BROOKDALE SENIOR LIVING, INC.; BKD
          TWENTY-ONE MANAGEMENT COMPANY,
          INC.;       AMERICAN         RETIREMENT
          CORPORATION; LIFE CARE SERVICES, LLC;
          and, CYNTHIA AYALA (as to SEMINOLE
          PAVILION REHABILITATION AND NURSING
         -SERVICES), - -         --- ---    --------

                        Defendants.
                                                         /


                      PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                THE ESTATE OF DONALD J. JACK, by and through JESSICA GUNTER, Personal

        Representative, and by and through undersigned counsel, hereby sues Defendants, CCRC OPCO

        - FREEDOM SQUARE, LLC; HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a

        HEALTHPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-

        ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION;

        LIFE CARE SERVICES, LLC; and, CYNTHIA AYALA (herein after, the "Defendants"). All of

        the allegations contained in this Complaint are based on either known facts or inforination and

        belief. Plaintiff alleges as follows:
                                      INTRODUCTION

       This case concerns the injuries, damages, and untimely death of DONALD J. JACK as a

result of Defendants' actions and omissions during his residency at Defendants' skilled nursing

facility known as Seminole Pavilion Rehabilitation and Nursing Services (the "Facility"). What

was supposed to be merely a short-term rehabilitation admission turned out to be a death sentence

for DONALD J. JACK due to Defendants' business practice of placing profits over residents. For

years, even before DONALD J. JACK's residency, Defendants chose to place profits over

residents and ignore deficiencies in their emergency preparedness plan and in their infection

prevention and control program. When Defendants' deficiencies became more pronounced in light

of the COVID-19 pandemic, Defendants continued to choose to place profits over residents by

refusing to be forthcoming with the authorities, staff, residents, and residents' relatives of the

                                              -l9 positive cases at the Facility. Instead;
potential dangers of COVID=19 and-of the COVID-

almost a week after the first COVID-19 death at the Facility, Defendants withheld information

regarding the COVID-19 positive death at the Facility and withheld supplies necessary to protect

residents and staff. During the time Defendants kept everyone in the dark and withheld necessary

supplies, DONALD J. JACK contracted COVID-19. Only after the Facility had become known as

the epicenter in Pinellas County for COVID-19 and intervention from the Florida Department of

Health, did Defendants transfer all ninety-five (95) residents, including DONALD J. JACK, to

local hospitals to get the necessary care and to allow Defendants and the Florida Department of

Health to completely reset the Facility's infection control practices, decontaminate the site, and

provide additional training for staff. Unfortunately, by this time DONALD J. JACK had tested

positive for COVID-19 and only five days thereafter DONALD J. JACK was dead as a result.

                JURISDICTION, PARTIES AND VENUE ALLEGATIONS

              This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00).

                                                2
         2.     On or about April 2, 2020, DONALD J. JACK was admitted to SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES, located at ] 0800 Temple Terrace,

Seminole, Florida 33772 in Pinellas County, where he remained until approximately April 17,

r~010a


         3.     Plaintiff, JESSICA GUNTER, is the Personal Representative of THE ESTATE OF

DONALD J. JACK. Letters of Administration, dated May 15, 2020, evidencing JESSICA

GUNTER's authority to bring this action on behalf of THE ESTATE OF DONALD J. JACK are

attached hereto as Exhibit "A."

         4.     SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is a

fictitious name owned by Defendant CCRC OPCO - FREEDOM SQUARE, LLC.

         5.     CCRC OPCO - FREEDOM SQUARE, LLC is the licensee that operated the
   ----       - --     --- - - - - - - - - - - --- - - ---           -- ---   - - - ---- - --- - ------ ---
Facility during DONALD J. JACK's residency.

         6.     CCRC OPCO - FREEDOM SQUARE, LLC, is an active Delaware liinited liability

company, with its principal place of business at 1920 Main Street, Suite 1200,

Irvine, California 92614, which is registered to do business in Florida and is doing business in

Florida.

         7.     CCRC OPCO - FREEDOM SQUARE, LLC conducted and engaged in business

activities within the State of Florida; engaged in substantial and not isolated activities within the

State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

ownership of, leasing of ope►-ation of, management of, and/or consultation with nursing home

facilities, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC




                                                 3
OPCO - FREEDOM SQUARE, LLC is subject to the jurisdiction of the courts of the State of

Florida.

       8.      CCRC OPCO - FREEDOM SQUARE, LLC committed tortious acts against

DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC OPCO -

FREEDOM SQUARE, LLC is subject to the jurisdiction of the Courts of the State of Florida.

       9.      HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a HEALTHPEAK

PROPERTIES, INC. (hereinafter referred to as "HCP") is the owner of property located at 10800

Temple Terrace, Seminole, Florida 33772, which is the property upon which the SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES is situated.

       10.     HCP is a Maryland corporation, with its principal place of business at 1920 Main

Street, Suite 1200, Irvine, California 92614, which is registered to do business in Florida and is

doing business in Florida.

       11.     HCP had the authority to and did exercise control over the funds available to the

Facility for the use and benefit ofthe residents, including DONALD J. JACK.

       12.     HCP required rents or other compensation from funds it knew were necessary for

DONALD J. JACK's support and maintenance. HCP knew that such conduct would deprive the

Facility of adequate resources to provide for the wellbeing of the Facility's residents, including

DONALD J. JACK.

       13.     HCP shared control over the operation of SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES tlirough its authority to control the funds

available to the Facility for the use and benefit of the residents, including DONALD J. JACK.
        14.    HCP conducted and engaged in business activities within the State of Florida;

engaged in substantial and not isolated activities within the State of Florida; and purposely availed

itself of the privileges of the State of Florida, through its ownership of, leasing of, operation of,

management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES, within the State of Florida. Accordingly,

pursuant to section 48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the

State of Florida.

       15.     HCP committed tortious acts against DONALD J. JACK in the State of Florida.

Each tortious act is specifically alleged in the subsequent counts. Accordingly, pursuant to section

48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the State of Florida.

       16.     BROOKDALE SENIOR LIVING, INC. is a Delaware corporation, with its

principal place of business at 111 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is doing business in Florida.

       17.     BROOKDALE SENIOR LIVING, INC. is the parent company and operator of

SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.

       18.     BROOKDALE SENIOR LIVING, INC. conducted and engaged in business

activities within the State of Florida; engaged in substantial and not isolated activities within the

State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

ownership of, leasing of, operation of, management of, and/or consultation with nursing homes,

including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the

State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE

SEN10R LIVING, INC. is subject to the jurisdiction ofthe courts ofthe State ofFlorida.
        19.     BROOKDALE SENIOR LIVING, INC. committed tortious acts against DONALD

J. JACK in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.

is subject to the jurisdiction of the courts of tlie State of Florida.          '•^

        20.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is a Delaware

corporation, with its principal place of business at 111 Westwood Place, Suite 400, Brentwood,

Tennessee 37027, which is registered to do business in Florida and is doing business in Florida.

        21.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. served as a

management company for SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES during DONALD J. JACK's residency.

        22.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. conducted and

engaged in business activities within the State of Florida; engaged in substantial and not isolated

activities within the State of Florida; and purposely availed itself of the privileges of the State of

Florida, through its ownership of, leasing of, operation of, management of, and/or consultation

with nursing homes, including SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES, within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes,

BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the

courts of the State of Florida.

        23.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. committed tortious

acts against DONALD J..JACK in the State ofFlorida. Each tortious act is specifically alleged in

the subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, BKD TWENTY-

ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the courts of the State

of Florida.



                                                    ~
       24.     AMERICAN RETIREMENT CORPORATION is a Tennessee corporation, with

its principal place of business at I 11 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is doing business in Florida.

       25.     AMERICAN RETIREMENT CORPORATION conducted and engaged in

business activities within the State of Florida; engaged in substantial and not isolated activities

within the State of Florida; and purposely availed itself of the privileges of the State of Florida,

through its ownership of, leasing of, operation of, management of, aiid/or consultation with nursing

homes, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

RETIREMENT CORPORATION is subject to the jurisdiction ofthe courts ofthe State ofFlorida.

       26.     AMERICAN RETIREMENT CORPORATION committed tortious acts against

DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

       27.     AMERICAN RETIREMENT CORPORATION is an entity that operated,

managed, controlled and oversaw SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES during DONALD J. JACK's residency.

       28.     LIFE CARE SERVICES, LLC is an active Iowa limited liability company, with its

principal place of business at 400 Locust Street, Suite 820, Des Moines, Iowa 50309, which is

registered to do business in Florida and is doing business in Florida.

       29.     LIFE CARE SERVICES, LLC served as a management company for SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES during DONALD J. JACK's

residency.



                                                 7
                       30.     LIFE CARE SERVICES, LLC conducted and engaged in business activities within

              the State of Florida; engaged in substantial and not isolated activities within the State of Florida;

              and purposely availed itself of the privileges of the State of Florida, through its ownership of,

              leasing of, operation of, management of, and/or consultation with nursing homes, including

              SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the State of

              Florida. Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC

              is subject to the jurisdiction of the courts of the State of Florida.

                       31.     LIFE CARE SERVICES, LLC committed tortious acts against DONALD J. JACK

              in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

              Accordingly, pursuant to section 48.193, Florida Statutes, L1FE CARE SERVICES, LLC is subject

              to the jurisdiction of the courts of the State of Florida.
--   -- - ---- -   -     - -- ---- -   -- -     -- - -    --- - - --- --
                       32.     CYNTHIA AYALA was at all material times hereto a resident of the State of

              Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING

              SERVICES.

                       33.     CYNTHIA AYALA conducted and engaged in business activities within the State

              of Florida; engaged in substantial and not isolated activities within the State of Florida; and

              purposely availed herself of the privileges of the State of Florida, through her management of,

              operation of, control of, and/or consultation with SEMINOLE PAVILION REHABILITATION

              AND NURSING SERVICES, within the State ofFlorida. Accordingly, pursuant to section 48.193,

              Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of the courts of the State of

              Florida.

                       34.    CYNTHIA AYALA committed tortious acts against DONALD J. JACK in the

              State of Florida. Each tortious act is specifically alleged in the subsequent counts. Accordingly,



                                                                 :
pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of

the courts of the State of Florida.

                                      FACTUAL ALLEGATIONS

          35.   In December 2019, the govermnent in Wuhan, China, confirmed that health

authorities were treating clusters of cases of suspected pneumonia that appeared to be viral in

origin.

          36.   On or about January 30, 2020, the World Health Organization declared a Public

Health Emergency of International Concern after the outbreak of the 2019 coronavirus disease.

          37.   On February 11, 2020, the World Health Organization announced an official name

for the new disease — coronavirus disease 2019, abbreviated as COVID-19.

          38.   COVID-19 is an infectious virus that attacks the respiratory system of its human

host. The elderly, medically fragile, and those with compromised iminune systems are particularly- -—-- --

susceptible to fatality due to COVID-19.

          39.   On or about February 29, 2020, the Centers for Disease Control and Prevention

("CDC") released a statement regarding the first confirmed death in the United States from the

coronavirus. In addition to the first confirmed death, the CDC reported that the public health

officials in the state of Washington had also reported two additional hospitalized patients — two of

which were from a long-term care facility where one was a health care worker — who had tested

presumptive-positive for the virus that causes COVID-19. In addition, the CDC reported that

additional residents and staff of the long-term care facility had not yet been tested but were either

ill with respiratory symptoms or hospitalized with pneumonia of unknown cause.

          40.   On or about March 1, 2020, in response to positive cases of COVID-19 in Florida,

Governor Ron DeSantis issued Executive Order 20-51, directing the Florida Department of Health

to declare a Public Health Emergency.

                                                 9
       41.      On or about March 4, 2020, Defendants, via various websites, represented to the

staff, residents, and relatives that Defendants were taking action to address COVID-19 concerns

such as:

             a) Providing consistent updates and communication to those who live and work in the

                community.

             b) Following evidence-based precautions that align with guidelines provided by

                the CDC.

             c) Reviewing response measures to ensure the community is organized and ready if

                the virus impacts the community or the surrounding area.

       42.      On or about March 9, 2020, the Governor of Florida declared a state of emergency

existed in Florida.

       43.      On March 11, 2020, the World Health Organization declared COVID-19 a global

pandemic.

       44.      On or about March 13, 2020, the Governor of Florida ordered all Florida nursing

home facilities to lock down and implemented a visitation ban in an effort to mitigate the risk to

Florida's most vulnerable population to COVID-19, which is Florida's elderly population (i.e. over

the age of sixty-five (65)) and particularly those who have underlying medical conditions such as

cancer, chronic lung disease, moderate-to-severe asthma, serious heart conditions,

immunocompromised status, diabetes, severe obesity, renal failure and liver disease.

       45.      On or about March 15, 2020, Defendants, via their shared website, represented to

the staff, residents, and relatives that Defendants were continuing to take action to address COVID-

19 concerns such as:

             a) Continuing to follow the guidance fi•om both the CDC and local health authorities.     ,



                                                n
             b) Increasing the frequency and rigor of cleaning and sanitizing common community

                areas.

             c) Reviewing emergency preparedness and response program.

             d) Coordinating best practices and across their large partner network.

             e) Providing all residents and their families with the most up-to-date guidance from

                the CDC.

             f) Staying in communication with local health officials.

       46.      Despite Defendants' representations to the staff, residents, and relatives,

Defendants failed to adequately take action to address COVID-19 concerns and failed to comply

with their own procedures by, among other things:

             a) Failing to supply or require staff to wear Personal Protective Equipment ("PPE");

             b) Allowing asymptomatic staff who had been exposed to COVID-19 to continue

                working at the Facility;

             c) Failing to provide staff, residents, and their families with consistent updates and

                communication regarding the risk of COVID-19 and of COVID-19 positive cases

                at the Facility; and,

             d) Failing to implement an adequate emergency preparedness and response program.

       47.      On or about April 2, 2020, at the age of seventy-five (75), DONALD J. JACK

admitted himself to SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES

(the "Facility") for short-tenn rehabilitation for generalized weakness as he merely needed to gain

strength to receive chemotherapy for his recent diagnosis of Hodgkin's Lymphoina.
       48.     Upon admission, Defendants documented that DONALD J. JACK had various

diagnoses including, but not Iimited to, Hodgkin's Lymphoma, Type I1 diabetes, and abnornnality

of albumin.

       49.     Due to his age and underlying medical conditions, Defendants knew DONALD J.

JACK was one of the residents most vulnerable to COVID-19.

       50.     Although Defendants were on high-alert for COVID-19 since January 2020 and of

the residents' vulnerability, Defendants, consistent with their business practice of placing profits

over residents, disregarded the safety of DONALD J. JACK and the other residents by failing to

implement adequate protocols to minimize the risk and spread of COVID-19 and by failing to

implement adequate care, services and infection control at the Facility.

       51.     Defendants' acts and omissions included, but were not limited to:

               a.     Failing to properly use residents' funds;

               b.     Failing to have an adequate einergency preparedness plan in place to keep

                      residents safe from emerging infectious diseases like COVID-19;

               C.     Failing to implement adequate protocols to minimize the risk and spread of

                      COVID-19;

               d.     Failing to implement an adequate system for preventing, identifying,

                      reporting, investigating, and controlling infections and communicable

                      diseases for all residents and staff;

               e.     Failing to immediately notify the authorities, staff, residents, and relatives

                      ofthe potential dangers ofCOVID-19 and ofthe COVID-19 positive cases

                      at the Facility;

               f.     Forcing staff to reuse PPE;



                                                12
              g.      Failing to supply proper masks and gowns for weeks causing rnany staff

                      members to resort to providing their own homemade facial coverings not

                      medically graded to protect against the virus;

              h.      Failing to follow and/or adhere to the standards and protocols set out by the

                      CDC and other state and local authorities related to infection control and

                      prevention;

              i.     Failing to cominunicate the outbreak to the authorities and avail themselves

                     of the available PPE;

              j.     Failing to implement safety protocols, such as disinfecting many common

                     areas, to minimize the spread of the virus;

              k.     Failing to provide adequate staff in number and training;

              1.     Failing to be forthcoming and adequately share information regarding the -----   -- -

                     outbreak at the Facility with employees, residents and their relatives.

              M.     Reducing basic cleaning practices for which the residents paid for;

              n.     Permitting widespread safety failures, such as inadeduate staff and

                     eduipment, increasing the risk of injury or death during an emergency such

                     as the pandemic;

              o.     Failing to liave adequate management oversight; and,

              P.     Permitting asymptomatic staff who had been exposed to COVID-19 to

                     continue to work at the Facility and interact with residents.

       52.    As a result of Defendants' acts and omissions and total disregard for tlle residents,

the Facility experienced systemic failure and became the center of the COVID-19 outbreak in

Pinellas County.



                                               13
        53.     To date, at least 25 deaths of residents and staff resulting from COVID-19 are

linked to this single Facility.

        54.     The Facility's first confirmed case of a resident with COVID-19 was a male

resident that was hospitalized on April 5, 2020, and tested positive on April 9, 2020, for COVID-

19. The resident then died on April 10, 2020.

       55.      Although the Facility had its first confirmed case of COVID-19 on April 9, 2020 —

approximately seven days after DONALD J. JACK was admitted to the Facility — and first

confinned death on April 10, 2020, Defendants failed to be forthcoming in sharing this information

with employees, residents, their relatives, and the public.

       56.      Rather, despite having difficulty managing the rapid outbreak, Defendants waited

approximately a week to disclose to the public the first confirmed COVID-19 case. Defendants'

delay in reporting delayed assistance with the much need PPE available through the county.

       57.      Defendants' staff were kept in the dark by Defendants and did not know about the

gravity of the outbreak until the media reported the transfer of residents on or about April 15, 2020.

       58.      Likewise, family members and advocates have sounded alarms about the delays in

residents and the public being informed about the outbreak as families are learning more about the

outbreak from the media than from Defendants who are keeping everyone in the dark.

       59.      Despite the gravity of the outbreak, Defendants failed for weeks to provide

adequate gowns and masks for staff.

       60.      Defendants' staff feared for their safety because protocols were not in place to

minimize virus spread such as providing proper PPE and disinfecting common areas. As a result,

staff began quitting and resident care deteriorated even fiirther as staff quit and supplies shrank.




                                                 mi
       61.     On or about April 16, 2020, the Facility received laboratory results confirming

DONALD J. JACK was positive for COVID-19.

       62.     By April 16, 2020, approYimately 30 residents and staff inembers at the community

had tested positive for COVID-19 and by April 17, 2020, two additional residents had died.

       63.     Defendants were reluctant to transfer residents to hospitals, but began to transfer

mass amounts of residents on or about April 16, 2020, when they became overwhelmed by the

outbreak.

       64.     On or about April 17, 2020, after intervention from the Florida Department of

Health and after nearly 60 residents were transferred to area hospitals who had either tested

positive (or were presuined positive) for COVID-19, Defendants transferred all remaining

residents at the Facility, including DONALD J. JACK, to local hospitals to allow Defendants and

the Florida Department of Health to completely reset the Facility's infection control practices, -

decontaminate the site, and provide additional training for staff.

       65.     In a span of eight days, from the first confirmed diagnoses to the mass evacuation

on April 17, 2020, a total of 95 residents were removed from the Facility and three had died.

       66.     On Apri121, 2020, onlyf ve days after being diagnosed, DONALD J. JACK passed

away as a result of COVID-19, which he-contracted at the Facility due to Defendants' acts and

omissions.

       67.     Based upon the acts and omissions described above, as well as numerous reports

fi-om Defendants' own staff, Defendants, who were focused on their own self-interests and putting

profits over the well-being of the Facility's residents in reckless disregard for the residents' safety

and well-being, were ill-prepared to protect the residents, including DONALD J. JACK, from

emerging infectious diseases like COVID-19.



                                                  15
          68.   In fact, Defendants lhave a history of insufficient infection control practices and

have been on notice of this problem since at least February 9, 2018, when the Facility was cited

by the Department of Health for failing to have a program in place to prevent the development and

transmission ofcommunicable diseases and infections.

          69.   The Department of Health cited the Facility again on March 15, 2019, for failing to

provide and implement an infection prevention and control program to help prevent the

development and transmission of communicable diseases and infections. Notably, the Department

of Health found that the staff inembers failed to use PPE when providing care to a resident on

contact isolation precautions.

          70.   Defendants' acts and omissions, with knowledge of their histoi•y of failing to

provide and implement an adequate infection prevention and control program and in the face of

the grave danger faced by DONALD J. JACK and the other residents of contracting COVID-19,

were so reckless or wanting in care that it constituted a conscious disregard or indifference to the

life, safety or rights of by DONALD J. JACK and the other residents exposed to Defendants'

conduct.

                                 CORPORATE BACKGROUND

   .      71.   BROOKDALE SENIOR.LI.VING, INC. was. formed in June 2005_ for_the_purpose -

of combining two leading senior living companies, Brookdale Senior Living Communities, Inc.

and Alterra Healthcare Corporation. Both companies liad been operating independently since the

1980's.

          72.   Approxirnately one year after its formation, BROOKDALE SENIOR LIVING,

INC. acquired another senior living community operator, AMERICAN RETIREMENT

CORPORATION, which had been independently operating since 1978. The acquisition of
     AMERICAN RETIREMENT CORPORATION made BROOKDALE SENIOR LIVING, INC.

     the largest operator of senior living facilities in the United States.

             73.     On or about July 20, 2007, BROOKDALE SENIOR LIVING, INC., through

     AMERICAN RETIREMENT CORPORATION, purchased SEMINOLE PAVILION

     REHABILITATION AND NURSING SERVICES.

             74.     BROOKDALE SENIOR LIVING, INC. is the parent company and long term care

     operator of hundreds of various senior living housing and service alternatives including retirement

    centers, assisted living facilities, skilled nursing facilities and continuing care retirement

    communities also known as CCRCs throughout the country including SEMINOLE PAVILION

     REHABILITATION AND NURSING SERVICES.

            75.      BROOKDALE SENIOR LIVING, INC. owns, operates, and manages its facilities

     using the same officers and directors to control and operate all of its agents and subsidiaries.

    BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

    oversight of operations fi-om a"national platform."

            76.      SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is

-   - part of a larger-CCRC, knowrri as Freedoin Square of Seminole ("Freedom Square"), which offers

    a full continunm of care. The Freedom Square campus includes independent living

    accommodations, an assisted living facility, and two skilled nursing facilities, one being

    SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom Square

    offers both rental and what is known as "Life Care" programs. The rental program operates on a

    monthly rental fee basis, with no entry fee. The Life Care program is secured with an entry fee

    purchase to cover the cost of fiIture accommodations and health care services.




                                                       17
        77.     BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow a

resident to "age in place" as it offered a retirement community with opportunities for independent

living, assisted living and nursing home care. In theory, a person could spend the rest of his or her

life in a CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

which could include the price of one's home, potentially committing that individual to the CCRC

regardless of the quality care they receive. In 2015, CCRCs were responsible for almost 20% of

BROOKDALE SENIOR LIVING, INC.'s total senior living capacity.

        78.     In 2014, in an effort to grow revenue, BROOKDALE SENIOR LIVING, INC.

entered into an agreement with a real estate investment trust ("REIT"), HCP, to create a new

business rnodel for certain preexisting facilities. Together, the cornpanies restructured these

facilities with the intent to make a profit by releasing equity, increasing occupancy, increasing

monthly service fees, and controlling operating expenses. SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES was included in this restructure.

        79.    The new business model, in part, involved the restructuring of currently owned

facilities by creating new companies for no legitimate purpose other than to avoid liability for

shoddy risk management. In effect, Defendants took a legitimately named coinpany; broke it into

pieces; saddled it with tremendous liabilities; and sucked out all the cash. This restructuring

involved the ostensible separation of the real estate on which the facilities sit from the operator of

the facility itself. This model, lcnown as the "Propco-Opco" structure, required the formation of

two new entities to take over the pre-existing one: the real estate company, or the so-called landlord

("Propco"), and the facility operator, or the so-called master tenant ("Opco"). At the closing, the

"Opco" entity engaged an affiliate of BROOKDALE SENIOR LIViNG, INC. to manage the

owned and ]eased community pursuant to a management agreement.



                                                 18
        80.    On or about August 29, 2014, at or about the same time that BROOKDALE

SENIOR LIVING, INC. and HCP partnered to increase revenues and created the Propco/Opco

entities, BROOKDALE SENIOR LIVING, INC. filed a change of ownership application with the

State of Florida.

        81.    After the change in ownership, a new company, Defendant CCRC OPCO -

FREEDOM SQUARE, LLC, the "Opco" or operating entity, was also created. CCRC OPCO -

FREEDOM SQUARE, LLC became the new licensee of SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES and the entity saddled with liabilities.

        82.    BROOKDALE SENIOR LIVING, INC. and HCP jointly own CCRC OPCO

Ventures, LLC, which owns one hundred percent of CCRC OPCO-FREEDOM SQUARE, LLC.

       83.     CCRC OPCO-FREEDOM SQUARE, LLC entered into a management agreement

with another BROOKDALE SENIOR LIVING, INC. subsidiary, BKD TWENTY-ONE

MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES and other nursing home facilities

in Florida.

       84.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. assumed cei-tain

duties and obligations towards residents to manage the day-to-day operations of SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES. The centralized corporate

fiinctions include financing, accounting, human resources, marketing, training, regulatory, affairs,

purchasing food and supplies, asset management, extensive policy and procedure manuals and

extensive quality control prograins.

       85.     BROOKDALE SENIOR LIVING, INC.'s and HCP's quality control measures

include community inspections conducted by corporate staff on a regular basis. BROOKDALE



                                                19
SENIOR LIVING, INC. and HCP focus on increasing occupancy and increasing revenues to

attempt to generate a profit to support the expansion of their brands through the acquisition of

additional facilities.

        86.     Upon information and belief, on or about January 31, 2020, HCP acquired

BROOKDALE SENIOR LIVING, INC.'s interest in SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.

However, documents reflecting the change of ownership and/or management have not been filed

with and/or made available by the State of Florida.

                         CORPORATE CONDUCT AND JOINT VENTURE

        87.   Based upon information and belief and the allegations stated above, at all relevant

times, CCRC OPCO-FREEDOM SQUARE, LLC;-- BROOKDALE- SENIOR LIVING~ INC.-;

AMERICAN RETIREMENT CORPORATION, BKD TWENTY-ONE MANAGEMENT

COMPANY, INC., HCP, and LIFE CARE SERVICES, LLC, engaged in a joint venture to own,

operate, and manage nursing homes including SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES. Each can bind the other and each has the authority to participate in

the other's profits and the obligation to share in each other's losses.

        88. Money paid by and on behalf of the nursing home residents was the sole source of

revenue for the multiple layers of companies created by Defendants to distribute and share the

revenues generated at SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES and the other nursing homes in Florida.

        89. Defendants managed themselves, governed and controlled the care and services

provided to DONALD J. JACK, and, by virtue of their management and control, each of them,



                                                 20
voluntarily and intentionally assumed responsibility for and provided supervisory and custodial

services to DONALD J. JACK while he was a resident of the Facility.

       90. At all relevant times, Defendants held themselves out as being competent, capable, and

qualified to provide necessary services to their residents, including DONALD J. JACK, and to

protect and keep all residents, including DONALD J. JACK, safe from harm, including from the

spread of infectious diseases.

       91. At all relevant times, Defendants owned, operated, and/or managed SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES, and furthermore participated in,

authorized, and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND

NURSING SERVICES and its respective agents and employees. Defendants are therefore directly

liable for their own negligence, recklessness, and other tortious conduct, in the hiring and
                                                     -- -     — -- --         - --- - ---- -- - - —
management of their agents and employees.

       92. Defendants, through their managers, directors, presidents, vice-presidents, executive

officers, and other agents, directly oversaw, managed, and/or controlled all aspects ofthe operation

and management of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

including budgeting, staffing, training, policy and procedures manual(s), licensing, accounts

payable, accounts receivable, general accounting, cash management, capitalization, and profit and

loss margins.

       93. Defendants employed all of those persons who attended to and provided care and

services to DONALD J. JACK while he was a resident at SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES, and employed those persons in management

and supervisory positions who directed the operations of the Facility, all of whom were acting

within the course and scope oftheir employment.



                                                21
        94. Defendants, through their administrators, directors, and managing agents, condoned

and ratified all the conduct at the Facility.

        95. At all relevant times, Defendants were the knowing agents and/or alter-egos of one

another, and are therefore vicariously liable for the acts and/or omissions of each other, their agents

and employees, as is more fully alleged herein. Moreover, at all relevant times, Defendants were

acting within the course and scope of their employrnent and/or agency relationship.

        96. Defendants' acts and omissions, as alleged herein, were done in concert with each other

and pursuant to a common design and agreement to accomplish a particular result: maximize

profits at the Facility, despite the result being that the Facility was underfunded and understaffed.

        97. Defendants, by their acts and omissions as alleged herein, operated pursuant to an

agreement, with a common purpose and community of interest, with an equal right of control, and
                           ---- --- -- - ----- ---- --                                                    ___
subject to participation in profits and losses such that they operated a joint enterprise or joint

venture, subjecting each of them to liability for the acts and omissions of each other.

       98. Defendants were responsible for the organization and administration of the Facility,

and had duties to, inter alia, ensure the Facility complied with applicable statutes and regulations,

and adopt policies and procedures for the Facility.

       99. Each Defendant knowingly disregarded their respective duties and obligations owed to

DONALD J. JACK and the other residents through both acts and omissions. Those duties to

reasonably operate, manage, own and/or control SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES included: the duty to ensure the facility had sufficient staff who were

trained to meet DONALD J. JACK's needs and the needs of the other residents; the duty to seek

out and correct deficiencies or lapses in the care provided to DONALD J. JACK and other

residents; the duty to provide a safe enviromnent for DONALD J. JACK and the other residents;



                                                 22
the duty to investigate the cause of preventable incidents that occurred at SEMINOLE PAVILION,

REHABILITATION AND NURSING SERVICES; the duty to sufficiently staff SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES to ensure DONALD J. JACK's

needs and the needs of the other residents were met; and the duty to not divert funds from the

Facility when the funds are intended for the care and maintenance of the residents, including

DONALD J. JACK.

        100.    Defendants did not meet their duties and obligations. Although investigations and

surveys by various agencies found deficiencies in the provision of care provided to the residents

of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, each Defendant

failed or refused to correct or address these issues addressed in the investigations and surveys.

        101.    Defendants required or encouraged the admission of residents with higher acuity

levels without providing the staff necessary to care for the residents. The staff was lacking in

supervision, number, and skill.

        102.    Further, in their efforts to maximize profits, Defendants intentionally and/or

recklessly mismanaged staffing levels and supply levels below the levels necessary to provide

adequate care and services to the residents and implemented practices in disregard to the safety of

the patients.

        103.    Defendants each have extensive experience in the nursing home industry. This

experience provided each Defendant the knowledge and experience to know that additional staff

and more skilled staff were necessary to meet the needs of residents. Even with this knowledge,

Defendants failed or refused to ensure that the residents received adequate and appropriate care

while in their nursing home.




                                                23
         104.   Defendants, pursuant to their scheme to place "profits over residents" at the

Facility, ratified the conduct of each Defendant in that they mandated, were aware of, and/or

accepted inadequate staffing, inadequate training, inadequate supplies and inadequate practices at

the Facility, and were aware that such inadequate staffing, inadequate training, inadequate

supplies, and inadequate practices could lead to injuries and damages for the residents.

         105. In conceiving of, implernenting and carrying out their profits over residents scheme,

Defendants willfully, knowingly, recklessly and with conscious disregard for DONALD J. JACK's

health, safety and welfare, acted in a manner that was malicious, reckless and oppressive.

         106.    Further, Defendants implemented and carried out the profits over residents scheine

with knowledge that such a scheme was designed to exploit elderly/senior citizens, a class

expressly deemed by the Legislature of the State of Florida as a vulnerable segment of the

population who require a heightened level of protection.

         107. As a result ofDefendants' scheme and acts and omissions, DONALD J. JACK was

victimized by Defendants and suffered damages as alleged herein.

                     COUNT I: BREACH OF FIDUCIARY DUTY
  As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

         108. Plaintiff re-alleges and incoi-porates herein by reference paragraphs 1 through 107

above.

         109. This is a claim that presents a theory of recovery based upon the presence of a

fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, exclusive of and in addition to all rights encompassed in negligence or Chapter 400, Fla.

Stat.

         110. This is a claim that does not arise out of negligence or a violation of DONALD J.

JACK's nursing home resident rights.

                                                f►~l
        111.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

owed DONALD J. JACK a duty to act for or to advise him on matters within tlie scope of their

specialized relationship.

        112.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

and DONALD J. JACK had a developed a special relationship of trust and confidence.

        113.   That trust and confidence started when DONALD J. JACK was admitted to the

Facility because he was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being. Specifically, DONALD J. JACK needed assistance with multiple Activities of Daily Living

("ADLs") and twenty-four hour skilled nursing care.

        114.   As a result of his varying infirmities and advanced age, at all times material,

DONALD J. JACK was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, inental, and psychosocial well-

being; and DONALD J. JACK was incapable of dealing with Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA on equal terms, and was incapable of

engaging in any arm's length relationships with CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA.

        115.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

directly solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside

and remain at the Facility, and further represented through the words and acts of its employees and

agents that it would undertake to provide all of the necessary care and treatment to attain and

maintain the highest practicable physical, mental, and psychosocial well-being for DONALD J.

JACK.
        116.   Additionally, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA specifically undertook the non-delegable duty of protecting DONALD J.

JACK's residents' rights vested in liim by virtue of Florida law, including the right to be treated

courteously, fairly, and with the fullest measure of dignity and the right to privacy. ,See NME

Properties, Inc. v. Rzrdich, 840 So. 2d 309 (Fla. 4th DCA 2003).

        117.   As a result of Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and

CYNTHIA AYALA's solicitation of DONALD J. JACK's ti-ust and confidence, DONALD J.

JACK placed a special confidence and trust in CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA to provide for all of his necessary care and services to attain and maintain the

highest practicable physical, mental, and psychosocial well-being. And DONALD J. JACK relied

on CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to provide such care and

services.

        118.   DONALD J. JACK further placed special confidence and trust in Defendants

CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and provide for

his individual rights as established in section 400.022, Florida Statutes, and to further act as a

trustee for all of his personal property that he possessed on the premises of the Facility as well as

his personal fuiids and income, which on information and belief, he placed in an account

maintained by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA on his behalf

and for his benefit.

        119.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

undertook to act as trustees to protect and preserve DONALD J. JACK's personal property,

including his clothing and other valuable personal property, as well as to maintain and manage his

personal fiinds and income in a trust account for DONALD J. JACK's benefit. Correspondingly



                                                 26
CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA voluntarily assLuned non-

delegable duties to provide DONALD J. JACK quarterly accounting of any and all transactions

made utilizing funds fi-om his trust account, to maintain and safeguard the fiinds therein and to

only utilize said funds for authorized transactions, and to avoid commingling of his funds with the

funds of any other person or those of CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA.

       120.    Furthermore, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA knowingly and voluntary entered into a highly conf dential relationship with

DONALD J. JACK. CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

voluntarily assumed extensive legal duties to comply with all of the confidentiality requirements

enumerated in the Health Insurance Portability and Accountability Act of 1996 ("HIPAA")

regarding DONALD J. JACK, a confidentiality similar in scope and duration to that attendant to

attorney-client and doctor-patient relationships.

       121.    Moreover, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA assumed duties to pi-otect and preserve DONALD J. JACK's Federal and State privacy

rights, including those privacy rights enshrined in Article I, Section 23 of the Florida Constitution.

       122.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

accepted the special confidence and trust placed upon them by DONALD J. JACK by admitting

him into the Facility and by, among other things: explicitly assuming, through words and actions,

the various duties described in the preceding paragraphs regarding protecting his confidentiality,

protecting his privacy, protecting his individual liberties, and managing and safeguarding his

personal finances; assuming responsibility and control over every aspect of DONALD J. JACK's
day-to-day life; and voluntarily undertaking responsibility for the specific level of care, protection,

supplies and services that would be provided to DONALD J. JACK.

        123.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

individually and collectively controlled, oversaw and orchestrated every single aspect of

DONALD J. JACK's existence, from the mundane (such as the clothing worn) to the vital (such

as determining when and how healthcare would be provided, as well as how much food and water

DONALD J. JACK could consume).

       124.    DONALD J. JACK was solely and particularly dependent upon the employees,

officers, directors, and agents of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA to provide for his daily care, protection, services, supplies and personal and

intimate needs.

       125.    Defendanfs CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

developed a special relationship with DONALD J. JACK by virtue of: the nature of the care and

services provided; the trustee-beneficiary relationship they maintained toward him regarding his

personal property and finances; the Federal and State confidentiality and privacy laws CCRC

OPCO - FREEDOM SQUARE, LLC undertook to comply with DONALD J. JACK; the superior

knowledge, skill and abilities of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA; the enormous disparity of power and unequal bargaining Defendants CCRC

OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA enjoyed DONALD J. JACK; and

his inability to care for and provide for himself.

       126.    This special confidential relationship allowed Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidence toward

DONALD J. JACK, which required fidelity, loyalty, good faith, and fair dealing by CCRC OPCO



                                                 I:
- FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA had a duty to refrain from engaging in self-dealing.

       127.    At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA were each a fiduciary of DONALD J. JACK based on

the special relationship between the parties.

       128.    At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA owed fiduciary duties to DONALD J. JACK. See

Greenfield v. Manor Care, Inc., 705 So. 2d 926 (Fla. 4th DCA 1997).

       129.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

acted and failed to act in material breach of their fiduciary duties owed to DONALD J. JACK.

Instead Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in

ways to promote their own interests and in contravention of the interests of DONALD J. JACK.

       130.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

breached and violated its relationship oftrust, special confidence, and its fiduciary obligations and

duties owed to DONALD J. JACK by:

               a) Failing to take adequate action to address COVID-19 concerns at the Facility

                   as Defendants represented they would through their various websites as alleged

                   in paragraphs 41 and 45;

               b) Failing to take adequate action to minimize the risk and spread of COVID-19

                   and implement adequate care, services, and infection control at the Facility as

                   alleged in paragraphs 46, 50 and 51; and

               c) Knowingly and recklessly engaging in the profits over residents scheme

                   described herein in an effort to increase the profitability of the Facility, for the


                                          -      29                                                 -
                        benefit of Defendants and their joint venture, and at the expense of and to the

                        direct detriment of DONALD J. JACK.

            131.    In violating their fiduciary obligations and duties to DONALD J. JACK,

     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA knew that

     DONALD J. JACK would suffer harm, including but not limited to the daily injuries resulting

     from the daily invasion of rights vested in DONALD J. JACK, as well as economic hann.

            132.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA

     AYALA's breaches of the duties owed to DONALD J. JACK were the legal cause of the loss,

     injury and damages suffered by DONALD J. JACK. As the direct and proximate result of

     Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breaches of

     the duties owed to DONALD J. JACK, DONALD J. JACK contracted COVID-19 and

--- subsequently died from this Infection.

            WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO -

     FREEDOM SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

     disgorgement of profits, consequential darnages, and fiirther demands a trial by jury together with

     such other and further relief as this Court deems appropriate.

            COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
      As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
     MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                               LIFE CARE SERVICES, LLC

            133.    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 132.

            134.    This is a claim that presents a theory of recovery based upon the presence and

     breach of a fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

     CYNTHIA AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

     encompassed in negligence or Chapter 400, Fla. Stat.


                                                     30
           135.      As set forth in Count I above, CCRC OPCO - FREEDOM SQUARE, LLC and

    CYNTHIA AYALA owed and breached fiduciary duties owed to DONALD J. JACK.

           136.      Defendants are related entities within a single enterprise or joint venture.

           137.      Defendants had actual knowledge of DONALD J. JACK's fiduciary relationship

    with CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA by virtue of its close

    corporate relationship to CCRC OPCO - FREEDOM SQUARE, LLC.

           138.      By reason of their shared and/or common ownership, directors, officers and

    managers and/or contractual relationships, Defendants knew of the fiduciary duties CCRC OPCO

    - FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of

    CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of those duties

    as described in Count I.
                                                                                   -       --       --   -
-   --     139. Defendants knew that the residents at the Facility, including DONALD J. JACK,

    were incapable of independently providing their own necessary care and were solely and

    specifically dependent upon the employees, officers, directors, and agents to provide for their basic

    daily care, protection, services, supplies, and personal and intimate needs.

           140.      Defendants knowingly participated and provided substantial assistance and

    encouragement to CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in

    connection with their breach of fiduciary duties to DONALD J. JACK, as set forth in detail within

    Count I above.

           141.      In addition to this knowledge, Defendants aided and abetted Defendants CCRC

    OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties

    and rendered substantial assistance and encouragement for the same, by, among other things:

                        a) Engaging in the conduct set forth in detail within Count I above;



                                                      31
      b) Exercising dominance and control over CCRC OPCO - FREEDOM

         SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

         all ofthe Facility's revenues into an account controlled by the joint venture

         or enterprise, and/or their designee;

      c) Knowingly and intentionally taking, creating and accepting inter-company

         fees and transfers, comprised of revenues obtained from the residents and

         designed to improperly and unjustly enrich Defendants instead of allowing

         the Facility to utilize said resources effectively and efficiently to attain or

         maintain the highest practicable physical, mental, and psychosocial well-

         being of each resident, including DONALD J. JACK, as required;

      d) Structuring and approving contracts between Defendants and CCRC OPCO

---      - FREEDOM SQUARE, LLC, which Defendants knew or should have

         known would result in the diversion of Facility revenues necessary to

         provide the care and services to its residents, DONALD J. JACK;

      e) Overseeing and approving CCRC OPCO - FREEDOM SQUARE, LLC's

         and CYNTHIA AYALA's acceptance of monies fi-om residents, including

         DONALD J. JACK, knowing the Facility could not provide full value of

         the care and services to meet the care and safety needs of the residents;

      f) Directly or indirectly misrepresenting the nature of the relationship between

         Defendants and CCRC OPCO - FREEDOM SQUARE, LLC and

         CYNTHIA AYALA, in which Defendants by virtue ofthe common owners,

         officers and managers, controlled the business operations and working




                                   32
                           capital of the Facility and inappropriately commingled its revenues by

                           making intra-company transfers to related facilities;

                        g) Structuring the managing and operating business model for the Facility in a

                           way that constrained its ability to provide the level of care and services to

                           residents, including DONALD J. JACK, while simultaneously benefitting

                           Defendants and other upstream corporate entities; and,

                        h) Influencing, advocating, and approving CCRC OPCO - FREEDOM

                           SQUARE, LLC's and CYNTHIA AYALA's improper payments to

                           Defendants, which Defendants knew exceeded ainounts a prudent and cost

                           conscious buyer would pay, and which Defendants also knew would cause

                           the monies intended for the provision of care and services to the residents,

-          - - --- --                       -- --- -- --- - - --- -- --                       - ---
                           including DONALD J. JACK, to be depleted.

       142.       The conduct of Defendants as alleged, constitutes aiding and abetting CCRC OPCO

- FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of fiduciary duties and subjects

Defendants to liability for the harm suffered by DONALD J. JACK.

       143.       ln aiding and abetting CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA in violating fiduciary obligations and duties to DONALD J. JACK as referenced herein,

Defendants knew that DONALD J. JACK would suffer harm and injuries, including the daily

injuries flowing fi•om the repeated breaches of fiduciary duties in which Defendants aided and

abetted.

       144.       As a result of Defendants' aiding and abetting in the bi-eaches of fiduciary duties

by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA, Defendants were

improperly and unjustly enriched, the Facility was left without the necessary resources to fimction



                                                    33
in the residents' best interests, and DONALD J. JACK suffered both the injuries set forth herein

as well as economic harm.

        145.    Furthermore, as the direct and proximate result of Defendants' aiding and abetting

breaclies of fiduciary duties by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, DONALD J. JACK contracted COVID-19 and subsequently died.

        WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

SENIOR LIVING, 1NC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for damages,

unjust enrichment, restitution, disgorgement of profits, consequential damages, and further

demands a trial by jury together with such other and further relief as this Court deems appropriate.

           COUNT III: VIOLATIONS OF FLORIDA STATUTES &415.1111
 As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                          LIFE CARE SERVICES, LLC

        146.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 3, 9,

10, 12, 15, 16, 19, 20, 23, 24, 26, 28, and 31 above.

       147.     For the purposes of this count and only this count, it is not alleged that Defendants

are a licensee or entity that established, controlled, conducted, managed or operated the Facility.

       148.    DONALD J. JACK was at all relevant times a vulnerable adult with a long-term

disability. He was seventy-five (75) years of age and was unable to perform the normal activities

of daily living or to provide for his own care or protection due to lhis disability.

       149.     Defendants' acts or omissions constitute exploitation of a vulnerable adult in

violation of Section 415.1 l 11, Florida Statutes.

       150.     Defendants knew or should have known that DONALD J. JACK lacked the

capacity to consent, but Defendants obtained or used, or endeavored to obtain or use DONALD J.


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JACK's funds, assets or property, including Medica►-e and Medicaid benefits, with the intent to

temporarily or permanently deprive DONALD J. JACK of the use, benefit or possession of the

fiinds, assets, or property for the benefit of someone other than DONALD J. JACK.

        151.    The compensation Defendants received was derived fi-om the private funds of

vulnerable adults, including DONALD J. JACK, or from Medicaid and/or Medicare funds that

were beneficiaries' assets, including DONALD J. JACK, which were paid to Defendants for the

sole purpose of providing for the support and maintenance of the Facility's residents, including

DONALD J. JACK.

        152.    Defendants received compensation that they should have known would deprive the

Facility of adequate resources to provide for the necessities of DONALD J. JACK's support and

maintenance, which should have been used to, inter alia, implement a sufficient infection control

program at the Facility and to secure sufficient PPE and supplies to prevent the spread of COVID-

19 at the Facility.

        153.    Defendants failed or refused to effectively use DONALD J. JACK's income or

assets for the necessities required for his support and maintenance.

        154.    Defendants' failure or refusal to effectively use DONALD J. JACK's income or

assets as set forth herein, was the proximate cause of the losses he suffered including, but not

limited to the use, benefit, or possession of the funds, assets or property for his benefit.

       155.     As a direct and proximate result of Defendants' acts and omissions, DONALD J.

JACK was deprived of the use, benefit or possession of the fiinds, assets or property.

        WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for



                                                 35
              disgorgement of profits, consequential damages, attorneys' fees and costs, pre judgnient interest,

              trial by jury of all matters so triable, and such other relief this Court deems appropriate.

                  COUNT IV: VIOLATION OF FLORIDA'S DECEPTIVE AND UNFAIR TRADE
                                     PRACTICES ACT, § 501.201 ET SEQ.
                 As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC; HCP; BROOKDALE
                 SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;
                 AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC

                       156.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

              above.

                       157.   Plaintiff brings this Count pursuant to the Florida Deceptive and Unfair Trade

              Practices Act, section 501.201 et seq., Florida Statutes (hereinafter "FDUTPA")

                       158.   Under FDUTPA, "[u]nfair methods of competition, unconscionable acts or

              practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce" are

- -   -       unlawful. Fla. Stat. § 501.204 (1).

                       159.   By engaging in the above described conduct and the additional conduct described

              below, Defendants engaged in unconscionable, unfair and deceptive acts and practices in violation

              of FDUTPA in connection with their advertising, soliciting, providing, atid offering services at the

          -   Facility; which acts and practices ultimately victimized DONALD J. JACK, a senior citizen.

                       160. - At all relevant times, Defendants, their officers, directors, and managers were

              engaged in trade and commerce in Florida within the meaning of FDUTPA as Defendants

              advertised, solicited, provided, and offered services to consumers and senior citizens.

                       161.   At all relevant times, DONALD J. JACK was a"consumer" and "senior citizen"

              within the meaning FDUTPA as he was an individual over the age of sixty (60).

                       162.   Defendants, their officers, directors, and managers marketed and advertised service

              at the Facility directly to senior citizen consumers, including DONALD J. JACK, by disseminating



                                                                36
brochures, web sites, videos, advertisements, and other information, which were prepared in part,

by the Facility's related corporate entities.

       163.    Defendants, their officers, directors, and managers made unfair, deceptive and

misleading representations in their advertising materials distributed to senior citizen consumers,

including DONALD J. JACK, regarding the level of services they provided to vulnerable senior

citizens and nursing home residents.

       164.    Defendants, their officers, directors, and managers advertised and offered their

nursing facilities by promising to meet residents' needs, to keep them clean, comfortable and safe,

and to provide food, water, care, and services as needed. These statements were false, deceptive,

and misleading.

       165.    Defendants advertising materials omitted information that was material to

consumers, including DONALD J. JACK, by failing to disclose that DONALD J. JACK would

experience long delays in the delivery of care and services and that he would often be deprived of

the care and services he required and bargained for.

        166.   Defendants, their officers, directors, and inanagers engaged in deceptive,

misleading, and unfair practices by-representing that certain care and services were or would be

provided to DONALD J. JACK; as documented in his care plans and assessments, when in fact

that care and services were never provided.

        167.    Defendants, their officers, directors and managers further promised to provide a

clean, safe, and sanitary living environment throughout DONALD J. JACK's residency at their

facilities, for which Defendants were handsomely paid.

        168.    Defendants affirmatively concealed material facts from DONALD J. JACK

regarding the existence and effect of the COVID-19 outbreak at the Facility, and led DONALD J.



                                                37
        JACK to believe that the Facility was a safe environment, when in fact the Facility was

        contaminated with COV1D-19.

                 169.   Defendants, their officers, directors and managers failed to appropriately manage

        the real property at the Facility and failed to maintain a clean, safe, and habitable living

        environment for their residents.

                 170.   Defendants, their officers, directors and managers, through their deceptive,

        unconscionable, and unfair acts and omissions, misled DONALD J. JACK into believing that their

        facilities were properly managed, maintained, and equipped to meet his basic needs, when it was

        not.

                 171.   Defendants, their officers, directors and managers failed to provide DONALD J.

        JACK with a living environment and premises that reciprocated the rents and other charges they

—       were paid for his residency.

                 172.   Defendants, their officers, directors and managers caused the Facility to enter into

        a lease agreement so onerous that it left Defendants without the ability to provide an adequate,

        safe, decent, and clean living environment, despite promising DONALD J. JACK that he would

        receive th-e same in exchange for the monies he paid.
    -      - --
                 173. Defendants' failure to provide basic care and services to DONALD J. JACK not

        only violated the FDUTPA, but also degraded DONALD J. JACK, increased his risk of serious

        negative health consequences, and caused him to suffer medical expenses, serious injury, and

        death.

                 174.   In addition to these deceptive, unconscionable, and unfair acts and omissions,

        Defendants misled consumers, including DONALD J. JACK, by failing to disclose that the

        Facility's related corporate entities exercised control over the Facility, by among other things: (a)



                                                         38
         restricting the ability of the Facility's managers and administrators to increase staffing levels; (b)

         supervising, and in some case, overriding the personnel decisions ofthe Facility; (c) creating and

         implementing company-wide policies and incentive programs; and (d) entering into agreements,

         including onerous lease and management agreements.

                 175.    Defendants, their officers, directors and managers failed to provide DONALD J.

         JACK with the basic care and services he required and bargained for with respect to his use of the

         Facility's premises.

                 176.   Defendants' deceptive, unconscionable, and unfair statements and practices were

         in violation of FDUTPA.

                 177.   Defendants' deceptive, unconscionable, and unfair representations, omissions, and

         practices were of the type that would likely mislead Florida consumers acting reasonably in the

--- — circumstances, to the consumers' detriment, and were particularly misleading and detrimental to

         the senior citizens and infirm residents at their Facility, including DONALD J. JACK.

                 178.   DONALD J. JACK could not have detected the existence and effect of the COVID-

         19 at the Facility or the existence of the onerous agreements, the corporate entities control over

         the Facility that led to the lack of care, services, and sanitary living environment at the Facility.

                 179.   DONALD J. JACK admitted himself to the Facility and -had therefore been

         aggrieved by Defendants unconscionable, unfair and deceptive practices in violation of FDUTPA.

                180.    DONALD J. JACK sustained damages as a direct and proximate result of

         Defendants' violations of FDUTPA.

                 181.   DONALD J. JACK did not receive the benefit of the bargain, overpaid for the

         services, and suffered actual damages.




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            182.    The damages suffered by DONALD J. JACK were directly and proximately caused

     by the unconscionable, deceptive, misleading, and unfair practices of Defendants.

            183.    Defendants' violations were willful as Defendants knew or should have known that

     their conduct was unfair or deceptive or prohibited by FDUTPA.

            184.    Defendants' violations are made even more reprehensible because of Defendants'

     attempt to exploit senior citizens during a global pandemic for profit, while posing a serious and

     direct threat to the health and safety of senior citizens such as DONALD J. JACK.

             WHEREFORE, Plaintiff demands judgment against Defendants for damages pursuant to

     section 501.211(2), Florida Statutes, in an amount to be proven at trial, pre judgment interest, post-

     judgment interest, attorney's fees and court costs as provided in section 501.2105, Florida Statutes,

     and further demands a trialjury,
                                 by, together with such other and further relief as this Court deems

— — appropriate.— — -


                                                 /s/Bennie Lazzara, Jr.
                                                 Bennie Lazzara, Jr., Esquire
                                                 Florida Bar No. 119568
                                                 Benniegwilkesmchugh.com
                                                 TPABXLStaffna,wilkesmchugh.com
                                                 flgwilkesmchuah.com
                                                 James L. Wilkes,.. II, Esquire
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                                                 dthomason(c~,wilkesmchugh.com
                                                 Jason R. Delgado, Esquire
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                                                 idelQadona,wilkesmchuah.com
                                                 TPAJRDstaff@wilkesmchuQh.com
                                                 WILKES & MCHUGH, PA
                                                 1 N. Dale Mabry Highway, Suite 700
                                                 Tampa, FL 33609
                                                 Telephone: (813) 873-0026
                                                 Facsimile: (813) 286-8820
                                                 Attorneys for the Plaintiff



                                                      UI;
1

    Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM




                                    EXH I BIT "A"
~          FILED 05115I2020 14:42:42 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

        'Filing # 107269380 E.-Filed 05/08/2020 09:44:1.7 PM

                                                              iN THE CIRCUIT COURT POR PINELLAS COUNTY, FLORIDA
                                                                                               PROBATE DIVISION
                  -                              —              -       -         - -
                      IN RE: ESTATE OF _                                                        Case-No. 20-004321-ES
                      DONALD JOHN JACK
                                            Deceased.

                                                                        /

                                                            LETTERS OF ADIVIINISTRATION

                      TO ALL WHOM IT IV1AY CONCERN

                                 WHEREAS, Donald.John Jack, a resident of 12542.821id Terrace N.; Seminole, FL 33776, died

                      on April2l, 2020, owning assets in the State.ofFlonda, and

                                 WHEREAS; Jessica Gunter has been 'appointed personal 'representative of the. estate. of the

                      decedent and has performed all acts prerequisite to issuance of Letters of Administration in the estate;

                                 NOW; 1'HEREFORE, I, the• undersigned. cii-cuit judge; declare Jessica Gunter duly, qualified

                      undec the laws of, the State of Floridato act as persoriala'epreseritatiue of the estate of D"obald.John Jack,

                     deceased, with full power to adnunister the.e.state according to law; to ask;,demand,,.s.ue_for, recoyer_and__

                      receive.the property of the decedent; to 'pay the debts of the, decedent as far as the;as5ets'of the estate will,

                      permit and the law directs; and to make distribution of the estate according to Jaw.

                                 ORDERED in chambers,, Pinellas County, Florida.
                                                                                            0      5/2020 11:0320 AM
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                                                                                                    Pamela A. M. Campbell
                            --            —      -   - -       -        --              -               Cireuit Judge
                 —                                                                                                                                        -




        " *EIECTRONICALLY FILED 05/08/2020 09:44:16 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY'°*`
                                                                                                                        SBR / ALL
                                                                                                     Transmittal Number: 21644799
Notice of Service of Process                                                                            Date Processed: 06/22/2020

Primary Contact:           Jamie Curry
                           Brookdale Senior Living
                           111 Westwood Pl
                           Ste 400
                           Brentwood, TN 37027-5057

Electronic copy provided to:                   Jennifer Fitzpatrick
                                               Timothy Cesar
                                               Bahar Azhdari
                                               Michael Mueller
                                               Marti Downey
                                               Laurel Johnston

Entity:                                       BKD Twenty-One Management Company, Inc.
                                              Entity ID Number 3623759
Entity Served:                                Bkd Twenty-One Management Company, Inc.
Title of Action:                              The Estate of Donald J. Jack, by and Through Jessica Gunter, Personal
                                              Representative vs. CCRC Opco - Freedom Square, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Pinellas County Circuit Court, FL
Case/Reference No:                            20-002755-CI
Jurisdiction Served:                          Florida
Date Served on CSC:                           06/19/2020
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Bennie Lazzara
                                              813-873-0026

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                                                             Case Number:20-002755-CI

Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM

                                  FN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                    iN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                    CIVIL DIVISION

            THE ESTATE OF .::)ONALD J. JACK, by and tbrough
            JESSICA GUNTEF:, Personal Representative,

                            Plaintiff,

            V.

            CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
            INC. a/k/a HCP INC. OF MARYLAND n/k/a                                         CASE NO: 20-002755-CI
            HEALTHPEAK PROPERTIES,INC.; BROOKDALE
            SENIOR LIVING, INC.; BKD TWENTY-ONE
            MANAGEMENT COMPANY, INC.; AMERICAN
            RETIREMENT CORPORATION; LIFE CARE
            SERVICES, LLC; and, CYNTHIA AYALA (as to
            SEMINOLE PAVILION REHABILITATION AND                                          CERTIFIED PROCESS SERVER,~
            NURSING SERVICES),
                                                                                        SECOND dUDI  IRCUIT COURT FLOR
                            Defer dants.                                                 DATE SERVE~~E~~
                                                                       SUMMONS

      --   THE STATE OF FLOI IDA —                       —        --

           TO ALL AND SINGU'~AR SHERIFFS OF SAID STATE:

           GREETINGS:

                   YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint and Designation of Email
           Addresses in the above styled cause upon the defendant(s):

                                            BKD TWENTY-ONE MANAGENIENT COiVIPANY, INC.
                                                 c/o CORPORATION SERVICE COMPANY
                                                          1201 HAYS STREET
                                                        TALLAHASSEE, FL 32301

           Each defendant is hereby required to serve written defenses to said Complaint on plaintifPs attorney, whose name and address is:

                                                       BENNIE LAZZARA JR., ESQUIRE
                                                          WH,KES & McHUGH, P.A.
                                                        TAMPA COMMONS, SUITE 800
                                                     ONE NORTH DALE MABRY HIGHWAY
                                                             TAiVIPA, FL 33609
                                                                     (813) 873-0026
           within twenty (20) day: affter service of tlus summons upon that defendant, exclusive of the day of service, and to file the original
           of said written defense:,, witli the clerk of said court eitlier before service on plaintifi's attomey or immediately thereafter. If a
           defendant fails to do so a default will be entered against that defendant for the relief demanded in the complaint or petition.

                    WITNESS m~ % hand and the seal of said Court on the           day ofJUN 09 2020              , 2020.

 KEN BURKE CLERK CIRC;JIT COURT                                               KEN BURKE, CPA
 315 Court Street                                                             Clerk of the Circiiit Court
 Clearwater, Pinellas County, FL 33756-5165

                                                                              BY.VDEPUTY CLERK


***ELECTRONICALLY FILED 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
         Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM



                                     IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                       IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                       CIVIL DIVISION


                      THE ESTATE OF DONALD J. JACK, by and
                      through JESSICA GUNTER, Personal
                      Representative,

                                     Plaintiff,




                     CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
-                   -INC. a/k/a HCP. INC. OF MARYLAND n/k/a                     CASE NO.:      O- OM755- C?
                     HEALTHPEAK -        PROPERTIES,             INC.;
                     BROOKDALE SENIOR LIVING, INC.; BKD                                                        -      -
                     TWENTY-ONE MANAGEMENT COMPANY,
                     INC.;       AMERICAN             RETIREMENT
                     CORPORATION; LIFE CARE SERVICES, LLC;
                     and, CYNTHIA AYALA (as to SEMINOLE
-- - ---- - -_   _ PAVILION REHABILITATION
                                - - -- . --. . -- - AND    NURSING
                                                    - - - -- --- -- - -   - - - - - --- -- - - --   -   -
                     SERVICES),                                                                             - - -- -- — -- — -

                                     Defendants.
                                                                      /


                                   PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                             THE ESTATE OF DONALD J. JACK, by and through JESSICA GUNTER, Personal

                     Representative, and by and through undersigned counsel, hereby sues Defendants, CCRC OPCO

                     - FREEDOM SQUARE, LLC; _ HCP,_ INC. a/k/a HCP_ INC. _ OF __ MARYLAND _ n/k/a

                     HEALTHPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-

                     ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION;

                 -   LIFE CARE SERVICES; LLC;- and, CYNTHIA AYALA (herein after, the "Defendants"): All of ---- - -

                     the allegations contained in this Complaint are based on either known facts or infonnation and

                     belief. Plaintiff alleges as follows:
                                                         INTRODUCTION

                            This case concerns the injuries, damages, and untimely death of DONALD J. JACK as a

                  result of Defendants' actions and omissions during his residency at Defendants' skilled nursing

                  facility known as Seminole Pavilion Rehabilitation and Nursing Services (the "Facility"). What

                  was supposed to be merely a short-term rehabilitation admission turned out to be a death sentence

                  for DONALD J. JACK due to Defendants' business practice of placing profits over residents. For

                  years, even before DONALD J. JACK's residency, Defendants chose to place profits over

                  residents and ignore deficiencies in their einergency preparedness plan and in their infectiori
-   --       -...........                     .. ..
                  prevention and control program. When Defendants' deficiencies became more pronounced in light

         -__ - of the COVID719_pandemic, Defendants continued to choose to place profits over residents by

                  refusing to be forthcoming with the authorities, staff, residents, and residents' relatives of the

                  potential dangers of COVID-19 and of the COVID-19 positive cases at the Facility.-Instead, for        -

                  alinost a week after the first COVID-19 death at the Facility, Defendants withheld information

                  regarding the COVID-19 positive death at the Facility and withheld supplies necessary to protect

                  residents and staf£ During the time Defendants kept everyone in the dark and withheld necessary

         =        supplies; DONALD J. JACK contracted COVID=19. Only after the Facilityhad become known as-

                  the epicenter in Pinellas County for COVID-19 and intervention from the Florida Department of

                  Health, did Defendants transfer all ninety-five (95) residents, including DONALD J. JACK, to

                  local hospitals to get the necessary care and to allow Defendants and the Florida Department of

                  Heatth to completely reset the Facility's infection-control practices, decontaininate the-site, and

                  provide additional training for staff. Unfortunately, by this time DONALD J. JACK had tested

                  positive for COVID-19 and only five days thereafter DONALD J. JACK was dead as a result.

                                    JURISDICTION, PARTIES AND VENUE ALLEGATIONS

                            l.    This is an action for damages in eYcess of Thirty Thousand Dollars ($30,000.00).

                                                                  2-
                   2.   On or about April 2, 2020, DONALD J. JACK was admitted to SEMINOLE

        PAVILION REHABILITATION AND NURSING SERVICES, located at 10800 Temple Terrace,

        Seminole, Florida 33772 in Pinellas County, wliere he remained until approximately April 17,

        %11➢.Ila

                   3.   Plaintiff, JESSICA GUNTER, is the Personal Representative of THE ESTATE OF

        DONALD J. JACK. Letters of Administration, dated May 15, 2020, evidencing JESSICA

        GUNTER's authority to b-ing this action on behalf of THE ESTATE OF DONALD J. JACK are

        attaclied hereto as Exhibit "A."

                   4.   SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is a

        fictitious name owned by Defendant CCRC OPCO - FREEDOM SQUARE, LLC.

                   5.   CCRC OPCO - FREEDOM SQUARE, LLC is the licensee that operated the

   -    Facility during DONALD J. JACK's residency.

                   6.   CCRC OPCO - FREEDOM SQUARE, LLC, is an active Delaware limited liability

        company, with its principal place of business at 1920 Main Street, Suite 1200,

        Irvine, California 92614, which is registered to do business in Florida and is doing business in

                                   - - - . . . ..... . ... . .   --.- -. .--                      --------
                                                                                   . ..... .._ . ... . .... .- .


                   7.   CCRC OPCO - FREEDOM SQUARE, LLC conducted and engaged in business

        activitie-s within the State of Florida; engaged in substantial and not isolated activities within the

        State of Florida; and purposely availed itself of the privileges of the State of Florida, tlirough its

___. .._. ownership of,-leasing of, operation -of, -management. of, and/or consultation with- nursing home-

        facilities, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

        within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC




                                                             3                 -
         OPCO - FREEDOM SQUARE, LLC is subject to the jurisdiction of the courts of the State of

         Florida.

                 S.     CCRC OPCO - FREEDOM SQUARE, LLC committed tortious acts against

         DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

         subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC OPCO -

         FREEDOM SQUARE, LLC is subject to the jurisdiction of the Courts of the State of Florida.

                9.      HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a HEALTHPEAK

         PROPERTIES, INC. (hereinafter refer►•ed to as "HCP") is the owner of property located at 10800

         Temple Terrace, Seminole, Florida 33772, which is the property upon which the SEMINOLE

         PAVILION REHABILITATION AND NURSING SERVICES is situated.

                10.     HCP is a Maryland corporation, with its principal place of business at 1920 Main
                                                                          -   -- --     -     - -       - - ---   -
    -- Street; Suite 1200, Irvine, California 92614, which is registered to do business in Florida and is

         doing business in Florida.

                11.     HCP had the authority to and did exercise control over the funds available to the

         Facility for the use and benefit of the residents, including DONALD J. JACK.

-               12:     HCP required rerits or other corripensation from funds-- if ]cnew were necessary for

         DONALD J. JACK's support and maintenance. HCP knew that such conduct would deprive the

         Facility of adequate resources to provide for the wellbeing of the Facility's residents, including

         DONALD J. JACK.

              __13_._..._-HCP ...shai-ed.. .contro.l._. over_..the _-operation....o.f.. -SEMINOLE.. P.AVILION

         REHABILITATION AND NURSING SERVICES through its authority to control the fiinds

         available to the Facility for the use and benefit of the residents, including DONALD J. JACK.
             14.     HCP conducted and engaged in business activities within the State of Florida;

    engaged in substantial and not isolated activities within the State of Florida; and purposely availed

    itself of the privileges of the State of Florida, through its ownership of, leasing of, operation of,

    management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

    REHABILITATION AND NURSING SERVICES, within the State of Florida. Accordingly,

    pursuant to section 48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the

    State of Florida.

            15.      HCP committed tortious acts against DONALD J. JACK in the State of Florida.

    Each tortious act is specifically alleged in the subsequent counts. Accordingly, pursuant to section

    .48.193, Florida.S.tatutes,. HCP is. subjec.t to. the jur.isdiction of the courts of the State of Florida. _

            16.      BROOKDALE SENIOR LIVING, INC. is a Delaware corporation, with its
                                                                                      - - - -       -- --     ----
    principal place of business at 111 Westwood Place; -Suite 400, -Brentwood, Tennessee--37027,

    which is registered to do business in Florida and is doing business in Florida.

            17.      BROOKDALE SENIOR LIVING, 1NC. is the parent company and operator of

    SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.

-           18. ` BROOKDALE SENIOR LIVING, INC. conducted and -engaged in business

    activities within the State of Florida; engaged in substantial and not isolated activities within the

    State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

    ownership of, leasing of, operation of, management of, and/or consultation with nursing homes,

    iricluding SEMINOLE.P_AVILLON_REHA.BLLITATI.ON.AND NURSING SERVICES,-within the _

    State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE

    SENIOR LIVING, 1NC. is subject to the jurisdiction ofthe courts ofthe State ofFlorida.




                                                          5
                    19.     BROOKDALE SENIOR LIVING, INC. cornmitted tortious acts against DONALD

            J. JACK in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

            Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.

            is subject to the jurisdiction of the courts of the State of Florida.

                    20.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is a Delaware

            corporation, with its principal place of business at 111 Westwood Place, Suite 400, Brentwood,

     "     Tennessee 37027, which is registered to do business in Florida and is doing business in Florida.

                    21.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. served as a

            management company for SEMINOLE PAVILION REHABILITATION AND NURSING

            S.ERVICES duringDONALD.J_JACK'_s.residency.                      _ _._.__.. ... _.-_ .. ____ ... . ..........

                    22.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. conducted and

            engaged in business activities within the State of Florida; engaged in substantial and not isolated

            activities within the State of Florida; and purposely availed itself of the privileges of the State of

            Florida, through its ownership of, leasing of, operation of, management of, and/or consultation

           with nursing homes, including SEMINOLE PAVILION REHABILITATION AND NURSING

-           SERVICES; withirrthe State of Florida: Accordingly, pursuarit to section 48.193; Florida Statutes,

            BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the

            courts of the State of Florida.

                    23.      BKD TWENTY-ONE MANAGEMENT COMPANY, INC. committed tortious

    _..._.....acts.against DONALD-J__JACK in the.State .of F]orida.. -Each.tortious ac.t. is-spec.ifi.cal.ly al.l.e.ged in   _

            the subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, BKD TWENTY-

            ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the courts of the State

            of Florida.



                                                                  6
        24.     AMERICAN RETIREMENT CORPORATION is a Tennessee corporation, with

 its principal place of business at l I 1 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

 which is registered to do business in Florida and is doing business in Florida:

        25.     AMERICAN RETIREMENT CORPORATION conducted and engaged in

 business activities within the State of Florida; engaged in substantial and not isolated activities

 within the State of Florida; and purposely availed itself of the privileges of the State of Florida,

 through its ownership of; leasirig of, operation of, management of, and/or consultation with nursing

 homes, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

 within the State ofFlorida. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

 RETIREMENT CORPO.RATION is subject to the jurisdiction of the courts of the State of Florida.

        26.     AMERICAN RETIREMENT CORPORATION committed tortious acts against
    - - - - ---- - --         -   — - - -- - ---- --- --
 DONALD J. JACK in the State of Florida. Each tortious- act - is- specifically alleged - in the

 subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

 RETIREMENT CORPORATION is subject to the jurisdiction ofthe courts ofthe State ofFlorida.

        27.     AMERICAN RETIREMENT CORPORATION is an entity that operated,

"inanaged; controlled and'oversaw SEMINOLE PAVILION REHABILITATION AND NURSING                                  -

 SERVICES during DONALD J. JACK's residency.

        28.     LIFE CARE SERVICES, LLC is an active Iowa limited liability company, with its

 principal place of business at 400 Locust Street, Suite 820, Des Moines, Iowa 50309, which is

           to- do- business_in -Elorida-and.is doing-business.i.n.F-lor.ida .. . ....... .. .. . ___. _..- ._

        29.     LIFE CARE SERVICES, LLC served as a management company for SEMINOLE

 PAVILION REHABILITATION AND NURSING SERVICES during DONALD J. JACK's
                    30.     LIFE CARE SERVICES, LLC conducted and engaged in business activities within

            the State of Florida; engaged in substantial and not isolated activities within the State of Florida;

            and purposely availed itself of the privileges of the State of Florida, through its ownership of,

             leasing of, operation of, management of, and/or consultation with nursing homes, including

            SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the State of

            Florida. Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC

            is subject to the jurisdiction of the courts of the State of Florida.

                    31.      LIFE CARE SERVICES, LLC committed tortious acts against DONALD J. JACK

            in the State of Florida. Each tortious act is spec'ifically alleged in the subsequent counts.

            Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE. SERVICES, LLC is subject

            to the jurisdiction of the courts of the State of Florida.

                    32.      CYNTHIA AYALA- was at all material times hereto a resident of the State of

            Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING
                                                   -                                -
            SERVICES. -

                    33.      CYNTHIA AYALA conducted and engaged in business activities within the State
                                                                                                                        -.
            of'Florida; engaged--"in substaht'ial -and riot isolated activ~ties withiri the State o F or~ a; an

            purposely availed herself of the privileges of the State of Florida, through her management of,

            operation of, control of, and/or consultation with SEMINOLE PAVILION REHABILITATION

            AND NURSING SERVICES, within the State ofFlorida. Accordingly, pursuant to section 48.193,

_._.. _.. .__ ..-. Florida-Statutes, .CYNT.HIA- AYALA..is- subject.to.the-jurisdiction of_the courts of the State--of

            Florida.

                     34.     CYNTHIA AYALA committed tortious acts against DONALD J. JACK in the

            State of Florida. Each tortious act is specifically alleged in the subsequent counts. Accordingly,
       pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of

       the courts ofthe State of Florida.

                                             FACTUAL ALLEGATIONS

                  35.       In December 2019, the government in Wuhan, China, confirmed that health

       authorities were treating clusters of cases of suspected pneumonia that appeared to be viral in

       origin.

                  36:       On or about January 30, 2020, the World Health Organization declared a Public

       Health Emergency of International Concern after the outbreak of the 2019_coronavirus disease.

                  37.       On February 11, 2020, the World Health Organization announced an official name
                                                                                                                      --
       for the new disease - coronavirus disease 2019, abbreviated- as COVID-19.__ -- -_

                  38.       COVID-19 is an infectious virus that attacks the respiratory system of its human
- --       - --         -      ----      - ---- - -     -----
       host. The elderly, medically fragile, and those with compromised immune systems are particularly

       susceptible to fatality due to COVID-19.

                  39.       On or about February 29, 2020; the Centers f6r Disease Control and Prevention

       ("CDC") released a statement regarding the first confirmed death in the United States from the

       coronavirus. In addition to the first confirmed death; the -CDC reported that the public•health

       officials in the state of Wasliington had also reported two additional liospitalized patients — two of

       which were frotn a long-terin care facility where one was a health care worker — who had tested

       presumptive-positive for the virus that causes COVID-19. In addition, the CDC reported that

       add.itional_residents_and staff.ofthe,long-term care-facilityhad -noty_et been.tested_but were either___   _

       ill with respiratory symptoms or hospitalized with pneumonia of unknown cause.

                  40.       On or about March 1, 2020, in response to positive cases of COVID-l9 in Florida,

       Governor Ron DeSantis issued Executive Order 20-51, directing the Florida Department of Health

       to declare a Public Health Emergency.

                                                            9
            41.       On or about March 4, 2020, Defendants, via various websites, represented to the

     staff, residents, and relatives that Defendants were taking action to address COVID-19 concerns

     such as:

                   a) Providing consistent updates and communication to those who live and work in the

                      community.

                   b) Following evidence-based precautions that align with guidelines provided by

                      the CDC.
                - -                                                                    --
                   c) Reviewing response measures to ensure the community is organized and ready if

                      the virus impacts the community or the surrounding area.

            42.       On or about March 9, 2020, the Governor of Florida declared a state of emergency

     existed in Florida.
                                                                                     ---     -      -         -          -
            43-.      On March 11, 2020; the World Health Organization declared-COVID-19-a global

     pandemic.

            44.       On or about March 13, 2020, the Governor of Florida ordered all Florida nursing

     home facilities to lock down and implemented a visitation ban in an effort to mitigate the risk to

'   - Floi-ida's most Vulnetable populdtion to COVID-19,- ~vhich is-Florida's elderly populdtion (i:e. over

     the a(le of sixty=five (65)) and particularly those who have underlying medical conditions such as

     cancer, chronic lung disease, moderate-to-severe asthma, serious heart conditions,

     immunocompromised status, diabetes, severe obesity, renal failure and liver disease.

           _45:. ...On-or about March_15,.20.20,-Defendants, via-their shared.website, represented_to—            -.--       --

     the staff, residents, and relatives that Defendants were continuing to take action to address COVID-

     19 concerns such as:

                   a) Continuing to follow the guidance from both the CDC and local health authorities.



                                        -             10
                       b) Increasing the frequency and rigor of cleaning and sanitizing common community

                              areas.

                       c) Reviewing emergency preparedness and response program.

                       d) Coordinating best practices and across their large partner network.

                       e) Providing all residents and their families with the most up-to-date guidance from

                              the CDC.

                       f) Staying in communication with local health officials.

                 46.          Despite Defendants' representations to the _staff, _ residents, and relatives,

       Defendants failed to adequately take action to address COVID-19 concerns and failed to comply

       with their.own procedures by, among other things:                                        -------

                       a) Failing to supply or require staff to wear Personal Protective Equipment ("PPE");
                                              -                   --                                                   -
      --     -         - b)   Allowing-asymptomatic staff who had been-exposed-to-COVID=1-9--to - continue

                              working at the Facility;
---   --                  —       -              -              -                                                      -
                       c) Failing to provide staff, residents, and their families with consistent updates and

                              communication regarding the risk of COVID-19 and of COVID-19 positive cases

                                                              -        -   -   -   •-    -      -              -   -   -
                              at t e Faci ity;-an -,

                        d) Failing to implement an adequate emergency preparedness and response program.

                 47.          - On or about April 2, 2020,- at the age of seventy-five (75), DONALD J: JACK

       admitted himself to SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES

      _(the-"Fac-ility").for.shor.t-ter.m.rehabilitation--for-generalized.weakness as he-mer.el_y-needed-to gain       -:

       strength to receive chemotherapy for his recent diagnosis of Hodgkin's Lymphoma.
                   48.     Upon admission, Defendants documented that DONALD J. JACK had various

            diagnoses including, but not limited to, Hodgkin's Lymphoma, Type 11 diabetes, and abnormality

            of albumin.

                   49.     Due to his age and underlying medical conditions, Defendants knew DONALD J.

            JACK was one of the residents most vulnerable to COVID-19.

                   50.     Although Defendants were on high-alert for COVID-19 since January 2020 and of

            the residents' vulnerability, Defendants, consistent with their business practice of placing profits

            over residents, disregarded the safety of DONALD J. JACK and the other residents by failing to

            iinplement adequate protocols to minimize the risk and spread of COVID-19 and by failing to

         _. implement adequate care, ser.vices and infection control at the Facility.

                   51.     Defendants' acts and omissions included, but were not limited to:
-- - -        =-- --            ------ --              - - --- - - ---.                      -
                                    Failing to properly use residents' funds; -                                                         -

                           b.       Failing to have an adequate emergency preparedness plan in place to keep

                                    residents safe from emerging infectious diseases like COVID-19;

                           c.       Failing to implement adequate protocols to minimize the risk and spread of

                                             _   ;                       -    --                                                   -   --

                           d.       Failing to implement an adequate system for preventing, identifying,

                                    reporting, investigating, and controlling infections and communicable

                                    diseases for all residents and staff;

                           e.... . -...Failin.g..to..immediatel.y.-notif.y.the-.authorities,.staff,_r.esid.ents,- and -relatives

                                    ofthe potential dangers of COVID-19 and ofthe COVID-19 positive cases

                                    at the Facility;

                           f.       Forcing staff to reuse PPE;



                                                                  12
                       g.       Failing to supply proper masks and gowns for weeks causing many staff

                                members to resort to providing their own homemade facial coverings not

                               medically graded to protect against the virus;

                       h.      Failing to follow and/or adhere to the standards and protocols set out by the

                               CDC and other state and local authorities related to infection control and

                                prevention;

                       i.      Failing to communicate the outbreak to the authorities and avail themselves

                                of the available PPE;                                                             „

                      j.       Failing to implement safety protocols, such as disinfecting many common

                               areas, to.minimize.the-spread.o.f-the_vir.us;            _

                       k.      Failing to provide adequate staff in number and training;

-   -      -          1.-      Failing-to be forthcoming and-adequately share-information regarding the

                                outbreak at the Facility with employees, residents and their relatives.

                       M.      Reducing basic cleaning practices for which the residents paid for;

                       n.      Permitting widespread safety failures, such as inadequate staff and

                     —-         eqtiipment, increasing the risk of injury or death during an emergency such

                               as the pandemic;

                       o.       Failing to have adequate management oversight; and,

                       p.       Permitting asymptomatic staff who had been exposed to COVID-19 to

                      .... ....... continue -to -work at.the Facil.i.tyand.inter.act.with.r.esidents.-.._:._...

               52.     As a result of Defendants' acts and omissions and total disregard for the residents,

        the Facility experienced systemic failure and became the center of the COVID-19 outbreak in

        Pinellas County.
            53.     To date, at least 25 deaths of residents and staff resulting from COVID-19 are

    linked to this single Facility.

            54.     The Facility's first confirmed case of a resident with COVID-19 was a male

    resident that was hospitalized on April 5, 2020, and tested positive on April 9, 2020, for COVID-

    19. The resident then died on April 10, 2020.

            55. . Although the Facility had its first confirmed case of COVID-19 on April 9, 2020 —

    approximately seven days after DONALD J. JACK was adinitted to the Facility — and first

    confirmed death on April 10, 2020, Defendants failed to be forthcoming in sharing this information

    with employees, residents, their relatives, and the public.

            56.     Rather., despite-hay.ing diffc.ulty_managing..the rapid outbreak, Defendants_waited

    approximately a week to disclose to the public the first confirmed COVID-19 case. Defendants'

-   delay in reporting delayed assistance with-the much need-PPE availabie through-the-county:

            57.     Defendants' staff were kept in the dark by Defendants and did not know about the

    gravity of the outbreak until the media reported the transfer of residents on or about April 15, 2020.

            58.     Likewise, family members and advocates have sounded alarms about the delays in

    residents and=the public Iieing informed'about the outbreak- as-fainilies are learning more about the      -

    outbreak fi•om the-rnedia than from Defendants who are keeping everyone in the dark.

            59:     Despite the gravity of the outbreak, Defendants failed for weeks to provide

    adequate gowns and masks for staff.

            60.__--_Defendants'. staff-feared :for.their_.saf.ety-.because. protacols were_not in -place -to

    minimize virus spread such as providing proper PPE and disinfecting common areas. As a result,

    staff began quitting and resident care deteriorated even fiirther as staff quit and supplies shrank.




                                                      i[!
               61.     On or about April 16, 2020, the Facility received ]aboratory results confirming

       DONALD J. JACK was positive for COVID-19.

               62:     By April 16, 2020, approximately 30 residents and staffinembers at the community

       had tested positive for COVID-19 and by April 17, 2020, two additional residents had died.

               63.     Defendants were reluctant to transfer residents to hospitals, but began to transfer

       mass amounts of residents on or about April 16, 2020, when they became overwhelmed by the

       outbreak.

               64.     On or about April 17, 2020, after intervention frorn the Florida Department of

       Health and after nearly 60 residents were transferred to area hospitals who had either tested

    _-_positive_(or..were_ pr.esumed_-positive)__for_COVID-1_9,__Defendants_-.xransferr.ed_-all__remaining

       residents at the Facility, including DONALD J. JACK, to local hospitals to allow Defendants and
              --
-      the Florida Department--of Health -to completely- reset- the Facility's -infection- control practices,

       decontaminate the site, and provide additional training for staff.

               65.     In a span of eight days, from the first confirmed diagnoses to the rriass evacuation

       on April 17, 2020, a total of 95 residents were removed from the Facility and three had died.

               66.   - Ori April -21; 2020-, onlyfive days aft'er being -diagnosed, DONALD J. JACK passed

       away as a result of-COVID-19, which he contracted at the Facility- dtie to Defendants' acts and

       omissions:

               67.     Based upon the acts and omissions described above, as well as numerous reports

       fi`om Defendants.'..own.staff,_Defendants,_.who-were=focuserl on.their.own-self.--inter.ests and.putting-

       profits over the well-being of the Facility's residents in reckless disregard for the residents' safety

       and well-being, were ill-prepared to protect the residents, including DONALD J. JACK, from

       emerging infectious diseases like COVID-l9.


                _
                                                         15_
                           68.       In fact, Defendants have a history of insufficient infection control practices and

                 have been on notice of this problem since at least February 9, 2018, when the Facility was cited

                 by the Department of Health for failing to have a program in place to prevent the development and

                 transmission of communicable diseases and infections.

                           69.       The Department ofHealth cited the Facility again on March 15, 2019, for failing to

                 provide and implement an infection prevention and control program to help prevent the

                 development and transmission of comrnunicable diseases and infections. Notably, the Department

                 of Health found that the_ staff inembers failed to use PPE when providing care to a resident on

                 contact isolation precautions.
         -             -
                           70.._ ..Defendants' acts-and.-om.issions,-with_.knowaedge-of._their_history--o.f_failing to

                 provide and implement an adequate infection prevention and control program and in the face of
 -   — ----        — —                                  —                -- -   - ----              -
             -- the grave danger faced- by DONALD- J. JACK and the other residents of contracting COVID-19,

                 were so reckless or wanting in care that it constituted a conscious disregard or indifference to the

                 life, safety or rights of by DONALD J. JACK and the other residents exposed to Defendants'

                 conduct.

             - -- ~    -         -        -
                                                     CORPORATE BACK R UND

                           71. . BRO.OKDALE SENIOR LIVING, INC: was formed in June 2005 for the purpose

               -.of.combining two leading senior living companies, Brookdale Senior Living Communities, Inc.

                 and Alterra Healthcare Corporation. Both companies had been operating independently since the

                 1980's._....
- -- -                                          -


                           72.       Approximately one year after its formation, BROOKDALE SENIOR LIVING,

                 INC. acduired another senior living community operator, AMERICAN RETIREMENT

                 CORPORATION, which had been independently operating since 1978. The acquisition of



                                                                     m
                 AMERICAN RETIREMENT CORPORATION made BROOKDALE SEN10R LIVING, INC.

                 the largest operator of senior living facilities in the United States.

                         73.     On or about July 20, 2007, BROOKDALE SENIOR LIVING, INC., through

                 AMERICAN RETIREMENT CORPORATION, purchased SEMINOLE PAVILION

                 REHABILITATION AND NURSING SERVICES.

                         74.     BROOKDALE SENIOR LIVING, INC. is the parent company and long term care

                 operator of hundreds of various senior living housing and service alternatives including retirement

                 centers, assisted living facilities, - skilled nursing facilities arid - continuing care retirement

                 communities also known as CCRCs throughout the country including SEMINOLE PAVILION

    - -- - - - -REHABILITATIONANDNU.RS.ING-.SERV.ICES._.-...-----.-.-_--.---.------.- . ------- ----- -...

                         75.     BROOKDALE SEN10R LIVING, INC. owns, operates, and manages its facilities
                   --                                              -                      -
    -        -----using the same-officers -and -directors -to - control -and operate all of-its-agents and subsidiaries.

                 BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

                 oversight- of operations fi•om a"national platform."

                         76.     SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is

- --- ----
                 part of a arger CCRC, cnown as -Fi•eedom-Squai-e-of-Semiriole ("Freedoin Square"), which offers           ..

                 a full continuum of care: The Freedom - Square campus --includes independent living

                 accommodations, an assisted living facility;- and two skilled nursing facilities, one being

                 SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom Square

                -offers -bothxental-and what is.known.as °`Life-Care'-'-programs.-The-rental-progr.am-operates on a_- -

                 monthly rental fee basis, with no entry fee. The Life Care program is secured with an entry fee

                 purchase to cover the cost of future accommodations and health care services.




                                                                   17                                       -
                           77.     BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow a

                    resident to "age in place" as it offered a retirement community with opportunities for independent

                    living, assisted living and nursing home care. In theory, a person could spend the rest of his or her

                    life in a CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

                    which could include the price of one's home, potentially committing that individual to the CCRC

                    regardless of the quality care they receive. In 2015, CCRCs were responsible for alrnost 20% of

                    BROOKDALE SENIOR LIVING, INC.'s total senior living capacity.

                           78.' In 2014, in an effort to grow revenue, BROOKDALE SENIOR LIVING, INC.

                    entered into an agreerrient with a real estate investment trust ("REIT"), HCP, to create a new

                    business_ model_for- certain._pre-existin&_facilities..-Together, the. companies .restr.uctured .these .

                    facilities with the intent to make a profit by releasing equity, increasing occupancy, increasing
    - --         - — -     — --     ---        ----    -
                        y- service fees,and controlling o P
                    monthl                                eratina
                                                                b--exPenses. ---SEMINOLE --PAVILION                                 -

                    REHABILITATION AND NURSING SERVICES was included in this restructure.
-      -- - --                     ----
                           79.     The new business model, in part, involved the restructuring of currently owned

                    facilities by creating new companies for no legitimate purpose other than to avoid liability for

           --       shoddy risk management. In effect, Defendants took~a legit'imately nained coinpany; bro eit mto

                    pieces; saddled it with tremendous liabilities; and sucked out all the cash. This restructuring

                    involved the ostensible separation ofthe real estate on which the facilities sit from the operator of

                    the facility itsel£ This model, known as the "Propco-Opco" structure, required the formation of

                    two.new-entitiesto.take.overthe.pre-existing_one:.thea-.eal.estate.com.pany,or..the.so-called.landlord .   _-

                    ("Propco"), and the facility operator, or the so-called master tenant ("Opco"). At the closing, the

                    "Opco" entity engaged an affiliate of BROOKDALE SENIOR LIVING, INC. to manage the

                    owned and leased community piu-suant to a management agreement.



                                                                       :
                80.    On or about August 29, 2014, at or about the same time that BROOKDALE

        SENIOR LIVING, INC. and HCP partnered to increase revenues and created the Propco/Opco

        entities, BROOKDALE SEN10R LIVING, 1NC. filed a change of ownership application with the

        State of Florida.

                81.    After the change in ownership, a new company, Defendant CCRC OPCO -

        FREEDOM SQUARE, LLC, the "Opco" oi- operating entity, was also created. CCRC OPCO -

        FREEDOM SQUARE, LLC becarrie the new licensee of SEMINOLE PAVILION

        REHABILITATION AND NURSING SERVICES and the entity saddled with liabilities.

               82.     BROOKDALE SENIOR LIVING, INC. 'and HCP jointly own CCRC OPCO

_ . _ ... _._..._ _Ventures, LLC rwhich. ownsorie_hundred_p-ercentof-C_CR.0 OPCO-FREEDOM SQUAREr LLC.

               83.     CCRC OPCO-FREEDOM SQUARE, LLC entered into a management agreement
_     --
      - with another - BROOKDA-LE - SENIOR-- LIVING;---INC: -- subsidiary; BKD TW-ENTY-ONE

        MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE

        PAVILION REHABILITATION AND NURSING SERVICES and other nursing home facilities

        in Florida.

           -   84.- BKD TWENTY-ONE MANAGEMENT ' COIVIPANY, INC. assumed certain                               -

        duties and obligations towards residents to manage the- day-to-day operations of SEMINOLE

        PAVILION - REHABILITATION AND NURSING SERVICES. The centralized corporate

        functions include financing, accounting, human resources, marketing, training, regulatory, affairs,

       _purchasing..food-and-suppl.ies,-.asset_manag:ement,_extensive_p-o-licy.and.procedure-.manuals and.

        extensive quality control programs.

               85.     BROOKDALE SENIOR LIVING, INC.'s and HCP's quality control measures

        include community inspections conducted by corporate staff on a regular basis. BROOKDALE



                                                        19
                     SENIOR LIVING, INC. and HCP focus on increasing occupancy and increasing revenues to

                     attempt to generate a profit to support the expansion of their brands through the acquisition of

                     additional facilities.

                             86.        Upon information and belief, on or about January 31, 2020, HCP acquired

                     BROOKDALE                SENIOR      LIVING,     INC.'s     interest   in   SEMINOLE   PAVILION

                     REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE

                     PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.

                 -   However, documents reflecting the change of ownership and/or manageinent have not been filed

                     with and/or made available by the State ofFlorida.

_.           ----_------- ------- -.------   -.---CORPORATE.CONDUCTAND-JOINT-VENTURE -.. ------- -------

                             87.     Based upon information and belief and the allegations stated above, at all relevant
               - --         --           -     --- - --   - ---     - - -
                     times, -CCRC--OPCO-FRERDOM- SQUARE, LLC, BRaOKDALE- SENIOR LIVING, INC.,                              _


                     AMERICAN RETIREMENT CORPORATION, BKD TWENTY-ONE MANAGEMENT

     -               COMPANY, INC., HCP, and L1FE CARE SERVICES, LLC, engaged in a joint venture to own,

                     operate, and manage nursing homes including SEMINOLE PAVILION REHABILITATION

         -      - AND NURSING SERVICES.-Each can bin-d -the-other and- each has the . authority to participate in

                 -the other's profits and tlie obligation to share.in each other's losses.

                             88. Money paid by and on behalf of the nursing home residents was the sole source of

                     revenue for the multiple layers of companies created by Defendants to distribute and share the

              --.reyenues--_ generated_._at .-SEMINOLE.-- PAVILION- _REHABILITATION_. AND_:NURSING

                     SERVICES and the other nursing homes in Florida.

                             89. Defendants managed themselves, governed and controlled the care and services

                     provided to DONALD J. .IACK, and, by virtue of their management and control, each of them,



                                                                            20
         voluntarily and intentionally assumed responsibility for and provided supervisory and custodial

         services to DONALD J. JACK while he was a resident of the Facility.

                 90: At all relevant times, Defendants held themselves out as being competent, capable, and

         qualified to provide necessary services to their residents, including DONALD J. JACK, and to

         protect and keep all residents, including DONALD J. JACK, safe from hann, including from the

         spread of infectious diseases.

                 91. At all relevant times, Defendants owned, operated, and/or managed SEMINOLE

         PAVILION REHABILITATION AND NURSING SERVICES, and furthermore participated in,

         authorized, and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND

         NURSIN.G. SERVICES_andits.respective.agents.and_employees._Defendants arother.efore directly_

         liable for their own negligence, recklessness, and other tortious conduct, in the hiring and

     -   management of their agents-and cmployees:                                          -

                 92. Defendants, through their managers, directors, presidents, vice-presidents, executive

         officers, and other agents, directly oversaw, managed, and/or controlled all aspects ofthe operation

         and management of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

-'       includ'irig liudgeting; stafBng; training, policy and -procedures manuat(s),_ licerising; accounts

         -payable, accounts-receivable, general accounting; cash management, capitalization, and profit and

         loss margins:

                 93. Defendants employed all of those persons who attended to and provided care and

 -       services- to D.ONALD_ J. JACK - while he_ _was. a resident -at. _SEMINOLE- P_AVILION

         REHABILITATION AND NURSING SERVICES, and employed those persons in management

         and supervisory positions who directed the operations of the Facility, all of whom were acting

         within the course and scope of their employment.



                                                         21
             94. Defendants, through their administrators, directors, and managing agents, condoned

     and ratified all the conduct at the Facility.

             95. At all relevant times, Defendants were the knowing agents and/or alter-egos of one

     another, and are therefore vicai•iously liable for the acts and/or omissions of each othei-, their agents

     and employees, as is more fully alleged herein. Moreover, at all relevant times, Defendants were

     acting within the course and scope of their employment and/or agency relationship.

             96. Defendants' acts and omissions, as alleged herein, were done in concert with each other

     and pursuant to a common design and agreement to accornplish a particular result: maximize

     profits at the Facility, despite the result being that the Facility was underfimded and understaffed.

           _.-97...Defendants,__b-y-the.ir. acts_and..omissions as_.alleged-her.e.in,. operated. pursuant to an

     agreement, with a common purpose and community of interest, with an equal right of control, and

—    subject -to - participation- -in profits and losses such that they operated a joint enterprise or joint

     venture, subjecting each ofthem to liability for the acts and omissions of each other.

             98. Defendants were responsible for the organization and administration of the Facility,

     and had duties to, inter alia, ensure the Facility complied with applicable statutes and regulations,

     and adopt policies arid procedures for the Facility.

             99. Each Defendant knowingly disregarded their respective duties and obligations owed to

     DONALD J. JACK and the other residents through both acts and omissions. Those duties to

     reasonably operate, manage, own and/or control SEMINOLE PAVILION REHABILITATION

_. .._.AND.NURS.I.NG SERV.LCES inc.luded::the d.uty to ensur.e.the facili.ty:had.su.ff cient-.staff.who. were -

     trained to meet DONALD J. JACK's needs and the needs of the other residents; the duty to seek

     out and correct deficiencies or lapses in the care provided to DONALD J. JACK and other

     residents; the duty to provide a safe enviromnent for DONALD J. JACK and the other residents;



                                                        22
           the duty to investigate the cause of preventable incidents that occurred at SEMINOLE PAVILION

           REHABILITATION AND NURSING SERVICES; the duty to sufficiently staff SEMINOLE

           PAVILION REHABILITATION AND NURSING SERVICES to ensure DONALD J. JACK's

           needs and the needs of the other residents were met; and the duty to not divert funds fi•om the

           Facility when the funds are intended for the care and maintenance of the residents, including

           DONALD J. JACK.

                    100.     Defendants did not meet their duties and obligations. Although investigations and

           surveys by_various agencies found deficiencies in the provision of care provided to the residents

           of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, each Defendant

  __.. .. .-_failed-or refused_to correct or_address.these issues addressed_in the .investigations-and surveys.

                    101.     Defendants required or encouraged the admission of residents with higher acuity

       ---levels without-providing the staff-necessary to- care--for- the- -residents.- The -staff was lacking in

           supervision, number, and skill.

                    102.     Further, in their efforts to maximize profits, Defendants intentionally and/or

           recklessly mismanaged staffing levels and supply levels below the levels necessary to provide

--         adequate care and services to the residerits and iinplemented practices in disrega"rd to the safety of

           tfi-e patients.           -                                         _ . - .....

                    103.     Defendants each have extensive experience in the nursing home industry. This

           experience provided each Defendant the knowledge and experience to know that additional staff

_. . _..... ._= and:mo:re ski:lled.staff.were.-riecessary.to.m.eet.the_needs-of.residents: E-ven:with.this-knowledge,-

           Defendants failed or refused to ensure that the residents received adequate and appropriate care

           while in their nursing home.




                                                              23
                           104.   Defendants, pursuant to their sclheme to place "profits over residents" at the

                  Facility, ratified the conduct of each Defendant in that they mandated, were aware of, and/or

                  accepted inadequate staffing, inadequate training, inadequate supplies and inadequate practices at

                  the Facility, and were aware that such inadequate staffing, inadequate training, inadequate

                  supplies, and inadequate practices could lead to injuries and darnages for the residents.

                           105.   In conceiving of, implementing and carrying out their profits over residents scheme,

                  Defendants willfully, knowingly, recklessly and with conscious disregard for DONALD J. JACK's

                  health, safety and welfare, acted in a manner that was malicious, reckless and oppressive.

                           106.   Further, Defendants implemented and carried out the profits over residents scheme

               ._-.with_.knowledge.that.such_a-scheme..was_ design.ed_to. expl.oit-elder]y/senior..citizens, a class

                  expressly deemed by the Legislature of the State of Florida as a vulnerable segment of the
-   --   - -            - -- --- - ---- - - — - -- -                                                                     -
                  population-who require a heightened level of protection:                  -

                           107.   As a result ofDefendants' scheme and acts and omissions, DONALD J. JACK was

                  victimized by Defendants and suffered damages as alleged herein.

                                       COUNT I: BREACH OF FIDUCIARY DUTY
                    As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

                           108.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

                  above.                                   -         -

                           109.   This is a claim that presents a theory of recovery based upon - the presence of a

                  fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

                  AYALA, exclusive of and in addition to all rights encompassed in negligence or Chapter 400, Fla.

                  Stat.

                           110.   This is a claim that does not arise out of negligence or a violation of DONALD J.

                  JACK's nursing home resident rights.


                                                                  24
                             111.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

                    owed DONALD J. JACK a duty to act for or to advise him on matters within the scope of their

                    specialized relationship.

                             112.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

                    and DONALD J. JACK had a developed a special relationship of trust and confidence.

                             113.     That trust and confidence started when DONALD J. JACK was admitted to the

                    Facility because he was incapable of independently providing for all of his necessary care and

                    services to attain and maintain the highest practicable physical, mental, and psychosocial well-

                    beirig. Specifically, DONALD J. JACK needed assistance with multiple Activities of Daily Living

                    .(_`.`ADLs'_')and.twenty-four-ho.urskillednursingcare..---...-- --_---.....---.... -.---.--..-- -- -------. -

                             114.     As a result of his varying infirmities and advanced age, at all tirnes material,
-    -- --- -- — - -- -- --- — — - --  -    - -- - -- - - --
                DONALD J.-JACK- was incapable- of independently providinb for all of his necessary care and

                    services to attain and maintain the highest practicable physical, mental, and psychosocial well-

                    being; and DONALD J. JACK was incapable of dealing with Defendants CCRC OPCO -

                    FREEDOM SQUARE, LLC and CYNTHIA AYALA on equal terms, and was incapable of

                    engaging in any arm's length relationships with -CCRC OPCO - FREEDOM SQUARE, LLC and                                -

                    CYNTHIA AYALA.
     -                                  - -      -                                                    -                             -       .
                             115.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

                    directly solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside

    _-. _... .. _   and:reinain-at.the. Facility,-and further represented.thr.ough the- words -and -.acts of_its.employees and. .__.

                    agents that it would undertake to provide all of the necessary cai-e and treatment to attain and

                    maintain the highest practicable physical, mental, and psychosocial well-being for DONALD J.

                    In",


                                                                           25
              116.    Additionally, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

      CYNTHIA AYALA specifically undertook the non-delegable duty of protecting DONALD J.

      JACK's residents' rights vested in him by virtue of Florida law, including the right to be treated

      courteously, fairly, and with the fullest measure of dignity and the right to privacy. See NME

      Properties, Inc. v. Rzrdich, 840 So. 2d 309 (Fla. 4th DCA 2003).

              117.    As a result of Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and

      CYNTHIA AYALA's solicitation of DONALD J. JACK's trust and confidence, DONALD J.

      JACK placed a special confidence and trust in CCRC OPCO - FREEDOM SQUARE, LLC and

      CYNTHIA AYALA to provide for all of his necessary care and services to attain and maintain the

      highest_practicable..physical,-mental, and.-psychosocial_well-being.. And.DONALD J. JACK relied .

      on CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to provide such care and

-- sery ices:                                     -      ---- - --

              118.    DONALD J. JACK further placed special confidence and trust in Defendants

      CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and provide for

      his individual rights as established in section 400.022, Florida Statutes, and to further act as a
                                                                                                                  ,..
--    trustee for all -6f his personal property that he possessed on*the pfemises'o*f thd Faci ity as W' ell as

 --   his personal funds and income, which on information and belief, he placed in an account

      maintained byCCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA on his behalf

      and for his benefit.

            _-1:1.9.:.--Defendants.CC.RG-0PC0_-.FREEDOM-SQUARE3- -LLC.and.CYNTHIA_AYALA--

      undertook to act as trustees to protect and preserve DONALD J. JACK's personal property,

      including his clothing and other valuable personal property, as well as to maintain and manage his

      personal funds and income in a trust account for DONALD J. JACK's benefit. Correspondingly



                                                        26
        CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA voluntarily assumed non-

        delegable duties to provide DONALD J. JACK quarterly accounting of any and all transactions

        made utilizing funds from his trust accoLult, to maintain and safeguard the funds therein and to

        only utilize said fiinds for authorized transactions, and to avoid commingling of his funds with the

        funds of any other person or those of CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

        AYALA.

                120.    Furthermore, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

        CYNTHIA AYALA kriowingly -and voluntary entered into a higlily confideritial relationship with

        DONALD J. JACK. CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA
                                                                                                                       -
__.._._.__..voluntari.l.y.assumed_extensive.legal..duties.to.comply_with-all.of.the confidentiality requirements-

        enumerated in the Health Insurance Portability and Accountability Act of 1996 ("HIPAA")
                                        - - ----    -
        regarding DONALD-J. JACK; a confidentiality similar in scope and duration to that attendant to-                     -

       attorney-client and doctor-patient relationships.

                121.    Moreover, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

       AYALA assumed duties to protect and preserve DONALD J. JACK's Federal and State privacy

       rights;'including those privacy rights'enshrined iri Article I,- Sectiori 23 of the Florida Constitution.-

                122: Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

       accepted the special confidence and trust placed upon them by DONALD J. JACK by admitting

       him into the Facility and by, among other things: explicitly assuming, through words and actions,

      _tlie.- varioiis.duti:es.descr.i:bed:'in - the.prec:ed.ing.parabraplis rEgarding..pratecti.ng his confdentiality,--

        protecting his privacy, protecting his individual liberties, and managing and safeguarding his

        personal finances; assLnning responsibility and control over every aspect of DONALD J. JACK's




                                                              27
               day-to-day life; and voluntarily undertaking responsibility forthe specific level ofcare, protection,

               supplies and services that would be provided to DONALD J. JACK.

                       123.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

               individually and collectively controlled, oversaw and orchestrated every single aspect of

               DONALD J. JACK's existence, from the mundane (such as the clothing worn) to the vital (such

               as determining when and how healthcare would be provided, as well as how much food and water

               DONALD J. JACK could consume).

                       124.     DONALD J. JACK was solely and particularly dependent upon the . employees,

               officers, directors, and agents of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and
               -              --                                                  -               -     -
             _..CYNT_HIA.AYALA to-provide for-his dail.y.care,.pro.tecti.on,services,-supp]ies-and personal and

               intimate needs.
- ---   --     --- - -- - ---                          -
                   -   125. Defendants CCRC OPCO - FREEDOM SQUARE; LLC and CYNTHIA-AYALA

               developed a special relationship with DONALD J. JACK by virtue of: the nature of the care and

               services provided; the trustee-beneficiary relationship they maintained toward him regarding his

               personal property and finances; the Federal and State confidentiality and privacy laws CCRC

               OPCO - FREEDOM SQUARE, LLC undertook to comply with DONALD J. JACK; the superior                            -

               knowledge, skil] and - abilities of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

               CYNTHIA AYALA; the enormous disparity of power and unequal bargaining Defendants CCRC

               OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA enjoyed DONALD J. JACK; and

    -   ::_...-.his.inabilityta-care.forand_pro.v.irle:for.hirnself...:.---_--------------_.:_                   --    -

                       126. This special confidential relationship allowed Defendants CCRC OPCO -

               FREEDOM SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidence toward

               DONALD J. JACK, which required fidelity, loyalty, good faith, and fair dealing by CCRC OPCO



                                                                       28
    - FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO - FREEDOM

    SQUARE, LLC and CYNTHIA AYALA had a duty to refrain from engaging in self-dealing.

            127.   At all times material to this action, Defendants CCRC OPCO - FREEDOM

    SQUARE, LLC and CYNTHIA AYALA were each a fiduciary of DONALD J. JACK based on

    the special relationship between the parties.

           128.    At all times material to this action, Defendants CCRC OPCO - FREEDOM

    SQUARE, LLC and CYNTHIA AYALA owed fiduciary duties to DONALD J. JACK. See

    Greenfield v. Manor Care, Inc., 705 So. 2d 926 (Fla. 4tli DCA 1997).

           129.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

    .acted .and failed.to act Jn material breach of their fiduciary duties owed to- DQNALD J.-JACK.

    Instead Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in

--- ways to -promote- their own interests and irr contravention ofthe interests of-DONALD J: JACK.

           130.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

    breached and violated its relationship of trust, special confidence, and its fiduciary obligations and

    duties owed to DONALD J. JACK by:

             "     a) Failing to take adequate actiorn to address COVID=19 -coricefns at -the Facility

                       as Deferidants represented they would through their various websites as alleged

                       in paragraphs 41 and 45;

                   b) Failing to take adequate action to minimize the risk and spread of COVID-19

                     ---and.i.mpletn.ent-adeqiiate care,-services; and--infection control.at the_Facility as-

                       alleged in paragraphs 46, 50 and 51; and

                   c) Knowingly and i-ecklessly engaging in the profits over residents scheme

                       described herein in an effort to increase the profitability of the Facility, for the



                                                     29
                                      benefit of Defendants and their joint venture, and at the expense of and to the

                                     direct detriment of DONALD J. JACK.

                         131.    In violating their fiduciary obligations and duties to DONALD J. JACK,

                 Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA knew that

                 DONALD J. JACK would suffer harm, including but not limited to the daily injuries resulting

                 from the daily invasion of rights vested in DONALD J. JACK, as well as economic harm.

                         132.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA

                 AYALA's breaches of the duties owed to DONALD J. JACK were the legal cause of the loss,

                 injury and damages suffered by DONALD J. - JACK. As the direct and proximate result of
                                                                            -                                     - -       -   -
                 .Defendants_CCRC_OPCO --FREEDOM-.SQUARE,_LLC'-s-and-CYNTHIA AYALA's.breaches of_

                 the duties owed to DONALD J. JACK, DONALD J. JACK contracted COVID-19 and

               - subsequently died from this infection.                                   -

                         WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO -

                 FREEDOM SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

                 disgorgement of profits, consequential damages, and further demands a trial by jury together with

    —   -" — - --suc —ot "er"and fu rt her relief as this Courf deems appropr`iate:

                          COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
-         —     -- -As to Defendants HCP; BROOKDALE- SENIOR I;IVING; INC.; BKD~ WENTY-ONE —                             -
                 MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                                             LIFE CARE SERVICES, LLC

                         133.    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 132.

                         134.    This is a claim that presents a theory of recovery based upon the presence and

                 breach of a fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

                 CYNTHIA AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

                 encompassed in negligence or Chapter 400, Fla. Stat.

                                                                                -
                                                              --    30                -
                      135.          As set forth in Count I above, CCRC OPCO - FREEDOM SQUARE, LLC and

               CYNTHIA AYALA owed and breached fiduciary duties owed to DONALD J. JACK.

                      136.          Defendants are related entities within a single enterprise or joint venture.

                      137.          Defendants had actual knowledge of DONALD J. JACK's fiduciary relationship

               with CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA by virtue of its close

               corporate relationship to CCRC OPCO - FREEDOM SQUARE, LLC.

                      138.          By reason of their shared and/or common ownership, directors, officers and

               managers and/or contractual relationships, Defendants knew of the fidueiary duties CCRC OPCO

               - FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of
                                                                                   -                                              -
               CCRCOPC.O.-FREED.OM_SQUARE,LLC'.s.and.CYNTHIAAYALA's.br.each_Q£.those.duties

               as described in Count I.
-        ---    -    --       - -        -   --   -             -- - --    -
                      139.          Defendants knew that the residents at the Facility,-including DONALD J. JACK,

               were incapable of independently providing their own necessary care and were solely and
--                     -       -       -                                     -      -         -    --
               specifically dependent upon the employees, officers, directors, and agents to provide for their basic

               daily care, protection, services, supplies, and personal and intimate needs.

                      140.- Defendants kn"owingly participated - and provided" substantial-"assistance and

               eneouragement to - CCRC OPCO - FREEDOM SQUARE; LLC - and- CYNTHIA AYALA in

               connection with their breach of fiduciary duties to DONALD J. JACK, as set forth in detail within

               Count I above.

     -                14.1.. -"- - In _add.iti.on .to- this .knowledge,_.Defendants _aided . and abetted -Defendants CCRC_.       -

               OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties

               and rendered substantial assistance and encourageinent for the same, by, among other things:

                                         a) Engaging in the conduct set forth in detail within Count I above;


                          -          -                --    -             31       -                                          -
                                  b) Exercising dominance and control over CCRC OPCO - FREEDOM

                                         SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

                                         all ofthe Facility's i-evenues into an account controlled by the joint venture

                                         or enterprise, and/or their designee;

                                  c) Knowin(yly and intentionally taking, creating and accepting inter-company

~                                        fees and transfers, comprised of revenues obtained frorn the residents and

                                         designed to improperly and unjustly enrich Defendants instead of allowing

                                         the Facility to iitilize- said resources effectively and efficiently to attain or

                                         maintain the highest practicable physical, mental, and psychosocial well-

                                   ...being.of.each.r.esident,.includingDONALD_J. JACK, as required;_-_..

                                  d) Structuring and approving contracts between Defendants and CCRC OPCO
                -- - -- - — ---            -     — - -- ---- --
    -       -             -- -           = FREEDOM SQUARE, LLC, which - Defendants knew or should have

                                         known would result in the diversion of Facility revenues necessary to

                                         provide the care and services to its residents, DONALD J. JACK;

                                  e) Overseeing and approving CCRC OPCO - FREEDOM SQUARE, LLC's

        -   -              -             and CYNTHIA' AYALA's acceptance of monies fi-om res'idents, including

                                     -   DONALD J. JACK, knowing the- Facility could not provide full value of

                                         the care and services to meet the care and safety needs of the residents;

                                  f)_ Directly or indirectly misrepresenting the nature ofthe relationship between

    -       -                      -- .Defendants:_and_ CC:RC:._OPCO_:=_FREEDO.M::SQUARE;. --LL.0 -and -                     _.

                                         CYNTHIA AYALA, in which Defendants by virtue ofthe common owners,

                                         officers and managers, controlled the business operations and working




                                                                   32
                                 capital of the Facility and inappropriately commingled its revenues by

                                 making intra-company transfers to related facilities;

                              g) Structuring the managing and operating business model for the Facility in a

                                 way that constrained its ability to provide the level of care and services to

                                 residents, including DONALD J. JACK, while simultaneously benefitting

                                 Defendants and other upstream corporate entities; and,

                              h) Influencing, advocating, and approving CCRC OPCO - FREEDOM

                                 SQUARE, LLC's and CYNTHIA AYALA's improper payments to

                                 Defendants, which Defendarits knew exceeded amounts a prudent and cost

                                 conscious_bu-yer would.pay,_and.which_Defendants also-knew..would cause-

                                 the monies intended for the provision of care and services to the residents,
                                                                                                                       --- -
                       -     --including DONALD J. JACK; to be depleted.                                                   -

                  142. The conduct of Defendants as alleged, constitutes aiding and abetting CCRC OPCO

           - F.REEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of fiduciary duties and subjects

           Defendants to liability for the harm suffered by DONALD J. JACK.

                  143:- In aidirig -arid abetting CCRC OPCO - FREEDOM SQUARE; LLC and CYNTHIA

           AYALA in violating fiduciary obligations and duties to DONALD J. JACK as refereneed herein,

           Defendants knew that DONALD J. JACK would suffer harm and injuries, including the daily

           injuries flowing from the repeated breaches of fiduciary duties in which Defendants aided and

--   ---                                     -           -          ---    --      -         - -       ---        --     ---   -

                  144. As a result of Defendants' aiding and abetting in the breaches of fiduciary duties

           by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA, Defendants were

           improperly and unjustly enriched, the Facility was left without the necessary resources to function


                                                     -       33-                         -         -         --
     in the residents' best interests, and DONALD J. JACK suffered botlh the injuries set foi-th herein

     as well as economic harm.

             145.    Furthermore, as the direct and proximate result of Defendants' aiding and abetting

     breaches of fiduciary duties by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

     AYALA, DONALD J. JACK contracted COVID-19 and subsequently died.

             WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

     SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

     AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES,_ LLC for damages,                                    :

     unjust enrichment, restitution, disgorgement of profits, consequential damages, and further

   __. demands a-trial. by jury together with-su.ch-other_andf.urther relief as.this.C-ourt deems-appropriate. -

               COUNT III: VIOLATIONS OF FLORIDA STATUTES §415.1111
      As-to-Defendants-1rICP; BROOKDALE SENIOR LIVING;-INC.; RKD 'I'W-ENT-Y-ONE - -                                    -
     MANAGEMENT COMPANY, INC.; AMERICAN RETl12EMENT CORPORATION; and
                               LIFE CARE SERVICES, LLC

             146.    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 3, 9,

     10, 12, 15, 16, 19, 20, 23, 24, 26, 28, and 31 above.

             147.    For the purposes of this count and only this count, it is not alleged that Defendants

     are a licensee of entity that established, controlled, conducted, managed or operated the Facility.
                                                              .. .


--- --       148-: -DONALD J. JACK -was at all relevant-tirnes a vulnerable adult with a long-term--

  ___ disability. He was seventy-five (75) years of age and was unable to perform the normal activities

     of daily living or to provide for his own care or protection due to his disability.

             149.    Defendants' acts or omissions constitute exploitation of a vulnerable adult in

     violation of Section 415.111 1, Florida Statutes.

             150.    Defendants knew or should have known that DONALD J. JACK lacked the

     capacity to consent, but Defendants obtained or used, or endeavored to obtain or use DONALD J.


                                                         34
          JACK's funds, assets or property, including Medicare and Medicaid benefits, with the intent to

          temporarily or permanently deprive DONALD J. JACK of the use, benefit or possession of the

          funds, assets, or property for the benefit of someone other than DONALD J. JACK.

                  151.    The compensation Defendants received was derived from the private funds of

          vulnerable adults, including DONALD J. JACK, or from Medicaid and/or Medicare funds that

          were beneficiaries' assets, including DONALD J. JACK, which were paid to Defendants for the

          sole purpose of providing for the support and maintenance of the Facility's residents, including

      -   DONALD J. JACK.

                  152.    Defendants received compensation that they should have known would deprive the

          Facility_of adEquate resourc.es to provide for_ the necessities_of_D.ONALD_J__JACK's-support and

          maintenance, which should have been used to, inter alia, implement a sufficient infection control
                                                -               _
          program at the Facility and to securesufficient PPE and supplies to prevent-the-spread-QfCOVID-

          19 at the Facility.

                  153.    Defendants failed or refused to effectively use DONALD J. JACK's income or

          assets for the necessities required for his support and maintenance.

             -   -154. De endants' failure or refusal -to effectively use DONALD J:-JACK's income or              -   -

      assets as set forth herein, was the -proximate cause of the losses he suffered including, but not

          limited to the use, benefit, or possession ofthe funds, assets or property for his benefit.

                 155. As a direct and proximate result of Defendants' acts and omissions, DONALD J.

--- --_JACK-was deprived_of-the use; benefit-or possessiori-ofthe_funds;_assets or property.             -    -

                 WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

      SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

      AMERICAN RETIREMENT CORPORATION; and L1FE CARE SERVICES, LLC for



                                                           35
          disgorgement of profits, consequential damages, attorneys' fees and costs, pre judgment interest,

          trial by jury of all matters so triable, and such other relief this Court deems appropriate.

                COUNT IV: VIOLATION OF FLORIDA'S DECEPTIVE AND UNFAIR TRADE
                                   PRACTICES ACT, & 501.201 ET SEQ.
               As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC; HCP; BROOKDALE
               SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;
               AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC

                    156. Plaintiff re-alleges and incorporates herein by reference paragraphs 1 througli 107

          above.

                    157: Plaintiff brings this Count pursuant to the Florida Deceptive and Unfair Trade

          Practices Act, section 501.201 et seq., Florida Statutes (hereinafter "FDUTPA").

       _.__.   ... __158.__.Under_-FD.UTPA,__"[u]nfair_inethods..of-.comp-etitionT...u.nconscio.nable__acts or

          practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce" are

    - ....unlawful.-Fla: Stat:- § 501.204-(1):           —                   -- - --- -    - .... ... .

                    159. By engaging in the above described conduct and the additional conduct described

          below, Defendants engaged in unconscionable, unfair and deceptive acts and practices in violation

          of FDUTPA in connection with their advertising, soliciting, providing, and offering services at the

          Facility, which acts arid practices ultirnately'victirni2ed DONALD J: JACK; a senior citizen.

                    160'. At' all relevant tiiries, Defendants, their officers, directors, and managers were

          engaged - in trade and commerce in Florida within the meaning of FDUTPA as Defendants

          advertised, solicited, provided, and offered services to consumers and senior citizens.

_ — :. ..... ...... ..1.61.:_..: At=al1 =relEvant-tim.es,-.DONALD..J.:J.ACK.was.a_"consurn.er":and "senior citizen"

          within the meaning FDUTPA as he was an individual over the age of sixty (60).

                    162.   Defendants, their officers, directors, and managers marketed and advei-tised service

          at the Facility directly to senior citizen consumers, including DONALD J. JACK, by disseminating



                                                             36
                brochures, web sites, videos, advertisements, and other information, which were prepared in part,

                by the Facility's related corporate entities.

                       163.      Defendants, their officers, directors, and managers made unfair, deceptive and

                misleading representations in their advertising materials distributed to senior citizen consurners,

                including DONALD J. JACK, regarding the level of services they provided to vulnerable senior

                citizens and nursing home residents.

                       164.      Defendants, their officers, directors, and managers advertised and offered their

                nursing facilities by promising to meet residents' needs; to ]ceep them clean, comfortable and safe,

                and to provide food, water, care, and services as needed. - These statements were false, deceptive,

       - -     ..and.misleadin        ---


                       165.      Defendants advertising materials omitted information that was material to

                consumers, including DONALD J. JACK; by failing to-disclose that-DONALD J JACK would

                experience long delays in the delivery of care and services and that he would often be deprived of

               the care and services he required and bargained for.

                       166.      Defendants, their officers, directors, and managers engaged in deceptive,

                misleading; and unfair practices by'representing that- certain care arid services were or would be

                provided to DONALD J. JACK; as documented in liis care plans and assessments, when in fact

               that care and services were never provided.

                       167.      Defendants, their officers, directors and managers further promised to provide a

_._... .-_..   cl:ean, safe;.aiidsani.tary..living.environment.:thro:ughout.-DONALDJ..-JACK.'_s.residency.at-their

                facilities, for which Defendants were handsomely paid.

                       168.      Defendants affirmatively concealed material facts from DONALD J. JACK

                regarding the existence and effect of the COVID-19 outbreak at the Facility, and led DONALD J.


                                             --             =   37-                                                    -   ~-
               JACK to believe that the Facility was a safe enviromnent, when in fact the Facility was

               contaminated with COVID-19.

                          169.    Defendants, their officers, directors and managers failed to appropriately rnanage

               the real property at the Facility and failed to maintain a clean, safe, and habitable living

               environment for their residents.

                          170.    Defendants, their officers, directors and managers, through their deceptive,

               uriconscionable; and urifair acts and oinissions, misled DONALD J. JACK into believing that their

               facilities were properly managed, maintained, and equipped to meet his basic needs, when it was

               not.

        ..._.......___._. 1_71.   Defendants,.their.officers, directors.and managers.failed.to..provide DONALD J. __-

               JACK with a living environment and premises that reciprocated the rents and other charges they
      - - --    --   - - --   — - - - - - -- - - -- -- --
               were paid for-his residency.

                          172. Defendants, their officers, directors and managers caused the Facility to enter into

               a lease agreement so onerous that it left Defendants without the ability to provide an adecluate,

               safe, decent, and clean living environment, despite promising DONALD J. JACK that he would

               receive th'e-saine in excharige for the monies he paid.

                        - 173: Defendants' failure to provide basic care and services to DONALD J. JACK not

               only violated the FDUTPA, but also degraded DONALD J. JACK, increased his risk of serious

               negative health consequences, and caused him to suffer medical expenses, serious injury, and
        _. .                                               -- .......-.
                                                               -                   - -- _. ...        - -- --   -   -   -   --   - --
-- --- — - --_ ea ._
                  -— . ---
                        . ......- --. ....... ... -...   --...          ....... ._.._.           -.. ...                    -

                         174.     In addition to these deceptive, unconscionable, and unfair acts and omissions,

               Defendants misled consumers, including DONALD J. JACK, by failing to disclose that the

               Facility's related corporate entities exercised control over the Facility, by among other things: (a)



                                                                          38
                      restricting the ability ofthe Facility's managers and administrators to increase staffing levels; (b)

                      supervising, and in some case, overriding the personnel decisions of the Facility; (c) creating and

                      implementing company-wide policies and incentive programs; and (d) entering into agreements,

                      including onerous lease and management agreements.

                               175. Defendants, their officers, directors and managers failed to provide DONALD J.

                      JACK with the basic care and services he required and bargained for with respect to his use of the

                      Facility's preinises.

                               176.. Defendants' deceptive, unconscionable, and unfair statements and practices were

                      in violation of FDUTPA.

    __ ... .._. .._ _._        17_7_.-_..Def.endants'..deceptive,-unconscionable,_and.unfaicrepr.esentations,_olnissions, and -

                      practices were of the type that would likely mislead Florida consumers acting reasonably in the
- -- - - — - - --- - - -- — ---- --
      -   circumstances; to the consumers' detriment;-and were particularly misleading and -detrimental to

                     the senior citizens and infirm residents at their Facility, including DONALD J. JACK.

                               178.    DONALD J. JACK could not have detected the existence and effect ofthe COVID-

                     19 at the Facility or the existence of the onerous agreements, the corporate entities control over

                     the Facility that led to the lack of care, services, and sanitary living environment at the Facility.

                               179.    DONALD J. JACK - adrimitted himself to the -Facil-ity and- had therefore been

                     aggrieved by Defendants unconscionable, unfair and deceptive practices in violation of FDUTPA.

                               180.    DONALD J. JACK sustained damages as a direct and proximate result of

-         --              e en ants'- violations of FDUTPA. - ...      -        --                    -     -         -       -   -


                               181.    DONALD J. JACK did not receive the benefit of the bargain, overpaid for the

                     services, and suffered actual dainages.




                                                                           39
                       182.        The damages suffered by DONALD J. JACK were directly and proximately caused

         by the unconscionable, deceptive, misleading, and unfair practices of Defendants.

                       183.        Defendants' violations were willful as Defendants knew or should have known that

         their conduct was unfair or deceptive or prohibited by FDUTPA.

                       184.        Defendants' violations are made even more reprehensible because of Defendants'

         attempt to exploit senior citizens during a global pandemic for profit, while posing a serious and

         direct threat to the health and`safety of senior citizens such as DONALD J. JACK.

             _         WHEREFORE, Plaintiff demands judgment against Defendants for damages pursuant to

         section 501:211(2), Florida Statutes, in an amount to be proven at trial, pre judgment interest, post-

       __judgment-interest, attorney's-fees and.co.urtcostsas-prouided in.section_5.01-.2.1..05,-Florida-Statutes,

         and further demands a trial by jury, together with such other and further relief as this Court deems
  -     -        ---          --               -- -                            --
- -- -- appropriate.                                                   -- -   --                 - -




                                                             /s/Bennie Lazzara, Jr.
                                                             Bennie Lazzara, Jr., Esquire
                                                             Florida Bar No. 119568
                                                             Bennie@wilkesmchugh.com
                                                             TPABXLStaff@wilkesirichu;;h com -
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                                                             WILKES & MCHUGH, PA
                                                             1 N. Dale Mabry Higllway, Suite 700
                                                             Tampa, FL 33609
                                                             Telephone: (813) 873-0026
                                                             Facsimile: (813) 286-8820
                                                             Attorneys for the Plaintiff



                                                                  40
Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM




     _                 .        E"A'
                                   ff   H I B I T "A"
   FILED 05/1512020 14:42:42 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA
'Filing # 1072693.80 E.-Fi led 05/08/2020 09-44:17 PM'

                                                   IN THE CIIZCUIT COURT FOR PINELLAS COUNTY, FLORIDA
                                                                                                      PROBATE DrVISION

          IN RE: ESTATE OF                                                       Case-No. 20-004321-ER
          DONALD JOHN JACK
                      Deceased.




                                               LETTERS OF ADMIN'ISTRATION

          TO ALL WHOM IT MAY CONCERN

                  WHEREAS, Donald.John jack, a resident -of 12542 82nd Terrace                  N,Semiiiole, FL 33776, died

          gn ApriL ZI, 2020; owning assets in the State,of Flofi
                                                              . da, and

                  WHEREAS, Jessica Giinter has been uppointed perWrial 'representative of the. estate, of the

          decedent and has perforined aR act's 'prer'equisite to issuance of Letters of Administration in the estate,

                  NOW,,THEREFQRE, 1, the undersigned cii-cuit judge, dQclaj-e Jessica Gunter' duly* qualified

          uiid'er the laws of the Siate ijf F1'orida- to act as pef9orialteoreseritati-ve of the estate of Dbiia]dJohn Ja6k,

          deceased--with-fuU--power>-to-adniinister, the estate -accordihg to -law,-to-ask-,-dernand, ue
                                                                                                       -for,-recover -and—

          roceiv&.the propefty   Of the decedent; tO -pay th& debts of the~decedeht as far as the. a,~setsbf the estate Wil.l.

          pefrmit iind the Iaw directs; and t6rrffike distfibution 6f the wat6 adcording to law.

                  ORDERIED in chambersRnellas County., Floridg.
                                                                              0 512020 11:03:20 AM
                                                                                 0 !20101~6-20C1FMESVX


                                                                                         AALI       -il


                                                                                   Pamela A. M. iSmpbell
                                                                                       Circuit Judge




ovi,*ELECTRONICALLY PILED-05/08/2020 09:44:16 PM: KEN BURKE., CLER—K OF T14E CIRCUT COURT, PINELLAS COUNTY"'?
                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 21646839
Notice of Service of Process                                                                            Date Processed: 06/22/2020

Primary Contact:           Jamie Curry
                           Brookdale Senior Living
                           111 Westwood Pl
                           Ste 400
                           Brentwood, TN 37027-5057

Electronic copy provided to:                   Bahar Azhdari
                                               Timothy Cesar
                                               Marti Downey
                                               Laurel Johnston
                                               Michael Mueller
                                               Jennifer Fitzpatrick

Entity:                                       Brookdale Senior Living Inc.
                                              Entity ID Number 2383068
Entity Served:                                Brookdale Senior Living, Inc.
Title of Action:                              The Estate of Donald J. Jack, by and Through Jessica Gunter, Personal
                                              Representative vs. CCRC Opco - Freedom Square, LLC
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Wrongful Death
Court/Agency:                                 Pinellas County Circuit Court, FL
Case/Reference No:                            20-002755-CI
Jurisdiction Served:                          Florida
Date Served on CSC:                           06/19/2020
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Bennie Lazzara, Jr.
                                              813-873-0026

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                                                           Case Number:20-002755-CI

Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM


                               IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                  IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                  CIVIL DIVISION

         THE ESTATE OF DONALD J. JACK, by and through
         JESSICA GUNTER, Personal Representative,

                         Plaintiff,

         V.

         CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
                                                                                         CASE NO:
         INC. a/k/a HCP IN~... OF MARYLAND n/k/a
         HEALTHPEAK P1:.OPERTIES, INC.; BROOKDALE
         SENIOR LIVING, iNC.; BKD TWENTY-ONE
         MANAGEMENT f;OMPANY, INC.; AMERICAN
         RETIREMENT CC.RPORATION; LIFE CARE
         SERVICES, LLC; i!nd, CYNTHIA AYALA (as to
         SEMINOLE PAVL""ION REHABILITATION AND
         NURSING SERVICES),                                                                CERTIFtED PR®CESS SERVER 0 10((l
                         Defendants.                                                     SECDND JUDIC   C IT COUf~T FLQR~
                                                                                          QATE SERlfED ' ' b TI~BE ~~7~
                                                                    SUMMONS

—       THE STAT-E OF FLORIDA --                      --        - -          --          --          -- - -               - --        --

        TO ALL AND SINGULAR SHERIFFS OF SAID STATE:

        GREETINGS:

                YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complaint and Designation of Email
        Addresses in the above styled cause upon the defendant(s):

                                                     BROOKDALE SENIOR LIVING, INC.
                                                  c/o CORPORATION SERVICE COMPANY
                                                           1201 HAYS STREET
                                                         TALLAHASSEE, FL 32301

        Each defendant is heret:y required to serve written defenses to said Complaint on plaintiffs attoniey, whose name and address is:

                                ;                   BENNIE LAZZARA JR., ESQUIRE
                                                       WILKES & McHUGH, P.A.
                                                     TAMPA COMMONS, SUITE 800
                                                  ONE NORTH DALE MABRY HIGHWAY
                                                          TAMPA, FL 33609
                                                                  (813)873-0026
        witliin twenty (20) days after service of tlris summons upon that defendant, exclusive of the day of service, and to file flie original
        of said written defenses witli the clerk of said court either before service on plauitifi's attorney or immediately thereafter. If a
        defendant fails to do so, a default will be entered against that defendant for the relief demanded in the coinplaint or petition.
                                                                                        JUN 09 2020
                 WITNESS my liand and the seal of said Court on the            day of                         1 2020.
 KEN BURKE CLERK CIRCUIT COURT
                                                                            KEN BURKE, CPA
 315 Court Street                                                           Clerlc of the Circuit Court
 Clearwater, Pinellas County, FL 33756-5165
                                                                                                  .~.-

***ELECTRONICALLY FILEI:. 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM



                          IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                            IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                            CIVIL DIVISION

         THE ESTATE OF DONALD J. JACK, by and
         through JESSICA GUNTER, Personal
         Representative,

                          Plaintiff,



           CCRC OPCO - FREEDOM SQUARE, LLC; HCP,                                                              -
          -INC. - a/k/a HCP. INC. OF MARYLAND n/k/a             CASE NO.:,23 -6a27 5~'
                                                                                    j- G'-,
                                                                                         -'—
           HEALTHPEAK - -- PROPERTIES,         INC.;
           BROOKDALE SENIOR LIVING, INC.; BKD
           TWENTY-ONE MANAGEMENT COMPANY,
           INC:; - AVIERICAN- -         RETIREMENT                    -
 -      -- CORPORATION; LIFE CARE SERVICES, LLC;
           and, CYNTHIA AYALA (as to SEMINOLE
     _ PAVILION REHABILITATION AND NURSING
           SERVICES),                                                                            -                -

                          Defendants.
           - -       ..        - -     -        --   ---   /    -

                      PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                 THE ESTATE OF DONALD J. JACK, by and through JESSICA GUNTER, Personal

        Representative, and by and through undersigned counsel, hereby sues Defendants, CCRC OPCO

       _- FREEDOM SQUARE, LLC;_ HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a

        HEALTHPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-

        ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION;

        LIFE CARE SERVICES;- LLC; and; CYNTHIA AYALA--(herein after, the "Defendants"). All 6f            -

        the allegations contained in this Complaint are based on either known facts or infoi-mation and

        belief. Plaintiff alleges as follows:
                                                 INTRODUCTION

               This case concerns the injuries, damages, and untimely death of DONALD J. JACK as a

       result of Defendants' actions and omissions during his residency at Defendants' skilled nuw-sing

       facility known as Seminole Pavilion Rehabilitation and Nursing Services (the "Facility"). Wliat

       was supposed to be merely a short-term rehabilitation admission turned out to be a death sentence

       for DONALD J. JACK due to Defendants' business practice of placing profits over residents. For

       years, even before DONALD J. JACK's residency, Defendants chose to place profits over

       residents
        . . . . .
                  and ignore deficiencies in their emergency preparedness plan and in their infection
                         .... .
    .......                       .. .   _...     ....-
       prevention and control program. When Defendants' deficiencies became more pronounced in light

      _ of the_COVID--19_pandemic,- Defendants continued to choose to place profits over residents by

       refusing to be forthcoming with the authorities, staff, residents, and residents' relatives of the
-             ---- -    -- -- -   - -    -----     -   ------- - - ---      - -   ----      -   -           -
       potential dangers of COVID-19 and of the COVID-19 positive cases at the Facility. Instead, for

       almost a week after the first COVID-19 death at the Facility, Defendants withheld information

       regarding the COVID=19 positive death at the Facility and withheld supplies necessary to protect

       residents and staf£ During the time Defendants kept everyone in the dark and withheld necessary

       supplies, DONALD J-. JACK contracted COVID-19. Only after the Facility had become known as

       the epicenter in Pinellas County for COVID-19 and intervention from the Florida Department of

       Health, did Defendants transfer all ninety-five (95) residents, including DONALD J. JACK, to

       local hospitals to get the necessary care and to allow Defendants and the Florida Department of

       Health to completely reset the Facility's.infection-control practices, decontaminate the-site, and

       provide additional training for staff. Unfortunately, by this time DONALD J. JACK had tested

       positive for COVID-19 and only five days thereafter DONALD J. JACK was dead as ai-esult.

                        JURISDICTION, PARTIES AND VENUE ALLEGATIONS

               l.      This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00).

                                                          2
                    2.      On or about April 2, 2020, DONALD J. JACK was admitted to SEMINOLE

            PAVILION REHABILITATION AND NURSING SERVICES, located at 10800 Temple Terrace,

            Seminole, Florida 33772 in Pinellas County, where he remained until approximately April 17,

            2020.



                    3.      Plaintiff, JESSICA GUNTER, is the Personal Representative of THE ESTATE OF

            DONALD J. JACK. Letters of Administration, dated May 15, 2020, evidencing JESSICA

            GUNTER's authority to- bring this action on behalf of THE ESTATE OF DONALD J. JACK are

        - attached hereto as Exhibit "A."

                    4.      SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is a

            fictitious name owned by Defendant CCRC OPCO - FREEDOM SQUARE, LLC.

                    5.      CCRC OPCO - FREEDOM SQUARE, LLC is the licensee that operated the

        -Facility during DONALD J. JACK's residency.

                    6.      CCRC OPCO - FREEDOM SQUARE, LLC, is an active Delaware limited liability
                -   -----                    -     -   -        -        -        --                                    -
            company, with its principal place of business at 1920 Main Street, Suite 1200,

            Irvine, California 92614, which is registered to do business in Florida and is doing business in

---~---..
_....._                  _. _... .. ---- ----- -                    ......
                                                                    - --- --------
                                                                           ......... ...._...
                                                                                       -- - - ..._.
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                                                                                                      ._...
                                                                                                        --- - - -- --
              ori a: .                                     --



                    7.      CCRC OPCO - FREEDOM SQUARE, LLC conducted and engaged in business

            activities within the State of Florida; engaged in substantial and not isolated activities within the

            State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

            ownersh.ip of,_leasing of, operation of, management-of, and/or consultation with nursing_home_

            facilities, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

            within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC




                                                                     3
     OPCO - FREEDOM SQUARE, LLC is subject to the jurisdiction of the courts of the State of

     Florida.

            8.             CCRC OPCO - FREEDOM SQUARE, LLC committed tortious acts against

     DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

     subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC OPCO -

     FREEDOM SQUARE, LLC is subject to the jurisdiction of the Courts of the State of Florida.

            9.             HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a HEALTHPEAK

     PROPERTIES, INC. (hereinafter referred to as "HCP") is the owner of property located at 10800

     Temple Terrace, Seminole, Florida 33772, which is the property upon which the SEMINOLE

    _.PAVILION REHABILITATION-AND-NURSING_SERVICES_is_situated.__                                                  ..

            10.            HCP is a Maryland corporation, with its principal place of business at 1920 Main

     Street, Suite 1200; Irvine, California 92614, which is registered to do business in Florida and is

     doing business in Florida.

            11.            HCP had the authority to and did exercise control over the funds available to the

     Facility for the use and benefit of the residents, including DONALD J. JACK.

          --12.                            rents or other compensation from funds it knew were necessary for

     DONALD J. JACK's support and maintenance. HCP knew that such conduct would deprive the

     Facility of adequate resources to provide for the wellbeing of the Facility's residents, including
-          --    --   --               -
     DONALD J. JACK.

          ....13_-_ _._HCP_ - -shared_ -contr.o-1___ over-- the ---- o-peration.-_.o-f ---- SEMJ-NOLE-_ PAVILION

     REHABILITATION AND NURSING SERVICES tlu-ough its authority to control the funds

     available to the Facility for the use and benefit of the residents, including DONALD J. JACK.




                                                            n
                               14.        HCP conducted and engaged in business activities within the State of Florida;

                      engaged in substantial and not isolated activities within the State ofFlorida; and purposely availed

                      itself of the privileges of the State of Florida, through its ownership of, leasing of, operation of,

                      management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

                      REHABILITATION AND NURSING SERVICES, within the State of Florida. Accordingly,

                      pursuant to section 48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the

                      State of Florida.

                 :             15.        HCP committed tortious acts against DONALD J. JACK in the State of Florida.

                     - Each tortious act is-specifically-alleged in the subsequent counts. Accordingly, pursuant to section
     --     -        -        - _
                     _48.193,_Flor_ida_Statutes, HCP_ .is subject-to tho jurisdi-ction_.-of_the_courts of the State of Florida. -

                               16.        BROOKDALE SENIOR LIVING, INC. is a Delaware corporation, with its

                      principal- place of- business - at 111- Westwood Place;-Suite 400,--Brentwood,- Tennessee- 37027,

                      which is registered to do business in Florida and is doing business in Florida.

                               17.        BROOKDALE SENIOR LIVING, INC. is the parent company and operator of

                      SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.

          -- -------- - ---
             --               = 18:- - BROC+KDALE SENIOR- LIVING, - INC: conducted and engage -in ~ usiness

                      activities within the State of Florida; engaged in substantial and not isolated activities within the

                      State of Florida; and purposely availed itself of the privileges of the State of Florida, through its
--    --             ----      ---- - -     --     -- -                        -     --             -   -             -      --     -- ---
                      ownership of, leasing of, operation of, management of, and/or consultation with nursing hornes,

           __._...__.._inctuding-SEMIN.OLE P-A.V.I.LION_REHABILITATION AND-NURSIN-G SERVICES, w.ithin the

                      State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE

                      SENIOR LIVING, INC. is subject to the jurisdiction ofthe courts ofthe State ofFlorida.




                                                                           5
                      19.     BROOKDALE SENIOR LIVING, INC. committed tortious acts against DONALD

              J. JACK in the State of Florida. Eacli tortious act is specifically alleged in the subsequent counts.

              Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.

              is subject to the jurisdiction of the courts of the State of Florida.

                      20.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is a Delaware

              corporation, with its principal place of business at 111 Westwood Place, Suite 400, Brentwood,

              Tennessee 37027, which is registered to do business in Florida and is doing business in Florida.

                      21.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. served as a

              management company for SEMINOLE PAVILION REHABILITATION AND NURSING

 —_    --- -SERVI'CES_duringDONALD.J_JACK's-residency_- ------.- --.-----. -.- ---- ---- - -- - - .-----

                      22.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. conducted and

       -      engaged in business-activities within the State of Florida;--engaged in substantial and-not isolated

              activities within the State of Florida; and purposely availed itself of the privileges of the State of

              Florida, through its ownership of, leasing of, operation of, management of, and/or consultation

              with nursing homes, including SEMINOLE PAVILION REHABILITATION AND NURSING

-             SERVICES; within the State of Florida: Accordingly, pursuant to section 48.193; Florida Statutes,

              BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the

              courts of the State of Florida.

                      23.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. committed tortious

__ -       _ _ --acts against-DONA.LD.J..JACK- in-the State of.Florida. - Each -tortious act_is specifically-alleged in

              the subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, BKD TWENTY-

              ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction ofthe courts ofthe State

              of Florida.



                                                                  ~
                  24.     AMERICAN RETIREMENT CORPORATION is a Tennessee corporation, with

           its principal place of business at l l l Westwood Place, Suite 400, Brentwood, Tennessee 37027,

           which is registered to do business in Florida and is doing business in Florida.

                  25.     AMERICAN RETIREMENT CORPORATION conducted and engaged in

           business activities within the State of Florida; engaged in substantial and not isolated activities

           within the State of Florida; and purposely availed itself of the privileges of the State of Florida,

           through its ownership of, leasirig of; operation of, nianagement of, and/or consultation with nursing

           homes, including SEMINOLE - PAVILION REHABILITATION AND NURSING SERVICES,

           within the State of Florida.-Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

        __.RETIREMENTCORPORATION-.issubj-ect.tothe.jurisdictionofthe-courts.of.the_StateofFlorida.

                  26.     AMERICAN RETIREMENT CORPORATION committed tortious acts against

    -      DONALD-J. JACK in the--State of Florida:- Each tortious-aet is-specifically-alleged--in the

           subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

           RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

                  27.     AMERICAN RETIREMENT CORPORATION is an entity that operated,

-          rrianaged; controlled and oversaw SEIVIINOLE PAVILION RE-HABILITATION AND NURSING

           SERVICES during DONALD J. JACK's residency.

                  28.     LIFE CARE SERVICES, LLC is an active Iowa limited liability company, with its

           principal place of business at 400 Locust Street, Suite 820, Des Moines, Iowa 50309, which is

         ...registered.to_do-business_in--Flarida_and-isdoing_bus.iness-in.Florada--..._______...._._______        _

                  29.     LIFE CARE SERVICES, LLC served as a management company for SEMINOLE

           PAVILION REHABILITATION AND NURSING SERVICES during DONALD J. JACK's

           residency.



                                                             7
                       30.     LIFE CARE SERVICES, LLC conducted and engaged in business activities within

               the State of Florida; engaged in substantial and not isolated activities within the State of Florida;

               and purposely availed itself of the privileges of the State of Florida, through its ownership of,

               leasing of, operation of, management of, and/or consultation with nursing homes, including

               SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the State of

               Florida. Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC

               is subject to the jtirisdiction of the courts of the State of Florida.

                       31._ LIFE CARE SERVICES, LLC committed tortious acts against DONALD J. JACK

               in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

               _ Accordingly,.pursuant to section_48193.,-FloridaStatutes,.LIFE CARE-SERVICES,.LL.0 -is_subject

               to the jurisdiction of the courts of the State of Florida.
-- -   -- -          ----       -
                       32.     CYN-T-HIA- AYALA was at all material times hereto a resident of the State of

               Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING

               SERVICES.

                       33.     CYNTHIA AYALA conducted and engaged in business activities within the State
                                                                                                                          ...
           -   of=Florida; 'erigaged in sub'sfiantial and not' isolafed aetivities withiri - the- -State o'Florida; and

               purposely availed herself of the privileges of the State of Florida, through her management of,

               operation of, control of, and/or consultation with SEMINOLE PAVILION REHABILITATION

               AND NURSING SERVICES, within the State ofFlorida. Accordingly, pursuant to section 48.193,

       _.._. ._.Florida-StatutesT CYNTHIA_AY_ALA-.is_subj.ect to-tlhe_jurisdiction of the courts_of.the State of

               Florida.

                       34.     CYNTHIA AYALA committed tortious acts against DONALD J. JACK in the

               State of Florida. Each tortious act is specifically alleged in the subsequent counts. Accordingly,



                                                                   8
     pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of

     the courts of the State of Florida.

                                           FACTUAL ALLEGATIONS

               35.    In December 2019, the government in Wuhan, China, confirmed that health

     authorities were treating clusters of cases of suspected pneumonia that appeared to be viral in

     origin.

               36:    On or about January 30, 2020, the World Health Organization declared a Public

     Health Emergency of International Concern after the outbreak of the 2019 coronavirus disease.

               37.    On February 11, 2020, the World Health Organization announced an official name

_____forthe new disease_=coronavirus disease 2019, abbreviated as COVID-19 ... .. ..........._...-_

               38.    COVID-19 is an infectious virus that attacks the respiratory system of its human

     host. The elderly, medically fragile, and those with compromised immune systems are particularly

     susceptible to fatality due to COVID-19.

               -39.   On or about February 29, 2020, the Centers for Disease Control and Prevention

     ("CDC") released a statement regarding the first confirmed death in the United States froin the

     coronavirus. In- additiorr to the first confirmed death; the CDC reported - that the public- health

     officials in the state of Washington had also reported two additional hospitalized patients—two of

     which were from a long-term care facility where one was a health care worker.— who .had tested

     presumptive-positive for the virus that causes COVID-19. In addition, the CDC reported that

     add.itional_residents and staff_of the-lo»g-term care. facility 11ad.not_Xet been- tested but_were either   _

     ill with respiratory symptoms or hospitalized witli pneumonia of unknown cause.

               40.    On or about March 1, 2020, in response to positive cases of COVID-19 in Florida,

     Governor Ron DeSantis issued Executive Order 20-51, directing the Florida Department of Health

     to declare a Public Health Emergency.

                                                        W,
       41.      On or about March 4, 2020, Defendants, via various websites, represented to the

staff, residents, and relatives that Defendants were taking action to address COVID-l9 concerns

such as:

             a) Providing consistent updates and communication to those who live and work in the

                 community.

             b) Following evidence-based precautions that align with guidelines provided by

                the CDC.

             c) Reviewing response measures to ensure the community is organized and ready if

                the virus impacts the community or the surrounding area.

       .42._.. .. _On or_about March_9, 2020, the..Governor of Florida declared a state of emergency

existed in Florida.

       43.      On March 11, 2020, the World Health Organization declared COVID-19 a global

pandemic.

       44.      On or about March l 3, 2620, the Governor of Florida ordered all Florida nursing

home facilities to lock down and implemented a visitation ban in an effort to mitigate the risk to
                                    `   -   .            .   .
  oi~~ ar --.s niost
                -     -
                     vu  -
                        nera         -
                             e popu at~on to COVID=19; w~ch is Floi-idays--elderl-
                                                                             -
                                                                                 y population-(i.e. over   - -- -   -




the age of sixty-five (65)) and particularly those who have underlying medical conditions such as

cancer; chronic -lung disease, moderate-to-severe asthma, serious heart conditions,

immunocompromised status, diabetes, severe obesity, renal failure and liver disease.

       45.. _.On or about.March_l5, 2020, Defendants, via their shared website, represented to

the staff, residents, and relatives that Defendants were continuing to take action to address COV 1D-

19 concerns such as:

             a) Continuing to follow the guidance from both the CDC and local health authorities.



                                                  10                                                                .
                b) Increasing the frequency and rigor of cleaning and sanitizing common community

                   areas.

                c) Reviewing emergency preparedness and response program.

                d) Coordinating best practices and across their large pai-tner network.

                e) Providing all residents and their farnilies with the most up-to-date guidance from

                   the CDC.

                f) Staying in communication with local health officials.

          46.      Despite _ Defendants' representations to the staff, residents, and _relatives,

  Defendants failed to adequately take action to address COVID-19 concerns and failed to comply

  with their_awn proc.edures_by,araong other..things:

                a) Failing to supply or require staff to wear Personal Pi-otective Equipment ("PPE");
- - - - - - --
                b) Allowing asymptomatic staff who had been exposed to COVID-19 to continue

                   working at the Facility;

                c) Failing to provide staff, residents, and their families with consistent updates and

                   communication regarding the risk of COVID-19 and of COVID-19 positive cases

                   at the Faci rty; an ., ..--

                d) Failing to implement an adequate emergency preparedness and response prograrn.

          47.      On or about April 2, 2020, at the age of seventy-five (75), DONALD J. JACK

  admitted himself to SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES

  (the_"Facility."_)_for.shor.t-ter.m .rehabil.itatiDn.for.genera]ized.w.eakness as he_mer.ely.neerled.to gain. _

  strength to receive chernotherapy for his recent diagnosis of Hodgkin's Lymphoma.
                     48.       Upon admission, Defendants documented that DONALD J. JACK had various

          diagnoses including, but not limited to, Hodgkin's Lymphoma, Type 11 diabetes, and abnormality

          of albumin.

                     49.       Due to his age and underlying medical conditions, Defendants knew DONALD J.

          JACK was one of the residents most vulnerable to COVID-19.

                     50.       Although Defendants were on high-alert for COVID-19 since January 2020 and of

          the residents' vuliierability, Defendants, consistent with their business practice of placing profits

          over residents, disregarded the safety of DONALD J. JACK dnd the other residents by failing to

          iinplement adequate protocols to minimize the risk and spread of COVID-19 and by failing to

          _im.plement.adequate.car_eT_services.and_infection-control at_the_Facility. . . ._....             _

                     51.       Defendants' acts and omissions included, but were not limited to:
 —       - ---
                               a:          Failing to properly use residents' funds;

                               b.          Failing to have an adequate emergency preparedness plan in place to keep

                                           residents safe from einerging infectious diseases like COVID-19;

                               C.          Failing to implement adequate protocols to minimize the risk and spread of

                                           COVID_ ;                         -                     --                 -      -

                               d.          Failing to implement an adequate system for preventing, identifying,

            -                              reporting, investigating, and controlling infections and communicable

                                           diseases for all residents and staff;

_.._..- . ........ . .. .. . _. e.--   ._--Failing..to..immediately_noti.fy_the_authorities,staff,_r_esidenLs,_and.relatives_.

                                           of the potential dangers of COVID-19 and of the COVID-19 positive cases

                                           at the Facility;

                               f.          Forcing staff to reuse PPE;



                                                                      12
                     g.         Failing to supply proper masks and gowns for weeks causing many staff

                                members to resort to providing their own homemade facial coverings not

                                medically graded to protect against the virus;

                     h.         Failing to follow and/or adhere to the standards and protocols set out by the

                                CDC and other state and local authorities related to infection control and

                                prevention;

                     i.         Failing to communicate the outbreak to the authorities and avail themselves

                                of the available PPE;

                     j.         Failing to implement safety protocols, such as disinfecting many common

                           _____.areas,.tominimize_the_spreadofthe_vir.us;

                     k.         Failing to provide adequate staff in number and training;

                     1.-        Failing-to be forthcoming and-adequately share information regarding the

                                outbreak at the Facility with employees, residents and their relatives.

                     M.         Reducing basic cleaning practices for which the residents paid for;

                     n.         Permitting widespread safety failures, such as inadequate staff and

                     -          equipment, iricreasing the risk of injury or death during an emergency such

                                as the pandemic;

                     o.         Failing to have adequate management oversight; and,
-                -         --                                                         -      --      -
                     p.         Permitting asymptomatic staff who had been exposed to COVID-19 to

                             __-continue-to.work at.the Facil.i.ty and_interact-with_r_esidents._.

           52.       As a result of Defendants' acts and omissions and total disregard for the residents,

    the Facility experienced systemic failure and became the center of the COVID-19 outbreak in

    Pinellas County.



                                                          13
               53.     To date, at least 25 deaths of residents and staff resulting from COVID-19 are

       linked to this single Facility.

               54.     The Facility's first confirrned case of a resident with COVID-19 was a male

       resident that was hospitalized on April 5, 2020, and tested positive on April 9, 2020, for COVID-

       1 9. The resident then died on April 10, 2020.

               55.     Although the Facility had its first confirmed case of COVID-1 9 on April 9, 2020 —

       approxirriately seven days after DONALD J. JACK was admitted to the Facility — and first

       confirmed death on April 10, 2020, Defendants failed to be forthcoming in sharing this information

       with employees, residents, their relatives, and the public.

_.-......_ _..__._56... _ _Rather, despite-having-dif.ficulty_managingthe rapid outbreak, Defendants waited

       approximately a week to disclose to the public the first confirmed COVID-19 case. Defendants'

      -delay in reporting delayed assistance -with -the much need PPE available through-the county:                    -

               57.     Defendants' staff were kept in the dark by Defendants and did not know about the

       gravity ofthe outbreak until the media reported the transfer of residents on or about April 15, 2020.

               58.     Likewise, family inembers and advocates have sounded alarms about the delays in

       residents and the- public being infonned about'the outbreak as fainilies are learnirig more about the       —

       outbreak from the media than from Defendants who are keeping everyone in the dark.

               59.     Despite the gravity of the outbreak, Defendants failed for weeks to provide

       adequate gowns and masks for staff.

               60.. _ - .Defendants'_. staff.f.eared .for-their_-safet~C_because protocols were not_ in place to

       minimize virus spread such as providing proper PPE and disinfecting common areas. As a result,

       staff began quitting and resident care deteriorated even fiirther as staff quit and supplies shrank.




                                                          14
                  61.    On or about April 16, 2020, the Facility received laboratory results confirming

          DONALD J. JACK was positive for COVID-19.

                  62.    By April 16, 2020, approximately 30 residents and staff inembers at the community

          had tested positive for COVID-19 and by April 17, 2020, two additional residents had died.

                  63.    Defendants were reluctant to transfer residents to hospitals, but began to transfer

         mass amounts of residents on or about April 16, 2020, when they became overwhelmed by the

         outbreak.

                  64.    On or about April 17, 2020, after intervention from the Florida Department of

         Health and after nearly 60 residents were transferred to area hospitals who had either tested

    _.... positive .(or--were_...pr.esumed-_pos-itive). .for COVID-1_9,-._Defendants_xransferred_all __remaining

         residents at the Facility, including DONALD J. JACK, to local hospitals to allow Defendants and

         the Florida Department of Health to completely reset the Facility's infection control practices,

         decontaminate the site, and provide additional training for staf£

                  65.    In a span of eight days, from the first confirmed diagnoses to the mass evacuation

         on April 17, 2020, a total of 95 residents were removed from the Facility and three had died.

-   _.     -- -
                  66.- - Ori Apr~ 21, 2020, only five days a~er beirig diagnosed;-DONALD J: JACK passed             --

         away as a result of COVID-19, which he contracted at the Facility due to Defendants' acts and

         omissions.

                  67.    Based upon the acts and omissions described above, as well as numerous reports

         _fi-om Defendants'..own.staff,-Defendants,_who..were-focused on.th.eir-owrr-self.-inter.ests and.putting

         profits over the well-being of the Facility's residents in reckless disregard for the residents' safety

         and well-being, were ill-prepared to protect the residents, including DONALD J. JACK, from

         emerging infectious diseases like COVID-19.



                                                           15
       68.        In fact, Defendants have a history of insufficient infection control practices and

have been on notice of this problem since at least February 9, 2018, when the Facility was cited

by the Department of Health for failing to have a program in place to prevent the development and

transmission of communicable diseases and infections.

       69.        The Department ofHealth cited the Facility again on March 15, 2019, for failing to

provide and implement an infection prevention and control program to help prevent the

development and transmission of communicable diseases and infections. Notably, the Department

of Health found that tlie_ staffinembers failed to use PPE when pr6vidirig care to a resident on

contact isolation precautions.

          70... _ -.Defendants.'...acts- and. omissions, -with_knawledge-of.-their-.liistory--of.-failing to -

provide and implement an adequate infection prevention and control program and in the face of

the grave danger faced by DONALD J. JACK and the other residents of contracting COVID-19,

were so reckless or wanting in care that it constituted a conscious disregard or indifference to the

life, safety or rights of by DONALD J. JACK and the other residents exposed to Defendants'

conduct.

           -"                        - CORPORATE BACKGROUND

          71. . BROOKDALE SENIOR LIVING, INC. was formed in- June 2005 -for the purpose

of combining two leading senior living companies, Brookdale Senior Living Communities, Inc.

and Alterra Healthcare Corporation. Both companies had been operating independently since the

1980's.                        ---------- -- ---   -   -     -


          72.     Approximately one year after its forrnation, BROOKDALE SENIOR LIVING,

INC. acquired another senior living community operator, AMERICAN RETIREMENT

CORPORATION, which had been independently operating since 1978. The acquisition of



                                                       [cs
           AMERICAN RETIREMENT CORPORATION made BROOKDALE SENIOR LIVING, INC.

           the largest operator of senior living facilities in the United States.

                   73.     On or about July 20, 2007, BROOKDALE SENIOR LIVING, INC., through

           AMERICAN RETIREMENT CORPORATION, purchased SEMINOLE PAVILION

           REHABILITATION AND NURSING SERVICES.

                   74.     BROOKDALE SENIOR LIVING, INC. is the parent company and long term care

           operator of hundreds of various senior living housing and service alternatives including retirement

           centers, assisted living facilities, skilled nursing facilities and __continuing care retirement

           communities also known as CCRCs throughout the country including SEMINOLE PAVILION

         . ... REHABILITATION AND NURSING .S.ERVICES...

                   75.     BROOKDALE SENIOR LIVING, INC. owns, operates, and manages its facilities

           using the same officers and directors to control and operate all of its agents and subsidiaries.

           BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

           oversight of operations fi-oin a"national platform."

                   76.     SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is

-   --
           partof a larger CCRC;- kriowii as Fi•ee orn -Sqiiate -o -Seinirio e(" i=ee oin Squai•e"); Which o ers-

           a full continuum of care. The Freedom Square campus includes independent living

           accommodations, an - assisted living facility, and two skilled nursing facilities, one being

           SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom Square

          _offers.both rental.and what-is.known.as "Life-Care".programs. .The__rental_program-operates on_a_        _

           montlhly rental fee basis, with no entry fee. The Life Care program is secured with an entry fee

           purchase to cover the cost of firture accommodations and health care services.




                                                             17
                             77.     BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow a

                     resident to "age in place" as it offered a retirement community with opportunities for independent

                     living, assisted living and nursing home care. In theory, a person could spend the rest of his or her

                     life in a CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

                     wliich could include the pi-ice of one's home, potentially committing that individual to the CCRC

                     regardless of the quality care they receive. In 2015, CCRCs were responsible for ahnost 20% of

                     BROOKDALE SENIOR LIVING, INC.'s total senior living capacity.

                             78.     In 2014, in an effort to grow_revenue, BROOKDALE SENIOR LIVING, INC.

                     entered into an agreement with a real estate investment trust ("REIT"), HCP, to create a new

__ .                 busin.ess. model.--for_ certain.preexisting -facilities.- Together, -the -companies _restructured these          _..

                     facilities with the intent to make a profit by releasing equity, increasing occupancy, increasing

---                  monthly service fees, and controlling operating expenses. SEMINOLE PAVILION

                     REHABILITATION AND NURSING SERVICES was included in this restructure.

                             79.     The new business model, in part, involved the restructuring of currently owned

                     facilities by creating new coinpanies for no legitimate purpose other than to avoid liability for

---    -- --                                                                                                                           -
               -     shoddy risk" inanagement: In effect, De endants took a legtt~mate y naine company; ro e rt into

                     pieces; saddled it witli tremendous liabilities; and sucked out all the cash. This restructuring

                     involved the ostensible separation of the real estate on which the facilities sit from the operator of

                     the facility itself. This model, known as the "Propco-Opco" structure, required the formation of

               .........two.new.entities to take.over.the-pre-existinb_one:.the real-estate.com.pany, or-the.so-called_landlord   _

                     ("Propco"), and the facility operator, or the so-called master tenant ("Opco"). At the closing, the

                     "Opco" entity engaged an affiliate of BROOKDALE SENIOR LIVING, INC. to manage the

                     owned and leased community pursuant to a management agreement.



                                                                  --     18
                    80.     On or about August 29, 2014, at or about the same time that BROOKDALE

           SENIOR LIVING, INC. and HCP partnered to increase revenues and created the Propco/Opco

           entities, BROOKDALE SENIOR LIVING, INC. filed a change ofownership application with the

           State of Florida.

                    81.     After the change in ownership, a new coinpany, Defendant CCRC OPCO -

           FREEDOM SQUARE, LLC, the "Opco" or operating entity, was also created. CCRC OPCO -

           FREEDOM SQUARE, LLC became the new licensee of SEMINOLE PAVILION

           REHABILITATION AND NURSING SERVICES and the -entity saddled with liabilities:

                   82.      BROOKDALE SENIOR LIVING, INC. and HCP jointly own CCRC OPCO

    _._... _...._V.entures, LLC, which owns one.hundre.d.percentof.CCRCOPCO-FREEDOM-SQUARE,.LLC.

                   83.      CCRC OPCO-FREEDOM SQUARE, LLC entered into a management agreement

           with another BROOKDALE SENIOR LIVING, INC. subsidiary, BKD TWENTY-ONE

           MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE

           PAVILION REHA131LITATION AND NURSING SERVICES and other nursing home facilities

           in Florida.

-                  84. BKD- TWENTY=ONE MANAGEMENT - COMPANY, INC.' assumed certain

           duties and obligations towards residents to -inanage the day-to-day operations of SEMINOLE

           PAVILION REHABILITATION AND NURSING SERVICES. The centralized corporate

           functions include financing, accounting, human resources, marketing, training, regulatory, affairs,

       ..... _.pur.chasing..food- and. suppl-iesT asset. manag.ement, _.extensive. p.o.licy. and .procedure..manuals- and

           extensive quality control programs.

                   85.      BROOKDALE SENIOR LIVING, INC.'s and .HCP's quality control measures

           include community inspections conducted by corporate staff on a regular basis. BROOKDALE



                                                                19_
            SENIOR LIVING, INC. and HCP focus on increasing occupancy and increasing revenues to

            attempt to generate a profit to support the expansion of their brands through the acquisition of

            additional facilities.

                    86.     Upon information and belief, on or about January 31, 2020, HCP acquired

            BROOKDALE SENIOR LIVING, INC.'s interest in SEMINOLE PAVILION

            REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE

            PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.

            However; documents reflecting the charige of ownership and/or management have not beeri filed

            with and/or made available by the State of Florida.

       _. _... __.._ ..._.._._ ....._._ .....CORPORATE CO_~.UCTAND-JOINT-VENTURE -..

                    87.    Based upon information and belief and the allegations stated above, at all relevant

——--- times, CCRC OPCO-FREEDOM SQUARE, LLC, BROOKDALE SENIOR LIVING, INC.,

            AMERICAN RETIREMENT CORPORATION, BKD TWENTY-ONE MANAGEMENT

            COMPANY, INC., HCP, and LIFE CARE SERVICES, LLC, engaged in a joint venture to own,

            operate, and manage nursing homes including SEMINOLE PAVILION REHABILITATION

            AND NURSING SERVICES. Each can bind the other and each has the authority to participate in

            the other's profits and the obligation to share in each other's losses.

                    88. -Money paid by and on behalf of the nursing home residents was the sole source of

            revenue for the multiple layers of companies created by Defendants to distribute and share the

          _...reyenues.___generated-_at ._SEMINOLE... PAVILION. _ REHABILITATION AND_.-NURSING.. -

            SERVICES and the other nursing homes in Florida.

                    89. Defendants managed themselves, governed and controlled the care and services

            provided to DONALD J. JACK, and, by virtue of their management and control, each of them,



                       -                      -                                                                  -
                                                       -_     20                        --
                  voluntarily and intentionally assumed responsibility for and provided supervisory and custodial

                  services to DONALD J. JACK while he was a resident ofthe Facility.

                         90. At all relevant times, Defendants held themselves out as being competent, capable, and

                  qualified to provide necessary services to their residents, including DONALD J. JACK, and to

                  protect and keep all residents, including DONALD J. JACK, safe from harm, including from the

                  spread of infectious diseases.

                         9l . At all relevant times, Defendants owned, operated, and/or managed SEMINOLE

                  PAVILION REHABILITATION AND NURSING SERVICES,, and furthermore participated in,

                  authorized, and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND

                  NURSING..SERVICES and_its respective.agents.and.employees. Defendants are therefore directly

                  liable for their own negligence, recklessness, and other tortious conduct, in the hiring and

                  management of their agents and employees.

                         92. Defendants, through their managers, directors, presidents, vice-presidents, executive

                  offcers, and other agents, directly oversaw, managed, and/or controlled all aspects ofthe operation

                  and management of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

              "   including budgeting, staffing, training, policy and -procedures rnanual(s); licensing;- accounts

                  payable, accounts receivable, general accounting, cash management, capitalization, and profit and

                  loss margins.

                         93. Defendants employed all of those persons who attended to and provided care and

_ ..... ._.       servic.es to_ DONALD J. JAC.K while lie was..a .resident at .SEMINOLE -PAVILIO.N___

                  REHABILITATION AND NURSING SERVICES, and employed those persons in management

                  and supervisory positions who directed the operations of the Facility, all of whom were acting

                  within the course and scope of their employment.



                                                            -     21
                     94. Defendants, through their administrators, directors, and managing agents, condoned

             and ratified all the conduct at the Facility.

                     95. At all relevant times, Defendants were the knowing agents and/or alter-egos of one

             another, and are tlherefore vicariously liable for the acts and/or omissions of each other, their agents

             and employees, as is mo►-e fiilly alleged herein. Moreover, at all relevant times, Defendants were

             acting within the course and scope of their employment and/or agency relationship.

                     96. Defendants' acts and omissions, as alleged herein, wei•e done in concert with each other

             and pursuant to a common design and agreement fo accomplish a particular result: iriaximize

             profits at the Facility; despite the result being that the Facility was underfunded and understaffed.

_-...... .          97. Defendants,...b-y_-their. acts_and- omissions. as_alleged.her.ein,- operated- pursuant to an .

             agreement, with a common purpose and community of interest, with an equal right of control, and

             subject to participation in profits and losses such that they operated a joint enterprise or joint

             venture, subjecting each of them to liability for the acts and omissions of each other.

                    98. Defendants were responsible for the organization and administration of the Facility,

             and had duties to, inter alia, ensure the Facility complied with applicable statutes and regulations,

             and adopt policies and procedures for the Facility.                                          -              =

                    99. Each Defendant knowingly disregarded their respective duties and obligations owed to

             DONALD J. JACK and the other residents through both acts and omissions. Those duties to

             reasonably operate, manage, own and/or control SEMINOLE PAVILION REHABILITATION

     _. .._.AND.NURSIN.G SERVICES.included:.the duty to ensure-.the facil.ity.had.sufficient-staffwho were

             trained to meet DONALD J. JACK's needs and the needs of the other residents; the duty to seek

             out and correct deficiencies or lapses in the care provided to DONALD J. JACK and other

             residents; the duty to provide a safe enviromnent for DONALD J. JACK and the other residents;


                             -                                 22 _               -
      the duty to investigate the cause of preventable incidents that occurred at SEMINOLE PAVILION

      REHABILITATION AND NURSING SERVICES; the duty to sufficiently staff SEMINOLE

      PAVILION REHABILITATION AND NURSING SERVICES to ensure DONALD J. JACK's

      needs and the needs of the other residents were met; and the duty to not divert funds from the

      Facility when the funds are intended for the care and maintenance of the residents, including

      DONALD J. JACK.

              100.    Defendants did not meet their duties'and obligatioris. Although investigations and

      surveys by various agencies fourid deficiencies in the provision of care provided to the residents

      of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, each Defendant

_   _-failed_arrefused_to.correct or_address.zhese issues addressed_iri_zlreinvestigations and surveys.

              101.    Defendants required or encouraged the admission of residents with higher acuity

      levels without providing the staff necessary to care for the residents. The staff was lacking in

      supervision, number, and skill.

              102.    Further, in their efforts to maximize profits, Defendants intentionally and/or

      recklessly mismanaged staffing levels and supply levels below the levels necessary to provide

      adequate care and services to thol residents and implemented practices in disregard to the safety of   -   -

      the patients.

              103.    Defendants each have extensive experience in the nursing home industry. This

      experience provided each Defendant the knowledge and experience to know that additional staff

      and more skilled staff.were necessary to meet the.needs.of residents. Eve.n. with this knowledge,

      Defendants failed or refused to ensure that the residents received adequate and appropriate care

      while in their nursing home.




                                                       23
           104.    Defendants, pursuant to their scheme to place "profits over residents" at the

   Facility, ratified the conduct of each Defendant in that they mandated, were aware of, and/or

   accepted inadequate staffing, inadequate training, inadequate supplies and inadequate practices at

  the Facility, and were aware that such inadequate staffing, inadequate training, inadequate

  supplies, and inadequate practices could lead to injuries and darnages for the residents.

           105.    In conceiving of, implementing and carrying out their profits over residents scheme,

  Defendants willfully, knowingly, recklessly and with conscious disregard for DONALD J. JACK's

   health, safety and welfare, acted in a nianner that was riialicious, reckless and oppressive.

           106.    Further, Defendants implemented and carried out the profits over residents scheme

_.. with. knowledge. rhat..sucli-.a scheme..was _designed to _exploit_.elderly/.senior.._citizens, a class _

   expressly deemed by the Legislature of the State of Florida as a vulnerable segment of the

  population who require a heightened level of protection.

           107.   As a result of Defendants' scheme and acts and omissions, DONALD J. JACK was

  victimized by Defendants and suffered damages as alleged herein.

                        COUNT I: BREACH OF FIDUCIARY DUTY
     As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA                                        —

           108.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

  above.

           109.   This is a claim that presents a theory of recovery based tipon the presence of a

  fiduciary dLrty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA
                                                                         .   .. .. ....       _..   _

  AYALA, exclusive ofand in addition to all rights encompassed in negligence or Chapter 400, Fla.

  Stat.

           110.   This is a claim that does not arise out of negligence or a violation of DONALD J.

  JACK's nursing home resident rights.


                                                     24
         111.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

owed DONALD J. JACK a duty to act for or to advise him on rnatters within the scope of their

specialized relationship.

         112.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

and DONALD J. JACK had a developed a special relationship of trust and confidence.

         113.     That trust and confidence started when DONALD J. JACK was admitted to the

Facility because he was incapable of independently' providing for 'all of his necessary care and

services to attain and mairitain the highest_practicable physical,_inental,_and psychosocial well-

being. Specifically, DONALD J. JACK needed assistance with multiple Activities of Daily Living

~."ADLs_"_)_and_twenty-fourhour_skilled.nursing.care. .. . .._- _-- _........_........._.._._._.__.._ __ __....

         114.     As a result of his varying infirmities and advanced age, at all times material,

DONALD J. JACK was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being; and DONALD J. JACK was incapable of dealing with Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA on equal terms, and was incapable of

engaging in arny ai7n's lerigth relationships with CCRC OPCO - FREEDOM SQUARE, LLC and '

CYNTHIA AYALA.

         115.     Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

directly solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside

and remain at the Facility, and further represented through the words and acts of its employees and

agents that it would undertake to provide all of the necessary care and treatment to attain and

rnaintain the highest practicable physical, mental, and psychosocial well-being for DONALD J.

JACK.



   -                                                     25
               116.    Additionally, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

       CYNTHIA AYALA specifically undertook the non-delegable duty of protecting DONALD J.

       JACK's residents' rights vested in him by virtue of Florida law, including the right to be treated

       courteously, fairly, and with the fullest measure of dignity and the right to privacy. See NME

       Properties, Inc. v. Rzidich, 840 So. 2d 309 (Fla. 4th DCA 2003).

               117.    As a result of Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and

       CYNTHIA AYALA's solicitation of DONALD J. JACK's trust and confidence, DONALD J.

       JACK placed a' special eorffidence and trust iri "CCRC OPCO - FREEDOM SQUARE, LLC and

       CYNTHIA AYALA to provide for all of his necessary care and services to attain and maintain the

       highest_practicable physical, mental, and psychosocial well-being..And_DONALD.J..JACK relied _

       on CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to provide such care and

-      services.

               118.    DONALD J. JACK further placed special confidence and trust in Defendants

       CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and provide for

       his individual rights as established in section 400.022, Florida Statutes, and to further act as a

    -- - trustee for a11 of his personal property that lie possessed on tlie- premises of the Facility as well as

       his personal funds and income, which on information and belief, he placed in an account

       maintained by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA on his behalf

       and for his benefit.

        _. . l 19.. -Defendants CCRC .OPCO -. FR.EEDO.M. S.QUARE, .LLC _and CYNTHI.A AYALA

       undertook to act as trustees to protect and preserve DONALD J. JACK's personal property,

       including his clothing and other valuable personal property, as well as to maintain and manage his

       personal funds and income in a trust account for DONALD J. JACK's benefit. Correspondingly



                                                          26
          CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA voluntarily assumed non-

          delegable duties to provide DONALD J. JACK quarterly accounting of any and all transactions

           made utilizing funds froin his trust account, to maintain and safeguard the funds therein and to

          only utilize said funds for authorized transactions, and to avoid commingling of his funds with the

          funds of any other person or those of CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

          AYALA.

                   120.    Furthermore, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

           CYNTHIA AYALA knowingly and voluritary entered into a highly confidential relationship with

          DONALD J. JACK. CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

    .._ __.. _..voluntarily. assumed_extensive legal duties to comply_.with _all_.of the- confidentiality requirements

           enumerated in the Health Insurance Portability and Accountability Act of 1996 ("HIPAA")

"—--—-     regarding DONALD J. JACK, a confidentiality similar in scope and duration to that attendant to

           attorney-client and doctor-patient relationships.

                   121.    Moreover, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

           AYALA assumed duties to protect and presei-ve DONALD J. JACK's Federal and State privacy

      -    r'ights; including-tliose privacy rights-enshrined iri Article I, Section 23 of the Florida Constitution.-

                   122.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

           accepted the special confidence and trust placed upon them by DONALD J. JACK by admitting

           him into the Facility and by, among other things: explicitly assuming, through words and actions,

          the.various- duties described.in the pr-eceding paragraphs regarding-_protecting his confidentiality,

           protecting his privacy, protecting his individual liberties, and managing and safeguarding his

           personal finances; assuming responsibility and control over every aspect of DONALD J. JACK's




                                                               27
          day-to-day life; and voluntarily undertaking responsibility forthe specific level ofcare, protection,

          supplies and services that would be provided to DONALD J. JACK.

                    123.      Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

          individually and collectively controlled, oversaw and orchestrated every single aspect of

          DONALD J. JACK's existence, from the mundane (such as the clothing worn) to the vital (such

          as determining when and how healthcare would be provided, as well as how inuch food and water

          DONALD J. JACK could consume).

                    124.      DONALD J. JACK was solely and particularly dependent upon the employees,

          officers, directors, and agents of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

   _ .___..CYNTHIA.AYALA to_provide._forhis.daily care,_pro.tection,ser.vicesr supplies_and.personal and

          intimate needs.
   -.     -- -                            - - ---- -              - -- - - - -
------              125. Defendants CCRC OPCO - FREEDOM SQUARE; "LLC and CYNTHIA AYALA

          developed a special relationship with DONALD J. JACK by virtue of: the nature of the care and

          services provided; the trustee-beneficiary relationship they maintained toward hiin regarding his

          personal property and finances; the Federal and State confidentiality and privacy laws CCRC

          OPCO - FREEDOIVI SQUARE, LLC undertook to corimply with DONALD-J. JACK; thc superior

          knowledge, skill and - abilities of Defendarnts CCRC OPCO - FREEDOM SQUARE, LLC and

          CYNTHIA AYALA; the enormous disparity of power and unequal bargaining Defendants CCRC

          OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA enjoyed DONALD J. JACK; and

     _. ..-his.inability ta.care.for.and.pr.ov.itle..for hi.mself_...... . __. ._ ....... ...... .

                    126. This special confidential relationship allowed Defendants CCRC OPCO -

         FREEDOM SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidence toward

         DONALD J. JACK, which required fidelity, loyalty, good faith, and fair dealing by CCRC OPCO



                                                                        ►:
                 - FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO - FREEDOM

                 SQUARE, LLC and CYNTHIA AYALA had a duty to refrain fi-om engaging in self-dealing.

                              127.       At all times material to this action, Defendants CCRC OPCO - FREEDOM

                 SQUARE, LLC and CYNTHIA AYALA were each a fiduciary of DONALD J. JACK based on

                 the special relationship between the parties.

                             128.        At all times material to this action, Defendants CCRC OPCO - FREEDOM

                 SQUARE, LLC and CYNTHIA AYALA owed fiduciary duties to DONALD J. JACK. See

                  Greenfield v. 1llanor Care, Inc., 705 So. 2d 926 (Fla. 4th DCA 1997).

                             129.        Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

           . .. . .acted .and failed.to-act _in mater.ial-breach _of.their f duciar-y_ duties.Dwetl_to_DQNALD J. _JACK..                   _

                 Instead Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in

_- -=            ways to promote their own interests and-in contravention-of the interests of DONALD J. JACK.

                             130.        Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

                 breached and violated its relationship oftrust, special confidence, and its fiduciary obligations and

                 duties owed to DONALD J. JACK by:

    -                                    a)- Failing to take adequate action to address`COVID=19 concerns at the Facility

                                            as Defendants represented they would through their various websites as alleged

                                            in paragraphs 41 and 45;

                                         b) Failing to take adequate action to minimize the risk and spread of COVID-19

    _ ....... ............. ... ....._     ..and-i.mp.lem.ent.adequate care, sei'vices, and.infection control at the Facility as-_   _..   _.

                                            alleged in paragraphs 46, 50 and 51; and

                                         c) Knowingly and recklessly engaging in the profits over residents scheme

                                            described herein in an effort to increase the profitability of the Facility, for the



                                                                          29
                               benefit of Defendants and their joint venture, and at the expense of and to the

                               direct detriment of DONALD J. JACK.

                    131.    In violating their fiduciary obligations and duties to DONALD J. JACK,

            Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA knew that

            DONALD J. JACK would suffer harm, including but not limited to the daily injuries resulting

            from the daily invasion of rights vested in DONALD J. JACK, as well as economic harm.

                    132.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA

            AYALA's breaches of the duties owed to DONALD J. JACK were the legal cause of the loss,

            injury and damages suffered by DONALD J. JACK. As the direct and proximate result of

            Defendants_CCRC-OP_CO.-FREEDOM_SQIJARE,ILC's_andCYNTHIAAYAL..A's.breachesof--

            the duties owed to DONALD J. JACK, DONALD J. JACK contracted COVID-19 and
            ---- - - - -- — --
-   -       subsequently died-from this infection.--                  -   - ----- -

                    WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO -

            FREEDOM SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

            disgorgement of profits, consequential damages, and further demands a trial by jury together with

        -- such other and further relief as t   1S   COuI-t deerns appropriate."                                       --

                   COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
             As-to Defendants IICP; -BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE                                --
            MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                                        LIFE CARE SERVICES, LLC

                    133.    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 132.

                    134.   This is a claim that presents a theory of recovery based upon the presence and

            breach of a fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

            CYNTHIA AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

            encompassed in negligence or Chapter 400, Fla. Stat.


                                                                 30
                   135.      As set foi-th in Count I above, CCRC OPCO - FREEDOM SQUARE, LLC and

            CYNTHIA AYALA owed and breached fiduciary duties owed to DONALD J. JACK.

                   136.      Defendants are related entities within a single enterprise or joint venture.

                   137.      Defendants had actual knowledge of DONALD J. JACK's fiduciary relationship

            with CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA by virtue of its close

            corporate relationship to CCRC OPCO - FREEDOM SQUARE, LLC.

                   138.      By reason of their shared and/or common ownership, directors, officers and

            managers and/or contractual relationships, Defendants knew of the fiduciary duties CCRC OPCO

            - FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of

        . -.. CCRC. OP_CO- - FREED.OM -SQUARE,.LLC'-s-and_CYNTH.IA .AYALA.'s -breach_of_those duties

            as described in Count I.

    ----- _ _ __       ----_     -- -           -- -- - - - - — - - - -- -
-   -              139. - Defendants knew that the residents at the Facility; including DONALD J. JACK,

            were incapable of independently providing their own necessary care and were solely and

            specifically dependent upon the employees, officers, directors, and agents to provide for their basic

            daily care, protection, services, supplies, and personal and intimate needs.

        -      --140. - Defendants kriowingly participated aiid provided - substantial assistance and                -

            encouragement to CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in

            connection with their breach of fiduciary duties to DONALD J. JACK, as set forth in detail within

            Count I above.

                   141. .- In addition-_to this- knowledge, D.efendants aided_ and abetted-_Defendants CCRC __ _ -   -.

            OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties

            and rendered substantial assistance and encouragement for the same, by, among other things:

                                a) Engaging in the conduct set forth in detail within Count I above;



                                                              .~~
                         b) Exercisin(y dominance and control over CCRC OPCO - FREEDOM

                             SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

                             all ofthe Facility's revenues into an account controlled by the joint venture

                             or enterprise, and/or their designee;

                         c) Knowingly and intentionally taking, creating and accepting inter-company

                             fees and transfers, comprised of revenues obtained from the residents and

                             designed to improperly and unjustly enrich Defendants instead of allowing

                            - the   Facility to utilize said resources effectively and efftciently to attain or

                             maintain the highest practicable physical, mental, and psychosocial well-

                             being.of each resident, including DONALD J. JACK, as required;

                         d) Structuring and approving contracts between Defendants and CCRC OPCO
---- - ----- - - -- - - - ---- - - -- — --
       -   -                 = FREEDOM-SQUARE, LLC-;-which--Defendants- knew-or shorrld have

                             known would result in the diversion of Facility revenues necessary to

                             provide the care and services to its residents, DONALD J. JACK;

                         e) Overseeing and approving CCRC OPCO - FREEDOM SQUARE, LLC's

  -    -   -"                                                  onies fi-orri i-esidents, including
                             and CYNTHIA AYALA's acceptance of m

                             DONALD J. JACK, knowing the Facility cotild not provide full value of

                             the care and services to meet the care and safety needs of the residents;

                         f) Directly or indirectly misrepresenting the nature ofthe relationship between

                ... ............. ..Defendants ._and-. CCR.0 --- OPCO_..- -_FREED.O.M.. SQUARE, .LL.0 and .

                             CYNTHIA AYALA, in which Defendants by virtue ofthe cominon owners,

                             officers and managers, controlled the business operations and working




                                                          32
                                                    capital of the Facility and inappropriately commingled its revenues by

                                                    rnaking intra-cornpany transfers to related facilities;

                                              g) Structuring the managing and operating business rnodel for the Facility in a

                                                    way that constrained its ability to provide the level of care and services to

                                                    residents, including DONALD J. JACK, while simultaneously benefitting

                                                 Defendants and other upstream corporate entities; and,
                  --     -                        -
                                              h) Influencing, advocating, and approving CCRC OPCO - FREEDOM

                                                    SQUARE, LLC's and CYNTHIA AYALA's improper payments to

                                                    Defendants, which Defendants knew exceeded amounts a prudent aiid cost

                                         .-         conscious buyer would pay, and which-Defendants also knew would cause

                                                    the monies intended for the provision of care and services to the residents,
                                                              -- -- - - -- - -         -   -
- - --            - --       - -   - - - --            - -
-        --                                        -including DONAL- D-J-. JACK, to be depleted.          -   -

                               142. The conduct ofDefendants as alleged, constitutes aiding and abetting CCRC OPCO

                  - FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of fiduciary duties and subjects

                  Defendants to liability for the harm suffered by DONALD J. JACK.

        --    -               143. 1n aiding-and abetting-CCRC OPCO - FREEDONI SQUARE; LLC and CYNTHIA

                  AYALA in violating fiduciary obligations and duties to DONALD J. JACK as referenced herein,

                  Defendants knew that DONALD J. JACK would suffer harm and injuries, including the daily

                  injuries flowing from the repeated breaches of fiduciary duties in which Defendants aided and

-   -    -    --abetted_             —         -           ...... ... ---------- - -                                   - ---        -

                               144. As a result of Defendants' aiding and abetting in the breaches of fiduciary duties

                  by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA, Defendants were

                  improperly and unjustly em- iched, the Facility was left without the necessary resources to function



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          in the residents' best interests, and DONALD J. JACK suffered both the injuries set forth herein

          as well as economic harm.

                  145.    Furthermore, as the direct and proximate result ofDefendants' aiding and abetting

          breaches of fiduciary duties by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

          AYALA, DONALD J. JACK contracted COVID-19 and subsequently died.

                  WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

          SENIOR LIVING, INC.; BKD TWENTY-ONE - MANAGEMENT COMPANY, INC.;

          AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for damages,

          unjust enrichment, restitution; disgorgement of profits, consequential damages, and further

          demands a trial by jury together with such other and fiirther relief as this Court deems appropriate.

                         COUNT III: VIOLATIONS OF FLORIDA STATUTES ~415.1111
           As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.;--BKD TWENT'Y-ONR- --- - --—
                              — ---- -
                        --
-   --- MANAGEMENT -COMPANY; INC.; AMERICAN RETIREMENT- CORPORATION; and- -
                                  LIFE CARE SERVICES, LLC

                 146.     Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 3, 9,

          10, 12, 15, 16, 19, 20, 23, 24, 26, 28, and 31 above.


                 147. - For the purposes of this count and only this count, it is not alleged that Defendants

          are a licensee or entity that established, controlled, conducted, managed or operated the Facility.

                 148.     DONALD J. JACK was at all relevant times a vulnerable adult with a long-term-

          disability. He was seventy-five (75) years of age and was tlnable to perforin the normal activities

          of daily living or to provide for his own care or protection due to his disability.

                 149.     Defendants' acts or onllsslons constitute exploitation of a vulnerable adult in

          violation of Section 415.1 111, Florida Statutes.

                 150.     Defendants knew or should have known that DONALD J. JACK lacked the

          capacity to consent, but Defendants obtained or used, or endeavored to obtain or use DONALD J.


                                                     --       34
                 JACK's funds, assets or property, including Medicare and Medicaid benefits, with the intent to

                 temporarily or permanently deprive DONALD J. JACK of the use, benefit or possession of the

                 fimds, assets, or property for the benefit of someone other than DONALD J. JACK.

                         151.    The compensation Defendants received was derived from the private funds of

                 vulnerable adults, including DONALD J. JACK, or fi-om Medicaid and/or Medicare funds that

                 were beneficiai-ies' assets, including DONALD J. JACK, which were paid to Defendants for the

                 sole purpose of providing for the support and maintenance of the Facility's residents, including

                 'DONALD J. JACK.

                         152.    Defendants received compensation that they should have known would deprive the

            _    Facility of adequate resources to. prouide for.the n.ecessities-.of. D.ONALD J. JACK's support and

                 maintenance, which should have been used to, inter alia, implement a sufficient infection control
-   --           - -    --   -   -------    -           -
                 program at the Facility and to-secure sufficient PPE and-supplies to prevent the spread-of COVID-

                 19 at the Facility.

                         153.    Defendants failed or refused to effectively use DONALD J. JACK's income or

                 assets for the necessities required for his support and rnaintenance.
                                   -   -.       .. ..

                         154.    Defendants' failure or refusal to effectively use DONALD J. JACK's income or

                 assets as set forth herein, was the proxiinate cause of the losses he suffered including, but not
                  ....                                           ..         .    ..      .             .              ..
                 limited to the use, benefit, or possession of the fimds, assets or property for his benefit.

                         155.    As a direct and proximate result of Defendants' acts and omissions, DONALD J.

    _._ - ---- _-_ .JACK was depr-ived of.the use,-benefit or possession ofthe funds, assets or property.- _

                         WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

                 SEN10R LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

                 AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for



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                disgorgement of profits, consequential damages, attorneys' fees and costs, pre judgment interest,

                trial by jury of all matters so triable, and such other relief this Court deems appropriate.

                     COUNT IV: VIOLATION OF FLORIDA'S DECEPTIVE AND UNFAIR TRADE
                                        PRACTICES ACT, 501.201 ET SEQ.
                    As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC; HCP; BROOKDALE
                    SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;
                    AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC

                         156. Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

                above.

                         157: Plaintiff brings this Count pursuant to the Florida Deceptive and Unfair Trade

                Practices Act, section 501.201 et seq., Florida Statutes (hereinafter "FDUTPA").

         . ......    _. 158_.. - Under_ FDUTPA,_-"[u]nfair_..methods. .o.f..comp.etition,..uncons.cionable..acts or .

                practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce" are
                 - - -- — -- — - - - - - -- : — -— - - -- —
— — -- - — —unlawfui.-Fla.
             -
                           Stat: § 501:204 (1.)

                         159.   By engaging in the above described conduct and the additional conduct described

                below, Defendants engaged in unconscionable, unfair and deceptive acts and practices in violation

                ofFDUTPA in connection with their advei-tising, soliciting, providing, and offering services at the

                Facility, which acts and practices ultimately victimized DONA-LD J. JACK, a senior citizen.

                         160. - At all relevant tinies, Defendants, their officers, directors, and managers were

                engaged in trade and commerce in Florida within the meaning of FDUTPA as Defendants

                advertised, solicited, provided, and offered services to consumers and senior citizens.

                                At.all .r.elevant_.ti.m.es,.DONALD..J..JACK.was.a_`.`consum.ea-'.'. and °`senior citizen'.'--

                within the meaning FDUTPA as he was an individual over the age of sixty (60).

                         162. Defendants, their officers, directors, and managers marketed and advertised service

                at the Facility directly to senior citizen consumers, including DONALD J. JACK, by disseminating



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              brochures, web sites, videos, advertisements, and other infornnation, which were prepared in part,

              by the Facility's related corporate entities.

                      163.     Defendants, their officers, directors, and managers made unfair, deceptive and

              misleading representations in their advertising materials distributed to senior citizen consuuners,

              including DONALD J. JACK, regarding the level of services they provided to vulnerable senior

              citizens and nursing home residents.

                      164.     Defendants, their officers, directors, and managers advertised and offered their

              nursing facilities by promising to meet residents' needs, to keep them clean, comfortable and safe,

              and -to provide food, water, care, and services as needed. These statements were false, deceptive,

             ..and.misleading..-- -      -               ----        -     -

                      165.     Defendants advertising materials omitted information that was material to
---- - ---- - -- -- - - - - -- - - - -        -- -    - -- - -                                                          :.
      -     -consumers, including-DONALD J. JACK; by-failing to disclose that DONALD J. JACK would

              experience long delays in the delivery of care and services and that he would often be deprived of

              the care and services he required and bargained for.

                      166.     Defendants, their officers, directors, and managers engaged in deceptive,

              misleading, and unfair practices by representing that- certain -care arid services were or would be

              provided to DONALD J. 7ACK; as docuinented in his care plans and assessments, when in fact

              that care and services were never provided.

                      167.     Defendants, their officers, directors and managers further promised to provide a

              cl.ean., safe,. and.-sanitary..living. environment-..thr.oughaut..DONALD J. JACK.'s.residency. at their

              facilities, for which Defendants were handsomely paid.

                      168.     Defendants affirmatively concealed material facts from DONALD J. JACK

              regarding the existence and effect of the COVID-19 outbreak at the Facility, and led DONALD J.



                                                                37
              JACK to believe that the Facility was a safe enviromnent, when in fact the Facility was

              contaminated with COV1D-19.

                          169.       Defendants, their officers, directors and managers failed to appropriately manage

              the real property at the Facility and failed to maintain a clean, safe, and habitable living

              environment for their residents.

                          170.       Defendants, their officers, directors and managers, through their deceptive,

              unconscionable, and unfair acts and omissions, misled DONALD J. JACK into believing that their

              facilities were properly managed, maintairied, and equipped to irieet his basic rieeds, when it was               :

              not.

                                     Def.endants, -their .officers, directors and managers failed to provide DONALD J.

              JACK with a living environment and premises that reciprocated the rents and other charges they

---           were paid for his residency.

                          172.       Defendants, their officers, directors and managers caused the Facility to enter into

              a lease agreement so onerous that it left Defendants without the ability to provide an adequate,

              safe, decent, and clean living environment, despite promising DONALD J. JACK that he would

                                                                                                                _..
            - receive the saine in exchange for the monies'he paid.                     -

                          173.       Defendants' failure to provide basic care and services to DONALD J. JACK not

              only violated the FDUTPA, but also degraded DONALD J. JACK, increased his risk of serious

              negative health consequences, and caused him to suffer medical expenses, serious injury, and

      ---------..death ------- ------- ... . ... __.                                                                        -

                         174.        In addition to these deceptive, unconscionable, and unfair acts and omissions,

              Defendants misled consumers, including DONALD J. JACK, by failing to disclose that the

              Facility's related corporate entities exercised control over the Facility, by among other things: (a)



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              restricting the ability ofthe Facility's managers and administrators to increase staffing levels; (b)

              supervising, and in some case, overriding the personnel decisions ofthe Facility; (c) creating and

              implementing company-wide policies and incentive programs; and (d) entering into agreements,

              including onerous lease and management agreements.

                         175.   Defendants, their officers, directors and managers failed to provide DONALD J.

              JACK with the basic care and services he required and bargained for with respect to his use of the

              Facility's premises.

                         176.   Defendants' deceptive, unconscionable, and unfair statements and practices were

              in violation of FDUTPA.
                                                                                                                          --
           __ ... ..._   177...-_.D.efendants.'..deceptive,.unconscionable,.and.unfaJr.-representations,.omissions, and

              practices were of the type that would likely mislead Florida consumers acting reasonably in the

—---          circumstances, to the consumers' detriment, and were particularly misleading and detrimental to

              the senior citizens and infirm residents at their Facility, including DONALD J. JACK.

                         178.   DONALD J. JACK could not have detected the existence and effect of the COVID-

              19 at the Facility or the existence of the onerous agreements, the corporate entities control over

       -      the Facility that-led to tlie lack of care; services, and sanitary living environment at the Facility.

                         179.   DONALD J. JACK admitted hirnself to the Facility and had therefore been

              aggrieved by Defendants unconscionable, unfair and deceptive practices in violation of FDUTPA.

                         180.   DONALD J. JACK sustained damages as a direct and proximate result of

              Defendants' violations-ofFDUTPA.

                         181.   DONALD J. JACK did not receive the benefit of the bargain, overpaid for the

             services, and suffered actual damages.




                                                                                           -
                                                                  39
                182.    The damages suffered by DONALD J. JACK were directly and proximately caused

        by the unconscionable, deceptive, misleading, and unfair practices of Defendants.

                183.    Defendants' violations were willful as Defendants knew or should have known that

        their conduct was unfair or deceptive or prohibited by FDUTPA.

                184.    Defendants' violations are made even more reprehensible because of Defendants'

        attempt to exploit senior citizens during a global pandemic for profit, while posing a serious and

        direct threat to the health and safety of senior citizens such as DONALD J. JACK.

                WHEREFORE, Plaintiff demands judgment against Defendants for damages pursuant to

        section 501.211(2), Florida Statutes, in an amount to be proven at trial, pre judgment interest, post-

        _j udgment interests attor.ney:s-fees and court costs as-provided in-section-5-01..21.05,-Florida Statutes,

        and further demands a trial by jury, together with such other and further relief as this Court deems

        appropriate.
                       — ------         - -- --   _.---
                                                     . .—                                             -
                                                                                                                           — - -- -



                                                       /s/Bennie Lazzara, Jr.
                                                       Bennie Lazzara, Jr., Esquire
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                                                       WILKES & MCHUGH, PA
                                                       1 N. Dale Mabry Highway, Suite 700
                                                       Tampa, FL 33609
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                                                       Facsimile: (813) 286-8820
                                                       Attorneys for the Plaintiff



                                                            40
Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM
.     FILED 05/15/2020 14:42:42 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

    'Filing # 107269380 E-Filed 05/08/2020 09:44:17 PM

                                                             IN THE CIRCUIT COURT FOR PINELLAS COUNTY, FLORIDA
                                                                                              PROBATE DIVISION

                IN RE: ESTATE OF                                                     Case No. 20-004321-ES
                DONALD JOHN JACK
                                       Deceased.




                                                          LETTERS 014: ADMZNISTRATION

                TO ALL WHOM IT MAY CONCERN

                              WHEREAS, Donald,John Jack, a resident of 12542.82rid Terrace N.; Seminole, FL 33776, died

                on Apri121, 2020, owning assets in the State ,of Florida, and

                              WHEREAS; J:essica Gunter has been appointed personal representative of the. estate; of -the

                decedent and has performed all acts prerequisite to i'ssuance of Letters of Administration in the estate;

                              NOWx THER. EFORE, T, the undersigned circuit judge, declare -J.essica Gunter duly qualified

                undec the laws of, the S`tate of Flofida- to act as personal represeritative of the estate of Dohald.lohn Jacic~
                    _                                 .
                deceased,-with fullmpower_to_administer the e.state-accordinb to-Iaw,;-to-ask,-demand,-sue-for recover-and — — - -

                rece'rve.the propertyof the deced"ent; to'pay the.debts of the.decedent as far as the.a"ssets of the estate will,

                permit and the law directs; arid to make distribution of the estate according to law.

                              ORDERED in chanibers,.P[nellas County, Florida.
                                                                                 0 15/2020 11:03:20 AM
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                                                                                        Pamela A. M. Campbell
                                                                                            Circuit Judge               -




    *"ELECTRONICALLY            FIL-ED 05/08/2020 09: 34:1Ci PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY'°""
                                                           Case Number:20-002755-C I

Fi ling # I 08550742 E-Filed 06/08/2020 05:07: 14 PM


                                IN TH E CIRCUIT COURT O F T HE SIXT H JU DICIAL C IRCU IT
                                   fN AND FOR PINELLAS COUNTY, ST ATE OF FLOR IDA
                                                   C IV IL DIV ISION

         T HE ESTATE OF DONALD J. JACK, by and thro ugh
         JESS ICA GUNTER, Personal Representative,

                          Plainti ff,

         V.

         CCRC O PCO- FREEDOM SQUARE, LLC; HCP,
         INC. a/k/a HCP fNC. OF tv1ARYLAND n/k/a                                         CASE NO:        20-002755-CI
         HEALT HPEAK PP.O PERTIES, INC.; BROOKDALE
         SEN IO R LlVfNG, ~C.; B KD TWENTY-ONE
         MANAGEMENT I 'OMPANY, INC.; AMERICAN
         RETIREMENT CC RPORATTON; Llf.E CARE
         SERV ICES, LLC; nd, CYNTHIA AYALA (as to
         SEMfNOLE PAV I JON REHAB ILITATION AND
         NURSING SERY h.:ES),
                                                                                            CERTIFIED PROCESS SERVER tO&:J
                          De fet dants.                                                   SECOND JUDICIAL CIRCUIT            cour:r~J
                                                                                           DATE SERVErt>- f, .1p TIME.:iJB.,A-
                                                                    SUMMONS

        THE STATE OF FLORIDA

        TO ALL AND SfNGULAR SHERlFFS OF SAID STATE:

        GREETfNGS:

                YOU ARE HEREBY COMMANDED to serve this summons and a copy of the Complain t and Designation or Email
        Addresses in the above styled cause upon the defendant(s):

                                                         LIFE CARE SERVICES, LLC
                                                        clo COGENCY GLOBAL fNC.
                                                  11 5 NORTH CALHO UN STREET SUITE 4
                                                          TALLAHASSEE, FL 32301

        Each defendam is here'.y required to serve wriuen defenses to said Complaint on plainliiTs attomey, whose name and address is:

                                                       BENNIE LAZZARA J R., ESQUIRE
                                                           WILKES & McHUGH, P.A.
                                                        TAMPA COMMONS, SU ITE 800
                                                   O NE NORTH DALE MABRY IUGHWA Y
                                                                T A:\ 1 PA, FL 33609
                                                                    (813) 873-0026
        within twellly (20) days aller service of this summons upon that defendant, exclusive of tJ1e day of service, and to file tJ1e original
        o r said written defenses with tJ1e clerk of said comt either before service on plainliiTs auomey or immediately therealler. Ir a
        defendant fails to do so, a default will be entered against that defendan t for the relief demanded in the complaint or petition.
                                                                                     JUN 09 2020
                 WITNESS my hand aud tJ1e seal of said Court on tJ1e __ day of                                 , 2020.
 KEN BURKE CLERK CIRCUIT COURT                                                                                                 ...,,, ,,,,,
                                                                            KEN BURKE, CPA
 315 Court Street                                                           Clerk of tJJC Circuit Cowt
                                                                                                                       -o«.:.......~~\\. . ,,
                                                                                                                      ..=-   -- 'f\E CIR

 Clearwater, Pinellas County, FL 33756-5165                                                                        ~~-~
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Filing# 108550742 E-Filed 06/08/2020 05:07:14 PM


                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                           CIVIL DIVISION


         THE ESTATE OF DONALD J. JACK, by and
         through     JESSICA GUNTER,  Personal
         Representative,

                        Plaintiff,

         v.

         CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
         INC. a/k/a HCP INC. OF MARYLAND n/k/a                  cAsE No.:   .lJ- W755- cr
         HEALTHPEAK        PROPERTIES,    INC.;
         BROOKDALE SENIOR LIVING, INC.; BKD
         TWENTY-ONE MANAGEMENT COMPANY,
         INC.;       AMERICAN      RETIREMENT
         CORPORATION; LIFE CARE SERVICES, LLC;
         and, CYNTHIA AYALA (as to SEMINOLE
         PAVILION REHABILITATION AND NURSING
         SERVICES),

                        Defendants.
                                                         I

                      PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                THE ESTATE OF DONALD J. JACK, by and through JESSICA GUNTER, Personal

        Representative, and by and through undersigned counsel, hereby sues Defendants, CCRC OPCO

        - FREEDOM SQUARE, LLC; HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a

        HEAL THPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-

        ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION;

        LIFE CARE SERVICES, LLC; and, CYNTHIA AYALA (herein after, the           "'Defendants~}   All of

        the allegations contained in this Complaint are based on either known facts or information and

        belief. Plaintiff alleges as follows:
                                       INTRODUCTION

       This case concerns the injuries, damages, and untimely death of DONALD J. JACK as a

result of Defendants' actions and omissions during his residency at Defendants' skilled nursing

facility known as Seminole Pavilion Rehabilitation and Nursing Services (the ~~Facility"). What

was supposed to be merely a short-term rehabilitation admission turned out to be a death sentence

for DONALD J. JACK due to Defendants' business practice of placing profits over residents. For

years, even before DONALD J. JACK's residency, Defendants chose to place profits over

residents and ignore deficiencies in their emergency preparedness plan and in their infection

prevention and control program. When Defendants' deficiencies became more pronounced in light

of the COVID-19 pandemic, Defendants continued to choose to place profits over residents by

refusing to be forthcoming with the authorities, staff, residents, and residents' relatives of the

potential dangers of COVID-19 and of the COVID-19 positive cases at the Facility. Instead, for

almost a week after the first COVID-19 death at the Facility, Defendants withheld information

regarding the COVID-19 positive death at the Facility and withheld supplies necessary to protect

residents and staff. During the time Defendants kept everyone in the dark and withheld necessary

supplies, DONALD J. JACK contracted COVID-19. Only after the Facility had become known as

the epicenter in Pinellas County for COVID-19 and intervention from the Florida Department of

Health, did Defendants transfer all ninety-five (95) residents, including DONALD J. JACK, to

local hospitals to get the necessary care and to allow Defendants and the Florida Department of

Health to completely reset the Facility's infection control practices, decontaminate the site, and

provide additional training for staff. Unfortunately, by this time DONALD J. JACK had tested

positive for COVID-19 and only five days thereafter DONALD J. JACK was dead as a result.

                JURISDICTION, PARTIES AND VENUE ALLEGATIONS

       1.     This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00).

                                                2
        2.          On or about April 2, 2020, DONALD J. JACK was admitted to SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES, located at I 0800 Temple Terrace,

Seminole, Florida 33772 in Pinellas County, where he remained until approximately April 17,

2020.

        3.          Plaintiff, JESSICA GUNTER, is the Personal Representative ofTHE ESTATE OF

DONALD J. JACK.            Letters of Administration, dated May 15, 2020, evidencing JESSICA

GUNTER's authority to bring this action on behalfofTHE ESTATE OF DONALD J. JACK are

attached hereto as Exhibit "A."

        4.          SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is a

fictitious name owned by Defendant CCRC OPCO- FREEDOM SQUARE, LLC.

        5.          CCRC OPCO - FREEDOM SQUARE, LLC is the licensee that operated the

Facility during DONALD J. JACK's residency.

        6.          CCRC OPCO- FREEDOM SQUARE, LLC, is an active Delaware limited liability

company,        with -its princi"pal- place of business at     1920   Main    Street,   Suite   1200,

Irvine, California 92614, which is registered to do business in Florida and is doing business in

Florida~     -, , , ·

        7.          CCRC OPCO --FREEDOM SQUARE, LLC conducted -imd engaged in business

activities within the State of Florida; engaged in substantial and not isolated activities within the

State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

ownership of, leasing of, operation of, management of, and/or consultation with nursing home

facilities, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC




                                                 3
OPCO - FREEDOM SQUARE, LLC is subject to the jurisdiction of the courts of the State of

Florida.

       8.      CCRC OPCO - FREEDOM SQUARE, LLC committed tortious acts against

DONALD J. JACK in the State of Florida.          Each tortious act is specifically alleged in the

subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC OPCO -

FREEDOM SQUARE, LLC is subject to the jurisdiction ofthe Courts of the State of Florida.

       9.      HCP,    INC.    a/k/a   HCP   INC.      OF   MARYLAND n/k/a       HEALTHPEAK

PROPERTIES, INC. (hereinafter referred to as "HCP") is the owner of property located at I 0800

Temple Terrace, Seminole, Florida 33772, which is the property upon which the SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES is situated.

       10.     HCP is a Maryland corporation, with its principal place of business at 1920 Main

Street, Suite 1200, Irvine, California 92614, which is registered to do business in Florida and is

doing business in Florida.

       11.     HCP had the authority to and did exercise control over the funds available to the

Facility for the use and benefit of the residents, including DONALD J. JACK.

       12.     HCP required rents or other compensation from funds it knew were necessary for

DONALD J .. JACK's support and maintenance. HCP knew that such conduct would deprive the

Facility of adequate resources to provide for the wellbeing of the Facility's residents, including

DONALD J. JACK.

       13.     HCP    shared    control   over   the    operation   of SEMINOLE       PAVILION

REHABILITATION AND NURSING SERVICES through its authority to control the funds

available to the Facility for the use and benefit of the residents, including DONALD J. JACK.




                                                 4
        14.     HCP conducted and engaged in business activities within the State of Florida;

engaged in substantial and not isolated activities within the State of Florida; and purposely availed

itself of the privileges of the State of Florida, through its ownership of, leasing of, operation of,

management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES, within the State of Florida. Accordingly,

pursuant to section 48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the

State of Florida .

      . 15.     HCP committed tortious acts against DONALD J. JACK in the State of Florida.

Each tortious act is specifically alleged in the subsequent counts. Accordingly, pursuant to section

48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the State of Florida.

        16.     BROOKDALE SENIOR LIVING, INC. is a Delaware corporation, with its

principal place of business at 111 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is doing business in Florida.

        17.     BROOKDALE SENIOR LIVING, INC. is the parent company and operator of

SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.

        I&·: · · BROOKDALE SENIOR LIVING, ·INC. conducted and engaged m 'business

activities within the State of Florida; engaged in substantial and not isolated activities within the

State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

ownership of, leasing of, operation of, management of, and/or consultation with nursing homes,

including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the

State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE

SENIOR LIVING, INC. is subject to the jurisdiction of the courts of the State of Florida.




                                                  5
        19.     BROOKDALE SENIOR LIVING, INC. committed tortious acts against DONALD

J. JACK in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.

is subject to the jurisdiction ofthe courts ofthe State of Florida.

        20.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is a Delaware

corporation, with its principal place of business at Ill Westwood Place, Suite 400, Brentwood,

Tennessee 37027, which is registered to do business in Florida and is doing business in Florida.

        21.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. served as a

management company for SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES during DONALD J. JACK's residency.

        22.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. conducted and

engaged in business activities within the State of Florida; engaged in substantial and not isolated

activities within the State of Florida; and purposely availed itself of the privileges of the State of

Florida, through its ownership of, leasing of, operation of, management of, and/or consultation

with nursing homes, including SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES~ ·within    the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes,

BKD TWENTY-ONE MANAGEMENT COMPANY, INC. -is subject to the jurisdiction of the

courts of the State of Florida.

        23.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. committed tortious

acts against DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in

the subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, BKD TWENTY-

ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the courts of the State

of Florida.



                                                  6
       24.     AMERICAN RETIREMENT CORPORATION is a Tennessee corporation, with

its principal place of business at Ill Westwood Place, Suite 400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is doing business in Florida.

       25.     AMERICAN RETIREMENT CORPORATION conducted and engaged in

business activities within the State of Florida; engaged in substantial and not isolated activities

within the State of Florida; and purposely availed itself of the privileges of the State of Florida,

through its ownership of, leasing of, operation of, management of, and/or consultation with nursing

homes, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

       26.     AMERICAN RETIREMENT CORPORATION committed tortious acts against

DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

       27.     AMERICAN RETIREMENT CORPORATION is an entity that operated,

managed; controlled and' oversaw SEMINOLE PAVILION REHABlLITATION AND NURSING

SERVICES during DONALD J. JACK's residency.

       28.     LIFE CARE SERVICES, LLC is an active Iowa limited liability company, with its

principal place of business at 400 Locust Street, Suite 820, Des Moines, Iowa 50309, which is

registered to do business in Florida and is doing business in Florida.

       29.     LIFE CARE SERVICES, LLC served as a management company for SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES during DONALD J. JACK's

residency.



                                                 7
        30.     LIFE CARE SERVICES, LLC conducted and engaged in business activities within

the State of Florida; engaged in substantial and not isolated activities within the State of Florida;

and purposely availed itself of the privileges of the State of Florida, through its ownership of,

leasing of, operation of, management of, and/or consultation with nursing homes, including

SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the State of

Florida. Accordingly, pursuant to section 48. I 93, Florida Statutes, LIFE CARE SERVICES, LLC

is subject to the jurisdiction of the courts of the State of Florida.

        31.     LIFE CARE SERVICES, LLC committed tortious acts against DONALD J. JACK

in the State of Florida.     Each tortious act is specifically alleged in the subsequent counts.

Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC is subject

to the jurisdiction of the courts of the State of Florida.

        32.     CYNTHIA AYALA was at all material times hereto a resident of the State of

Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES.

        33.     CYNTHIA AYALA conducted and engaged in business activities within the State

of" Florida;· engaged in substantial ·and   nor isolated· activities    Within the State·· of Florida; and

purposely availed herself of the privileges of the State of Florida, through her management of,

operation of, control of, and/or consultation with SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES, within the State ofFlorida. Accordingly, pursuant to section 48. I 93,

Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of the courts of the State of

Florida.

        34.     CYNTHIA AYALA committed tortious acts against DONALD J. JACK in the

State of Florida. Each tortious act is specifically alleged in the subsequent counts. Accordingly,



                                                   8
   pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of

   the courts of the State of Florida.

                                         FACTUAL ALLEGATIONS

           35.     In December 2019, the government in Wuhan, China, confirmed that health

   authorities were treating clusters of cases of suspected pneumonia that appeared to be viral in

   ongm.

           36.    On or about January 30, 2020, the World Health Organization declared a Public

   Health Emergency of International Concern after the outbreak of the 2019 coronavirus disease.

           37.    On February 11, 2020, the World Health Organization announced an official name

   for the new disease- coronavirus disease 2019, abbreviated as COVID-19.

           38.    COVID-19 is an infectious virus that attacks the respiratory system of its human

   host. The elderly, medically fragile, and those with compromised immune systems are particularly

   susceptible to fatality due to COVID-19.

           39.    On or about February 29, 2020, the Centers for Disease Control and Prevention

   ("CDC") released a statement regarding the first confirmed death in the United States from the

· ·· coronavirus. In addition to the first confirmed death, the CDC reported that the public· health

   officials in the state of Washington had also reported two additional hospitalized patients- two of

  which were from a long-term care facility where one was a health care worker- who had tested

   presumptive-positive for the virus that causes COYID- 19. In addition, the CDC reported that

  additional residents and staff of the long-term care faci Iity had not yet been tested but were either

   ill with respiratory symptoms or hospitalized with pneumonia of unknown cause.

           40.    On or about March 1, 2020, in response to positive cases of COVID-19 in Florida,

  Governor Ron DeSantis issued Executive Order 20-51, directing the Florida Department of Health

  to declare a Public Health Emergency.

                                                    9
          41.      On or about March 4, 2020, Defendants, via various websites, represented to the

staff, residents, and relatives that Defendants were taking action to address COY 10-19 concerns

such as:

                a) Providing consistent updates and communication to those who live and work in the

                   community.

                b) Following evidence-based precautions that align with guidelines provided by

                   the CDC.

                c) Reviewing response measures to ensure the community is organized and ready if

                   the virus impacts the community or the surrounding area.

          42.      On or about March 9, 2020, the Governor of Florida declared a state of emergency

existed in Florida.

          43.      On March 11, 2020, the World Health Organization declared COVID-19 a global

pandemic.

          44.      On or about March 13, 2020, the Governor of Florida ordered all Florida nursing

home facilities to lock down and implemented a visitation ban in an effort to mitigate the risk to

Florida'·s most vt.ilherable population to·coVID- 19, which is Florida's elderly popiilati6if(i.e. over

the age of sixty-five (65)) and particularly those who have un'derlying' medicaf conditions such as

cancer,     chronic     lung   disease,   moderate-to-severe   asthma,   serious   heart   conditions,

immunocompromised status, diabetes, severe obesity, renal failure and liver disease.

          45.      On or about March 15, 2020, Defendants, via their shared website, represented to

the staff, residents, and relatives that Defendants were continuing to take action to address COVID-

19 concerns such as:

                a) Continuing to follow the guidance from both the CDC and local health authorities.



                                                   10
             b) Increasing the frequency and rigor of cleaning and sanitizing common community

                areas.

             c) Reviewing emergency preparedness and response program.

             d) Coordinating best practices and across their large partner network.

             e) Providing all residents and their families with the most up-to-date guidance from

                the CDC.

             f) Staying in communication with local health officials.

       46.      Despite Defendants' representations to the staff, residents, and relatives,

Defendants failed to adequately take action to address COVID-19 concerns and failed to comply

with their own procedures by, among other things:

             a) Failing to supply or require staff to wear Personal Protective Equipment ('"PPE");

             b) Allowing asymptomatic staff who had been exposed to COVID-19 to continue

                working at the Facility;

             c) Failing to provide staff, residents, and their families with consistent updates and

                communication regarding the risk of COVID-19 and of COVID-19 positive cases

                at the Facility; and, ·

             d) Failing to implement an adequate emergency preparedness-and response program.

       47.      On or about April 2, 2020, at the age of seventy-five (75}, DONALD J. JACK

admitted himselfto SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES

(the "Facility") for short-term rehabilitation for generalized weakness as he merely needed to gain

strength to receive chemotherapy for his recent diagnosis of Hodgkin's Lymphoma.




                                                 ] ]
       48.     Upon admission, Defendants documented that DONALD J. JACK had various

diagnoses including, but not limited to, Hodgkin's Lymphoma, Type II diabetes, and abnormality

of albumin.

       49.     Due to his age and underlying medical conditions, Defendants knew DONALD J.

JACK was one of the residents most vulnerable to COVID-19.

       50.     Although Defendants were on high-alert for COVID-19 since January 2020 and of

the residents' vulnerability, Defendants, consistent with their business practice of placing profits

over residents, disregarded the safety of DONALD J. JACK and the other residents by failing to

implement adequate protocols to minimize the risk and spread of COVID-19 and by failing to

implement adequate care, services and infection control at the Facility.

       51.     Defendants' acts and omissions included, but were not limited to:

               a.      Failing to properly use residents' funds;

               b.     Failing to have an adequate emergency preparedness plan in place to keep

                      residents safe from emerging infectious diseases like COVID-19;

               c.     Failing to implement adequate protocols to minimize the risk and spread of

                      COVID-19;

               d.     Failing to implement an adequate system for preventing, identifying,

                      reporting, investigating, and controlling infections and communicable

                      diseases for all residents and staff;

               e.     Failing to immediately notify the authorities, staff, residents, and relatives

                      ofthe potential dangers ofCOVID-19 and ofthe COVID-19 positive cases

                      at the Facility;

               f.     Forcing staff to reuse PPE;



                                                 12
              g.      Failing to supply proper masks and gowns tor weeks causing many statr

                      members to resort to providing their own homemade facial coverings not

                      medically graded to protect against the virus;

              h.      Failing to follow and/or adhere to the standards and protocols set out by the

                      CDC and other state and local authorities related to infection control and

                      prevention;

              1.      Failing to communicate the outbreak to the authorities and avail themselves

                      of the available PPE;

              J.      Failing to implement safety protocols, such as disinfecting many common

                      areas, to minimize the spread of the virus;

              k.      Failing to provide adequate staff in number and training;

              I.      Failing to be forthcoming and adequately share infonnation regarding the

                      outbreak at the Facility with employees, residents and their relatives.

              m.      Reducing basic cleaning practices for which the residents paid for;

              n.      Permitting widespread safety failures, such as inadequate staff and

                   ····equipment, increasing the risk of injury or death during an emergency such

                      as the pandemic;

              o.      Failing to have adequate management oversight; and,

              p.      Permitting asymptomatic staff who had been exposed to COVID-19 to

                      continue to work at the Facility and interact with residents.

       52.    As a result of Defendants' acts and omissions and total disregard for the residents,

the Facility experienced systemic failure and became the center of the COVID-19 outbreak in

Pinellas County.



                                                13
        53.     To date, at least 25 deaths of residents and staff resulting from COVID-19 are

linked to this single Facility.

        54.     The Facility's first confirmed case of a resident with COVID-19 was a male

resident that was hospitalized on April 5, 2020, and tested positive on April 9, 2020, for COVID-

19. The resident then died on April I 0, 2020.

        55.     Although the Facility had its first confirmed case ofCOVID-19 on April 9, 2020-

approximately seven days after DONALD J. JACK was admitted to the Facility - and first

confirmed death on April I 0, 2020, Defendants failed to be forthcoming in sharing this information

with employees, residents, their relatives, and the public.

        56.     Rather, despite having difficulty managing the rapid outbreak, Defendants waited

approximately a week to disclose to the public the first confirmed COVID-19 case. Defendants'

delay in reporting delayed assistance with the much need PPE available through the county.

        57.     Defendants' staff were kept in the dark by Defendants and did not know about the

gravity of the outbreak until the media reported the transfer of residents on or about April 15, 2020.

        58.     Likewise, family members and advocates have sounded alarms about the delays in

residents and the public being informed about' the outbreak as families are learning more about the

outbreak from the media than from Defendants who are keeping everyone in the dark.

        59.     Despite the gravity of the outbreak, Defendants failed for weeks to provide

adequate gowns and masks for staff.

        60.     Defendants' staff feared for their safety because protocols were not in place to

minimize virus spread such as providing proper PPE and disinfecting common areas. As a result,

staff began quitting and resident care deteriorated even further as staff quit and supplies shrank.




                                                 14
       61.     On or about April 16, 2020, the Facility received laboratory results confirming

DONALD J. JACK was positive for COVID-19.

       62..    By April 16,2020, approximately 30 residents and staff members at the community

had tested positive for COVID-19 and by April 17, 2020, two additional residents had died.

       63.     Defendants were reluctant to transfer residents to hospitals, but began to transfer

mass amounts of residents on or about April 16, 2020, when they became overwhelmed by the

outbreak.

       64.     On or about April 17, 2020, after intervention from the Florida Department of

Health and after nearly 60 residents were transferred to area hospitals who had either tested

positive (or were presumed positive) for COVID-19, Defendants transferred all remaining

residents at the Facility, including DONALD J. JACK, to local hospitals to allow Defendants and

the Florida Department of Health to completely reset the Facility's infection control practices,

decontaminate the site, and provide additional training for staff.

       65.     In a span of eight days, from the first confirmed diagnoses to the mass evacuation

on April 17, 2020, a total of95 residents were removed from the Facility and three had died.

      · 66.    On April21, 2020, only five days aft'er being diagnosed, DONALD J~ JACK passed

away as a result of COVID-19, which he contracted at the Facility due to Defendants' acts and

omissions.

       67.     Based upon the acts and omissions described above, as well as numerous reports

fi·om Defendants' own staff, Defendants, who were focused on their own self-interests and putting

profits over the well-being of the Facility's residents in reckless disregard for the residents' safety

and well-being, were ill-prepared to protect the residents, including DONALD J. JACK, from

emerging infectious diseases like COVID-19.



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          68.   In fact, Defendants have a history of insufficient infection control practices and

have been on notice of this problem since at least February 9, 2018, when the Facility was cited

by. the Department of Health for failing to have a program in place to prevent the development and

transmission of communicable diseases and infections.

          69.   The Department of Health cited the Facility again on March 15, 2019, for failing to

provide and implement an infection prevention and control program to help prevent the

development and transmission of communicable diseases and infections. Notably, the Department

of Health found that the staff members failed to use PPE when providing care to a resident on

contact isolation precautions.

          70.   Defendants' acts and omissions, with knowledge of their history of failing to

provide and implement an adequate infection prevention and control program and in the face of

the grave danger faced by DONALD J. JACK and the other residents of contracting COVID-19,

were so reckless or wanting in care that it constituted a conscious disregard or indifference to the

life, safety or rights of by DONALD J. JACK and the other residents exposed to Defendants'

conduct.

                                 CORPORATE BACKGROUND.                .

          71.   BROOKDALE SENIOR LIVING, INC. was formed in June2005 for the purpose

of combining two leading senior living companies, Brookdale Senior Living Communities, Inc.

and Alterra Healthcare Corporation. Both companies had been operating independently since the

1980's.

          72.   Approximately one year after its formation, BROOKDALE SENIOR LIVING,

INC. acquired another senior living community operator, AMERICAN RETIREMENT

CORPORATION, which had been independently operating since 1978. The acquisition of



                                                16
AMERICAN RETIREMENT CORPORATION made BROOKDALE SENIOR LIVING, INC.
                    -·
the largest operator of senior living facilities in the United States.

        73.     On or about July 20, 2007, BROOKDALE SENIOR LIVING, INC., through

AMERICAN         RETIREMENT          CORPORATION,           purchased    SEMINOLE      PAVILION

REHABILITATION AND NURSING SERVICES.

        74.     BROOKDALE SENIOR LIVING, INC. is the parent company and long term care

operator of hundreds of various senior living housing and service alternatives including retirement

centers, assisted living facilities, skiiied nursing facilities and continuing care retirement

communities also known as CCRCs throughout the country including SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES.

        75.     BROOKDALE SENIOR LIVING, INC. owns, operates, and manages its facilities

using the same officers and directors to control and operate all of its agents and subsidiaries.

BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

oversight of operations fi·om a "national platform."

        76.    SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is

part of a larger CCRC, kli6wii as ·Fi·eedom Square of Seminole ("Freedom Square"), which offers

a· .full continuum of care .. The Freedom Square campus includes independent - living

accommodations, an assisted living facility, and two skilled nursing facilities, one being

SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom Square

offers both rental and what is known as "Life Care" programs. The rental program operates on a

monthly rental fee basis, with no entry fee. The Life Care program is secured with an entry fee

purchase to cover the cost of future accommodations and health care services.




                                                  17
        77.       BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow a

resident to "age in place" as it offered a retirement community with opportunities for independent

living, assisted living and nursing home care. In theory, a person could spend the rest of his or her

life in a CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

which could include the price of one's home, potentially committing that individual to the CCRC

regardless of the quality care they receive. In 2015, CCRCs were responsible for almost 20% of

BROOKDALE SENIOR LIVING, INC.'s total senior living capacity.

        78.       In 2014, in an effort to grow revenue, BROOKDALE SENIOR LIVING, INC.

entered into an agreement with a real estate investment trust ("REIT"), HCP, to create a new

business model for certain preexisting facilities. Together, the companies restructured these

facilities with the intent to make a profit by releasing equity, increasing occupancy, increasing

monthly       service   fees,   and   controlling   operating   expenses.   SEMINOLE     PAVILION

REHABILITATION AND NURSING SERVICES was included in this restructure.

       79.        The new business model, in part, involved the restructuring of currently owned

facilities by creating new companies for no legitimate purpose other than to avoid liability for

shoddy risk management. In effect, Defendants 'took a l'egiti·mate"ly nained company; broke it into

pieces; saddled it with tremendous liabilities; and sucked out all the cash. This restructuring

involved the ostensible separation of the real estate on which the facilities sit from the operator of

the facility itself. This model, known as the "Propco-Opco" structure, required the formation of

two new entities to take over the pre-existing one: the real estate company, or the so-called landlord

("Propco"), and the facility operator, or the so-called master tenant C"Opco"'). At the closing. the

HOpco'' entity engaged an affiliate of BROOKDALE SENIOR LIVING, INC. to manage the

owned and leased community pursuant to a management agreement.



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        80.    On or about August 29, 2014, at or about the same time that BROOKDALE
-
SENIOR LIVING, INC. and HCP partnered to increase revenues and created the Propco/Opco

entities, BROOKDALE SENIOR LIVING, INC. filed a change of ownership application with the

State of Florida.

        81.    After the change in ownership, a new company, Defendant CCRC OPCO -

FREEDOM SQUARE, LLC, the "Opco" or operating entity, was also created. CCRC OPCO -

FREEDOM        SQUARE,     LLC    became the      new    licensee   of SEMINOLE        PAVILION

REHABILITATION AND NURSING SERVICES and the entity saddled with liabilities.

        82.    BROOKDALE SENIOR LIVING, INC. and HCP jointly own CCRC OPCO

Ventures, LLC, which owns one hundred percent ofCCRC OPCO-FREEDOM SQUARE, LLC.

        83.    CCRC OPCO-FREEDOM SQUARE, LLC entered into a management agreement

with another BROOKDALE SENIOR LIVING, INC. subsidiary, BKD TWENTY -ONE

MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES and other nursing home facilities

in Florida.

        84.    BKD    TWENTY~ONE        MANAGEMENT COMPANY, INC. assumed certain

duties and obligations towards residents to .manage the day-to-day operations of SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES. The centralized corporate

functions include financing, accounting, human resources, marketing, training, regulatory, affairs,

purchasing food and supplies, asset management, extensive policy and procedure manuals and

extensive quality control programs.

       85.     BROOKDALE SENIOR LIVING,              INC.~s   and HCP's quality control measures

include community inspections conducted by corporate staff on a regular basis. BROOKDALE



                                                19
SENIOR LIVING, INC. and HCP focus on increasing occupancy and increasing revenues to

attempt to generate a profit to support the expansion of their brands through the acquisition of

additional facilities.

        86.     Upon information and belief, on or about January 31, 2020, HCP acquired

BROOKDALE            SENIOR     LIVING,       INC.'s    interest    in    SEMINOLE   PAVILION

REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.

However, documents reflecting the change of ownership and/or management have not been filed

with and/or made available by the State of Florida.

                         CORPORATE CONDUCT AND JOINT VENTURE

        87.   Based upon information and belief and the allegations stated above, at a11 relevant

times, CCRC OPCO-FREEDOM SQUARE, LLC, BROOKDALE SENIOR LIVING, INC.,

AMERICAN RETIREMENT CORPORATION, BKD TWENTY -ONE MANAGEMENT

COMPANY, INC., HCP, and LIFE CARE SERVICES, LLC, engaged in a joint venture to own,

operate, and manage nursing homes inc1uding SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES. Each can bind·the other·and each has the authority to participate in

the other's profits and the obligation to share in each other's losses.

        88. Money paid by and on behalf of the nursing home residents was the sole source of

revenue for the multiple layers of companies created by Defendants to distribute and share the

revenues generated at SEMINOLE             PAVILION       REHABILITATION       AND NURSING

SERVICES and the other nursing homes in Florida.

        89. Defendants managed themselves, governed and controlled the care and services

provided to DONALD J. JACK, and, by virtue of their management and control, each of them,



                                                 20
   voluntarily and intentionally assumed responsibility for and provided supervisory and custodial

   services to DONALD J. JACK while he was a resident of the Facility.

            90. At all relevant times, Defendants held themselves out as being competent, capable, and

   qualified to provide necessary services to their residents, including DONALD J. JACK, and to

   protect and keep all residents, including DONALD J. JACK, safe from harm, including from the

  spread of infectious diseases.

           91. At all relevant times, Defendants owned, operated, and/or managed SEMINOLE

   PAVILION REHABILITATION AND NURSING SERVICES, and furthennore participated in,

  authorized, and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND

  NURSING SERVICES and its respective agents and employees. Defendants are therefore directly

   liable for their own negligence, recklessness, and other tortious conduct, in the hiring and

  management of their agents and employees.

           92. Defendants, through their managers, directors, presidents, vice-presidents, executive

  officers, and other agents, directly oversaw, managed, and/or controlled all aspects of the operation

  and management ofSEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

· · incltidhig   budgeting~   ·staffing, training, policy and procedures inimual(sJ,   licensing~· accounts


  payable, accounts receivable, general accounting, cash management, capitalization, and profit and

  loss margins.

           93. Defendants employed all of those persons who attended to and provided care and

  services to DONALD J. JACK while he was a resident at SEMINOLE PAVILION

  REHABILITATION AND NURSING SERVICES, and employed those persons in management

  and supervisory positions who directed the operations of the Facility, all of whom were acting

  within the course and scope of their employment.



                                                       21
        94. Defendants, through their administrators, directors, and managing agents, condoned

and ratified all the conduct at the Facility.

        95. At all relevant times, Defendants were the knowing agents and/or alter-egos of one

another, and are therefore vicariously liable for the acts and/or omissions of each other, their agents

and employees, as is more fully alleged herein. Moreover, at all relevant times, Defendants were

acting within the course and scope of their employment and/or agency relationship.

        96. Defendants' acts and omissions, as alleged herein, were done in concert with each other

and pursuant to a common design and agreement to accomplish a particular result: maximize

profits at the Facility, despite the result being that the Facility was underfunded and understaffed.

        97. Defendants, by their acts and omissions as alleged herein, operated pursuant to an

agreement, with a common purpose and community of interest, with an equal right of control, and

subject to participation in profits and losses such that they operated a joint enterprise or joint

venture, subjecting each of them to liability for the acts and omissions of each other.

       98. Defendants were responsible for the organization and administration of the Facility,

and had duties to, inter alia, ensure the Facility complied with applicable statutes and regulations,

·and adopt policies and procedures for the Facility.

       99. Each Defendant knowingly disregarded their respective duties and obligations owed to

DONALD J. JACK and the other residents through both acts and omissions. Those duties to

reasonably operate, manage, own and/or control SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES included: the duty to ensure the facility had sufficient staff who were

trained to meet DONALD J. JACK ~s needs and the needs of the other residents; the duty to seek

out and correct deficiencies or lapses in the care provided to DONALD J. JACK and other

residents; the duty to provide a safe environment for DONALD J. JACK and the other residents;



                                                 22
    the duty to investigate the cause of preventable incidents that occurred at SEMINOLE PAVILION

    REHABILITATION AND NURSING SERVICES; the duty to sufficiently staff SEMINOLE

    PAVILION REHABILITATION AND NURSING SERVICES to ensure DONALD J. JACK's

    needs and the needs of the other residents were met; and the duty to not divert funds from the

    Facility when the funds are intended for the care and maintenance of the residents, including

    DONALD J. JACK.

            I 00.    Defendants did not meet their duties and obligations. Although investigations and

    surveys by various agencies found deficiencies in the provision of care provided to the residents

    ofSEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, each Defendant

    failed or refused to correct or address these issues addressed in the investigations and surveys.

            I 0 I.   Defendants required or encouraged the admission of residents with higher acuity

    levels without providing the staff necessary to care for the residents. The staff was lacking in

    supervision, number, and skill.

            I 02.    Further, in their efforts to maximize profits, Defendants intentionally and/or

    recklessly mismanaged staffing levels and supply levels below the levels necessary to provide

·   'adequate care ahd services to the residents and implemented practices in disregard to the safety of

    the patients.

            I 03.    Defendants each have extensive experience in the nursing home industry. This

    experience provided each Defendant the knowledge and experience to know that additional staff

    and more skilled staff were necessary to meet the needs of residents. Even with this knowledge,

    Defendants failed or refused to ensure that the residents received adequate and appropriate care

    while in their nursing home.




                                                    23
         104.    Defendants. pursuant to their scheme to place ""profits over residents" at the

Facility, ratified the conduct of each Defendant in that they mandated, were aware of, and/or

accepted inadequate staffing, inadequate training, inadequate supplies and inadequate practices at

the Facility, and were aware that such inadequate staffing, inadequate training, inadequate

supplies, and inadequate practices could lead to injuries and damages for the residents.

         105.    In conceiving of, implementing and carrying out their profits over residents scheme,

Defendants willfully, knowingly, recklessly and with conscious disregard for DONALD J. JACK's

health, safety and welfare, acted in a manner that was malicious, reckless and oppressive.

         I 06.   Further, Defendants implemented and carried out the profits over residents scheme

with knowledge that such a scheme was designed to exploit elderly/senior citizens, a class

expressly deemed by the Legislature of the State of Florida as a vulnerable segment of the

population who require a heightened level of protection.

         107.    As a result of Defendants' scheme and acts and omissions, DONALD J. JACK was

victimized by Defendants and suffered damages as alleged herein.

                     COUNT I: BREACH OF FIDUCIARY DUTY
  As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

         I 08.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

above.

         109.    This is a claim that presents a theory of recovery based upon the presence of a

fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, exclusive of and in addition to all rights encompassed in negligence or Chapter 400, Fla.

Stat.

         110.    This is a claim that does not arise out of negligence or a violation of DONALD J.

JACK's nursing home resident rights.


                                                 24
        Ill.   Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

owed DONALD J. JACK a duty to act for or to advise him on matters within the scope of their

specialized relationship.

        112.   Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

and DONALD J. JACK had a developed a special relationship of trust and confidence.

        113.   That trust and confidence started when DONALD J. JACK was admitted to the

Facility because he was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being. Specifically, DONALD J. JACK needed assistance with multiple Activities ofDaily Living

("ADLs") and twenty-four hour skilled nursing care.

        114.   As a result of his varying infirmities and advanced age, at all times material,

DONALD J. JACK was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being; and DONALD J. JACK was incapable of dealing with Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA on equal terms, and was incapable of

engaging in any arm's lerigth relationships with CCRC OPCO- FREEDOM SQUARE, LLC and

CYNTHIA AYALA.

        115.   Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

directly solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside

and remain at the Facility, and further represented through the words and acts of its employees and

agents that it would undertake to provide all of the necessary care and treatment to attain and

maintain the highest practicable physical, mental, and psychosocial well-being for DONALD J.

JACK.



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        116.    Additionally, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA specifically undertook the non-delegable duty of protecting DONALD J.

JACK's residents' rights vested in him by vii1ue of Florida law, including the right to be treated

courteously, fairly, and with the fullest measure of dignity and the right to privacy. See NME

Properties, Inc. v. Rudich, 840 So. 2d 309 (Fla. 4th DCA 2003).

        117.    As a result of Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and

CYNTHIA AYALA's solicitation of DONALD J. JACK's trust and confidence, DONALD J.

JACK placed a special confidence and trust in CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA to provide for all of his necessary care and services to attain and maintain the

highest practicable physical, mental, and psychosocial well-being. And DONALD J. JACK relied

on CCRC OPCO -FREEDOM SQUARE, LLC and CYNTHIA AYALA to provide such care and

services.

        118.    DONALD J. JACK further placed special confidence and trust in Defendants

CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and provide for

his individual rights as established in section 400.022, Florida Statutes, and to further act as a

trustee for all of his personal property that he·possessed on· the premises of the Fac"ility as well as

his personal funds and income, which on information and belief, he placed in an account

maintained by CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA on his behalf

and for his benefit.

        119.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

undertook to act as trustees to protect and preserve DONALD J. JACK's personal property,

including his clothing and other valuable personal property, as well as to maintain and manage his

personal funds and income in a trust account for DONALD J. JACK's benefit. Correspondingly



                                                  26
CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA voluntarily assumed non-
       -                        -

delegable duties to provide DONALD J. JACK quarterly accounting of any and all transactions

. made utilizing funds from his trust account, to maintain and safeguard the funds therein and to

only utilize said funds for authorized transactions, and to avoid commingling of his funds with the

funds of any other person or those ofCCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA

AYALA.

           120.   Furthermore, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA knowingly and voluntary entered into a highly confidential relationship with

DONALD J. JACK. CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

voluntarily assumed extensive legal duties to comply with all of the confidentiality requirements

enumerated in the Health Insurance Portability and Accountability Act of 1996 ('"HIPAA")

regarding DONALD J. JACK, a confidentiality similar in scope and duration to that attendant to

attorney-client and doctor-patient relationships.

           121.   Moreover, Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA

AYALA assumed duties to protect and preserve DONALD J. JACK's Federal and State privacy

rights; ·including those privacy rights ·enshrined in' ArtiCle I, Section 2J 'of the Florida Co'nstitution. ·

           122.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

accepted the special confidence and trust placed upon them by DONALD J. JACK by admitting

him into the Facility and by, among other things: explicitly assuming, through words and actions,

the various duties described in the preceding paragraphs regarding protecting his confidentiality,

protecting his privacy, protecting his individual liberties, and managing and safeguarding his

personal finances; assuming responsibility and control over every aspect of DONALD J. JACK's




                                                    27
    day-to-day l}fe; and voluntarily und~rtaking responsibility for the specific level of care, protection,
    -
    supplies and services that would be provided to DONALD J. JACK.

            123.      Defendants CCRC OPCO -FREEDOM SQUARE, LLC and CYNTHIA AYALA

    individually and collectively controlled, oversaw and orchestrated every single aspect of

    DONALD J. JACK's existence, from the mundane (such as the clothing worn) to the vital (such

    as determining when and how healthcare would be provided, as well as how much food and water

    DONALD J. JACK could consume).

            124.      DONALD J. JACK was solely and particularly dependent upon the employees,

    officers, directors, and agents of Defendants CCRC OPCO- FREEDOM SQUARE, LLC and

    CYNTH lA AYALA to provide for his daily care, protection, services, supplies and personal and

    intimate needs.

            125.      Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

    developed a special relationship with DONALD J. JACK by virtue of: the nature of the care and

    services provided; the trustee-beneficiary relationship they maintained toward him regarding his

    personal property and finances; the Federal and State confidentiality and privacy laws CCRC

'   OPCO'- FREEDOM SQUA:RE, LLC untlertookto co·mply with DONALD J. JACK; the superior

    knowledge, skill and abilities of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

    CYNTHIA AYALA; the enormous disparity of power and unequal bargaining Defendants CCRC

    OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA enjoyed DONALD J. JACK; and

    his inability to care for and provide for himself.

            126.   This special confidential relationship allowed Defendants CCRC OPCO -

    FREEDOM SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidence toward

    DONALD J. JACK, which required fidelity, loyalty, good faith, and fair dealing by CCRC OPCO



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-FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO- FREEDOM

SQUARE, LLC and CYNTHIA AYALA had a duty to refrain from engaging in self-dealing.

        127.   At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA were each a fiduciary of DONALD J. JACK based on

the special relationship between the parties.

        128.   At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA owed fiduciary duties to DONALD J. JACK. See

Greenfield v. Manor Care, Inc., 705 So. 2d 926 (Fla. 4th DCA 1997).

        129.   Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

acted and failed to act in material breach of their fiduciary duties owed to DONALD J. JACK.

Instead Defendants CCRC OPCO -FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in

ways to promote their own interests and in contravention of the interests of DONALD J. JACK.

        130.   Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

breached and violated its relationship of trust, special confidence, and its fiduciary obligations and

duties owed to DONALD J. JACK by:

               a) Failing to take ·adequate action to address·coVID.:.J9 ·concerns at the Facility

                   as Defendants represented they would through their various websites as alleged

                   in paragraphs 41 and 45;

               b) Failing to take adequate action to minimize the risk and spread of COVID-19

                   and implement adequate care, services, and infection control at the Facility as

                   alleged in paragraphs 46, 50 and 51 ; and

               c) Knowingly and recklessly engaging in the profits over residents scheme

                   described herein in an effort to increase the profitability of the Facility, for the



                                                 29
                    benefit of Defendants and their joint venture, and at the expense of and to the

                   direct detriment of DONALD J. JACK.

        131.    In violating their fiduciary obligations and duties to DONALD J. JACK,

Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA knew that

DONALD J. JACK would suffer harm, including but not limited to the daily injuries resulting

from the daily invasion of rights vested in DONALD J. JACK, as well as economic harm.

        132.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA

AYALA's breaches of the duties owed to DONALD J. JACK were the legal cause of the loss,

injury and damages suffered by DONALD J. JACK. As the direct and proximate result of

Defendants CCRC OPCO- FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breaches of

the duties owed to DONALD J. JACK, DONALD J. JACK contracted COVID-19 and

subsequently died from this infection.

        WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

disgorgement of profits, consequential damages, and further demands a trial by jury together with

sucli other ana further relief as this Court deems appropriate. ---

       COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
 As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY -ONE
MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                          LIFE CARE SERVICES, LLC

        133.   Plaintiff re-alleges and incorporates herein by reference paragraphs I through 132.

        134.   This is a claim that presents a theory of recovery based upon the presence and

breach of a fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

encompassed in negligence or Chapter 400, Fla. Stat.


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        135.     As set forth in Count I above, CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA owed and breached fiduciary duties owed to DONALD J. JACK.

        136.     Defendants are related entities within a single enterprise or joint venture.

        137.     Defendants had actual knowledge of DONALD J. JACK's fiduciary relationship

with CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA by virtue of its close

corporate relationship to CCRC OPCO - FREEDOM SQUARE, LLC.

        138.     By reason of their shared and/or common ownership, directors, officers and

managers and/or contractual relationships, Defendants knew of the fiduciary duties CCRC OPCO

- FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of

CCRC OPCO- FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of those duties

as described in Count I.

        139.     Defendants knew that the residents at the Facility, including DONALD J. JACK,

were incapable of independently providing their own necessary care and were solely and

specifically dependent upon the employees, officers, directors, and agents to provide for their basic

daily care, protection, services, supp1ies, and personal and intimate needs.

       140. · Defendants khowingly participated and provided substantial assistance and

encouragement· to CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in

connection with their breach of fiduciary duties to DONALD J. JACK, as set forth in detail within

Count I above.

       141.      In addition to this knowledge, Defendants aided and abetted Defendants CCRC

OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties

and rendered substantial assistance and encouragement for the same, by, among other things:

                    a) Engaging in the conduct set forth in detail within Count I above;



                                                  31
b) Exercising dominance and control over CCRC OPCO - FREEDOM

   SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

   all of the Facility's revenues into an account controlled by the joint venture

   or enterprise, and/or their designee;

c) Knowingly and intentionally taking, creating and accepting inter-company

   fees and transfers, comprised of revenues obtained from the residents and

   designed to improperly and unjustly enrich Defendants instead of allowing

   the Facility to utilize said resources effectively and efficiently to attain or

   maintain the highest practicable physical, mental, and psychosocial well-

   being of each resident, including DONALD J. JACK, as required;

d) Structuring and approving contracts between Defendants and CCRC OPCO

   - FREEDOM SQUARE, LLC, which Defendants knew or should have

   known would result in the diversion of Facility revenues necessary to

   provide the care and services to its residents, DONALD J. JACK;

e) Overseeing and approving CCRC OPCO - FREEDOM SQUARE, LLC's

   'and CYNTHIA AYALA's acceptance of monies fi·bm resi·dents, including

   DONALD J. JACK, knowing the Facility could·not provide .full value of

   the care and services to meet the care and safety needs of the residents;

t) Directly or indirectly misrepresenting the nature of the relationship between

   Defendants and CCRC OPCO - FREEDOM SQUARE, LLC and

   CYNTHIA AYALA, in which Defendants by virtue of the common owners,

   officers and managers, controlled the business operations and working




                             32
                         capital of the Facility and inappropriately commingled its revenues by

                         making intra-company transfers to related facilities;

                     g) Structuring the managing and operating business model for the Facility in a

                         way that constrained its ability to provide the level of care and services to

                         residents, including DONALD J. JACK, while simultaneously benefitting

                         Defendants and other upstream corporate entities; and,

                     h) Influencing, advocating, and approving CCRC OPCO - FREEDOM

                         SQUARE, LLC's and CYNTHIA AYALA's improper payments to

                         Defendants, which Defendants knew exceeded amounts a prudent and cost

                         conscious buyer would pay, and which Defendants also knew would cause

                         the monies intended for the provision of care and services to the residents,

                         including DONALD J. JACK, to be depleted.

           142.   The conduct of Defendants as alleged, constitutes aiding and abetting CCRC OPCO

-FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach offiduciary duties and subjects

Defendants to liability for the harm suffered by DONALD J. JACK.

           143.   In ai'ding and abetting CCRC OPCO- FREEDOM         SQUARE~     LLC and CYNTHIA

AYALA in violating fiduciary obligations and duties to DONALD J. JACK as referenced herein,

Defendants knew that DONALD J. JACK would suffer harm and injuries, including the daily

injuries flowing from the repeated breaches of fiduciary duties in which Defendants aided and

abetted.

           144.   As a result of Defendants' aiding and abetting in the breaches of fiduciary duties

by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA, Defendants were

improperly and unjustly enriched, the Facility was left without the necessary resources to function



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in the residents' best interests, and DONALD J. JACK suffered both the injuries set forth herein

as well as economic harm.

        I45.    Furthermore, as the direct and proximate result of Defendants' aiding and abetting

breaches of fiduciary duties by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, DONALD J. JACK contracted COVID-19 and subsequently died.

        WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

SENIOR LIVING,          INC.; BKD TWENTY-ONE MANAGEMENT COMPANY,                              INC.;

AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for damages,

unjust enrichment, restitution, disgorgement of profits, consequential damages, and further

demands a trial by jury together with such other and further relief as this Court deems appropriate.

           COUNT III: VIOLATIONS OF FLORIDA STATUTES §415.1111
 As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                          LIFE CARE SERVICES, LLC

        146.   Plaintiff re-alleges and incorporates herein by reference paragraphs I through 3, 9,

I 0, 12, 15, 16, 19, 20, 23, 24, 26, 28, and 31 above.

        147.   For the purposes of this count and only this count, it is not alleged that Defendants

are a licensee or entity that established, controlled, conducted, managed or operated the Facility.

        148.   DONALD J. JACK was at all relevant times a vulnerable adult with a long-term

disability. He was seventy-five (75) years of age and was unable to perform the normal activities

of daily living or to provide for his own care or protection due to his disability.

        149.   Defendants' acts or omissions constitute exploitation of a vulnerable adult in

violation of Section 415.1111, Florida Statutes.

        150.   Defendants knew or should have known that DONALD J. JACK lacked the

capacity to consent, but Defendants obtained or used, or endeavored to obtain or use DONALD J.


                                                   34
~JACK's   funds, assets or property, including Medicare and Medicaid benefits, with the intent to

temporarily or permanently deprive DONALD J. JACK of the use, benefit or possession of the

funds, assets, or property for the benefit of someone other than DONALD J. JACK.

        I 51.   The compensation Defendants received was derived from the private funds of

vulnerable adults, including DONALD J. JACK, or from Medicaid and/or Medicare funds that

were beneficiaries' assets, including DONALD J. JACK, which were paid to Defendants for the

sole purpose of providing for the support and maintenance of the Facility's residents, including

DONALD J. JACK.

        152.    Defendants received compensation that they should have known would deprive the

Facility of adequate resources to provide for the necessities of DONALD J. JACK's support and

maintenance, which should have been used to, inter alia, implement a sufficient infection control

program at the Facility and to secure sufficient PPE and supplies to prevent the spread ofCOVID-

19 at the Facility.

        I 53.   Defendants failed or refused to effectively use DONALD J. JACK's income or

assets for the necessities required for his support and maintenance.

        I 54.   Defendants' failure or refusal to effectively use DONALD. J. JACK's income or

assets as set forth herein, was the proximate cause of the losses he suffered including, but not

limited to the use, benefit, or possession of the funds, assets or property for his benefit.

        155.    As a direct and proximate result of Defendants' acts and omissions, DONALD J.

JACK was deprived of the use, benefit or possession of the funds, assets or property.

        WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

SENIOR LIVING,         INC.;    BKD TWENTY-ONE MANAGEMENT COMPANY,                             INC.;

AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for



                                                  35
disgorgement of profits, consequential damages, attorneys' fees and costs, pre-judgment interest,

trial by jury of all matters so triable, and such other relief this Court deems appropriate.

    COUNT IV: VIOLATION OF FLORIDA'S DECEPTIVE AND UNFAIR TRADE
                       PRACTICES ACT,§ 501.201 ET SEQ.
   As to Defendants CCRC OPCO- FREEDOM SQUARE, LLC; HCP; BROOKDALE
   SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;
   AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC

         156.   Plaintiff re-a lieges and incorporates herein by reference paragraphs 1 through 107

above.

         157.   Plaintiff brings this Count pursuant to the Florida Deceptive and Unfair Trade

Practices Act, section 501.201 et seq., Florida Statutes (hereinafter ~~FDUTPA").

         158.   Under FDUTPA, "[u]nfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce" are

unlawful. Fla. Stat. § 501.204 (I).

         159.   By engaging in the above described conduct and the additional conduct described

below, Defendants engaged in unconscionable, unfair and deceptive acts and practices in violation

ofFDUTPA in connection with their advertising, soliciting, providing, and offering services at the

-Facility, which acts and practices tiltimately'victimized DONALD J: JACK; ·a senior citizen.

         160.   At all relevant times, Defendants, their. officers, directors, and managers were

engaged in trade and commerce in Florida within the meaning of FDUTPA as Defendants

advertised, solicited, provided, and offered services to consumers and senior citizens.

         161.   At all relevant times, DONALD J. JACK was a "consumer'· and "senior citizen"

within the meaning FDUTPA as he was an individual over the age of sixty (60).

         162.   Defendants, their officers, directors, and managers marketed and advertised service

at the Facility directly to senior citizen consumers, including DONALD J. JACK, by disseminating



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brochures, web sites, videos, advertisements, and other information, which were prepared in part,

by the Facility's related corporate entities.

        163.    Defendants, their officers, directors, and managers made unfair, deceptive and

misleading representations in their advertising materials distributed to senior citizen consumers,

including DONALD J. JACK, regarding the level of services they provided to vulnerable senior

citizens and nursing home residents.

        164.    Defendants, their officers, directors, and managers advertised and offered their

nursing facilities by promising to meet residents' needs, to keep them clean, comfortable and safe,

and to provide food, water, care, and services as needed. These statements were false, deceptive,

and misleading.

        165.    Defendants advertising materials omitted information that was material to

consumers, including DONALD J. JACK, by failing to disclose that DONALD J. JACK would

experience long delays in the delivery of care and services and that he would often be deprived of

the care and services he required and bargained for.

        166.   Defendants, their officers, directors, and managers engaged in deceptive,

misleading, and unfair practices by representing that" certain ·care ·and services were or would be

provided to DONALD J. JACK, as documented in his care plans and assessments, when in fact

that care and services were never provided.

       167.    Defendants, their officers, directors and managers further promised to provide a

clean, safe, and sanitary living environment throughout DONALD J. JACK's residency at their

facilities, for which Defendants were handsomely paid.

       168.    Defendants affirmatively concealed material facts from DONALD J. JACK

regarding the existence and effect of the COVID-19 outbreak at the Facility, and led DONALD J.



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JACK to believe that the Facility was a safe environment, when in fact the Facility was

contaminated with COVID-19.

         169.   Defendants, their officers, directors and managers failed to appropriately manage

the real property at the Facility and failed to maintain a clean, safe, and habitable living

environment for their residents.

         170.   Defendants, their officers, directors and managers, through their deceptive,

unconscionable, and unfair acts and omissions, misled DONALD J. JACK into believing that their

facilities were properly managed, maintained, and equipped to meet his basic needs, when it was

not.

         171.   Defendants, their officers, directors and managers failed to provide DONALD J.

JACK with a living environment and premises that reciprocated the rents and other charges they

were paid for his residency.

         172.   Defendants, their officers, directors and managers caused the Facility to enter into

a lease agreement so onerous that it left Defendants without the ability to provide an adequate,

safe, decent, and clean living environment, despite promising DONALD J. JACK that he would

receive the same in exchange for the monies' he paid.

         173.   Defendants' failure to provide basic care and services to DONALD J. JACK not

only violated the FDUTPA, but also degraded DONALD J. JACK, increased his risk of serious

negative health consequences, and caused him to suffer medical expenses, serious injury, and

death.

         174.   In addition to these deceptive, unconscionable, and unfair acts and omissions,

Defendants misled consumers, including DONALD J. JACK, by failing to disclose that the

Facility's related corporate entities exercised control over the Facility, by among other things: (a)



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restricting the ability of the Facility's managers and administrators to increase staffing levels; (b)

supervising, and in some case, overriding the personnel decisions of the Facility; {c) creating and

implementing company-wide policies and incentive programs; and (d) entering into agreements,

including onerous lease and management agreements.

        175.    Defendants, their officers, directors and managers failed to provide DONALD J.

JACK with the basic care and services he required and bargained for with respect to his use of the

Facility's premises.

        176.    Defendants' deceptive, unconscionable, and unfair statements and practices were

in violation of FDUTPA.

        177.    Defendants' deceptive, unconscionable, and unfair representations, omissions, and

practices were of the type that would likely mislead Florida consumers acting reasonably in the

circumstances, to the consumers' detriment, and were particularly misleading and detrimental to

the senior citizens and infirm residents at their Facility, including DONALD J. JACK.

        178.    DONALD J. JACK could not have detected the existence and effect ofthe COVJD-

19 at the Facility or the existence of the onerous agreements, the corporate entities control over

the Facility that led to the lack of care, ·services, and sanitary living environment at the Facility.

        179.    DONALD J. JACK admitted- himself to the -Facility and had therefore been

aggrieved by Defendants unconscionable, unfair and deceptive practices in violation ofFDUTPA.

        180.    DONALD J. JACK sustained damages as a direct and proximate result of

Defendants' violations ofFDUTPA.

        181.    DONALD J. JACK did not receive the benefit of the bargain, overpaid for the

services, and suffered actual damages.




                                                  39
        182.    The damages suffered by DONALD J. JACK were directly and proximately caused

by the unconscionable, deceptive, misleading, and unfair practices of Defendants.

        183.    Defendants' violations were willful as Defendants knew or should have known that

their conduct was unfair or deceptive or prohibited by FDUTPA.

        184.    Defendants' violations are made even more reprehensible because of Defendants'

attempt to exploit senior citizens during a global pandemic for profit, while posing a serious and

direct threat to the health and safety of senior citizens such as DONALD J. JACK.

        WHEREFORE, Plaintiff demands judgment against Defendants for damages pursuant to

section 501.211 (2), Florida Statutes, in an amount to be proven at trial, pre-judgment interest, post-

judgment interest, attorney's fees and court costs as provided in section 50 1.21 05, Florida Statutes,

and further demands a trial by jury, together with such other and further relief as this Court deems

appropriate.


                                             Is/ Bennie Lazzara, Jr.
                                             Bennie Lazzara, Jr., Esquire
                                             Florida Bar No. 119568
                                             Bennie@wilkesmchugh.com
                                             TPABXLStaff@wilkesmchugh.com
                                             fl@wilkesmchugh.com        ·
                                             James L. Wilkes, II, Esquire
                                             Florida Bar No. 405337
                                             jimw@wilkesmchugh.com
                                             dthomason@wilkesmchugh.com
                                             Jason R. Delgado, Esquire
                                             Florida Bar No. 591 122
                                             jdelgado@wilkesmchugh.com
                                             TPAJRDstatT@wilkesmchugh.com
                                             WILKES & MCHUGH, PA
                                              1 N. Dale Mabry Highway, Suite 700
                                             Tampa, FL 33609
                                             Telephone: (813) 873-0026
                                             Facsimile: (813) 286-8820
                                             Allorney.~·for !he Plaintiff




                                                 40
Filing# 108550742 E-Filed 06/08/2020 05:07:14 PM
   FILED 05/15/202014:42:42 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

Filing# 107269J80 E-Filed 05/08/2020 09:44:17 PM

                                                     IN THE CIRCUIT COURT FOR PINELLAS COUNTY, FLORIDA
                                                                                      PROBATE DIVISION

          IN RE: ESTATE OF                                                    Case No. 20-004321-ES
          DONALD JOHN JACK
                             Deceased.

          --------------------------------------------------~'
                                                 LETTERS 01!.. ADMINISTRATION

          TO ALL WHOM IT MAY CONCERN

                   WHEREAS, Donald John Jack, a resident ·of 12542 82nd Terrace N.,. Semino1e, FL 33776, died

          on April21, 2020, owning assets in the State of F1c;>rida, and

                   WHEREAS, Jessica Gunter has been appointed personal 'representative of the estate of the

          decedent and has performed all acts prerequisite to issuance of Letters of Administration in the estate.

                   NOW . . THEREFORE, J, the undersigned circ!lit judge, declare Jessica Gunter d!l1Y qu_alified

          under the laws of the State of Florida to act as personal tepreseritatiYe of the estate of Donald John Jack.
          deceased, with full power to administer the estate ·accor:d.ing to Jaw,; to ask, demand,. sue for, recover and

          receive the property of the decedent; to ·pay the debt.~ of the. decedent    a'i   far as the assets of the estate will

          permit and the law directs; and to make distribution of~he estate according to law.

                   ORDERED in chambers.. Pinellas County, Florida.



                                                                              6)11511616 I .U.&JUIU6CF6USIIX)IIIkA

                                                                                 Pamela A.M. Campbell
                                                                                     Circuit Judge




***ELECTRONICALLY FILED 05/08/2020 09:44:16 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT. PINELLAS COUNTY**~
A lb.


;_:_t CT Corporation                                                           Service of Process
                                                                               Transmittal
                                                                               06/22/2020
                                                                               CT Log Number 537825524
        TO:      Edgar Martinez
                 HEALTHPEAK, INC.
                 1920 MAIN ST STE 1200
                 IRVINE, CA 92614-7230


        RE:      Process Served in Florida

        FOR:     HCP, Inc. of Maryland (Assumed Name) (Domestic State: MD)
                 Healthpeak Properties, Inc. (True Name)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                 The Estate of Donald J. Jack, etc., Pltf. vs. Ccrc Opco - Freedom Square, LLC., etc.,
                                         et at., Dfts. // To: Healthpeak Properties, Inc.
        DOCUMENT(S) SERVED:

        COURT/AGENCY:                    None Specified
                                         Case # 20002755CI
        NATURE OF ACTION:                Personal Injury - Failure to Maintain Premises in a Safe Condition
        ON WHOM PROCESS WAS SERVED:      C T Corporation System, Plantation, FL
        DATE AND HOUR OF SERVICE:        By Process Server on 06/22/2020 at 15:15
        JURISDICTION SERVED:             Florida
        APPEARANCE OR ANSWER DUE:        None Specified
        ATTORNEY(S) / SENDER(S):         None Specified
        ACTION ITEMS:                    CT has retained the current log, Retain Date: 06/22/2020, Expected Purge Date:
                                         07/22/2020

                                         Image SOP

                                         Email Notification, JENNIFER ARCE jlarce@healthpeak.com

                                         Email Notification, DIANNE MURAKAMI dmurakami@healthpeak.com

                                         Email Notification, SCOTT GRAZIANO sgraziano@healthpeak.com

                                         Email Notification, FRANK RUSSO frusso@healthpeak.com

                                         Email Notification, Edgar Martinez emartinez@healthpeak.com


        SIGNED:                          C T Corporation System
        ADDRESS:                         208 5 La Salle St Ste 814
                                         Chicago, IL 60604-1101
        For Questions:                   866-203-1500
                                         DealTeam@wolterskluwer.com




                                                                               Page 1 of 1 / PP
                                                                               Information displayed on this transmittal is for CT
                                                                               Corporation's record keeping purposes only and is provided to
                                                                               the recipient for quick reference. This information does not
                                                                               constitute a legal opinion as to the nature of action, the
                                                                               amount of damages, the answer date, or any information
                                                                               contained in the documents themselves. Recipient is
                                                                               responsible for interpreting said documents and for taking
                                                                               appropriate action. Signatures on certified mail receipts
                                                                               confirm receipt of package only, not contents.
                                                              a Wolters Kluwer
                          PROCESS SERVER DELIVERY DETAILS




Date:                      Mon, Jun 22, 2020

Server Name:               Jacqueline Garcia

Location:                  Sunrise, FL




Entity Served              HCP INC. OF MARYLAND

Agent Name                 CORPORATION SERVICE COMPANY

Case Number                20002755CI

Jurisdiction              ' FL




II              II   II    II            II       III    II
                                            •               Case Number:20-002755-CI
                                                 •
 Filing # 108550742 E-Filed 06/08/2020 05:07:14 PM


                                 IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                   IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                                   CIVIL DIVISION

            THE ESTATE OF DONALD J. JACK, by and through
            JESSICA GUNTEI:, Personal Representative,

                            Plain ,ff,

            V.

            CCRC OPCO - FRI3EDOM SQUARE, LLC; HCP,
                                                                                         CASE NO:         20-002755-CI
            INC. a/k/a HCP INC. OF MARYLAND n/lc/a
            HEALTHPEAK PROPERTIES, INC.; BROOKDALE
            SENIOR LIVING, INC.; BKD TWENTY-ONE
                                                                                                                            11.4/(7Y1
            MANAGEMENT COMPANY, INC.; AMERICAN
            RETIREMENT CORPORATION; LIFE CARE                                                                             ‘Q/2z/z
            SERVICES, LLC; and, CYNTHIA AYALA (as to
            SEMINOLE PAVILION REHABILITATION AND                                                                            / 0 LI5fri
            NURSING SERVICES),

                           Defendants.

                                                                     SUMMONS

           THE STATE OF FLORIDA

           TO ALL AND SINGULAR SHERIFFS OF SAID STATE:

           GREETINGS:

                   YOU ARE R3REBY COMMANDED to serve this summons and a copy of the Complaint and Designation of Email
           Addresses in the above •3tyled cause upon the defendant(s):

                          HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a HEALTHPEAK PROPERTIES, INC.
                                                  do CT CORPORATION SYSTEM
                                                 1200 SOUTH PINE ISLAND ROAD
                                                      PLANTATION, FL 33324

           Each defendant is hereby required to serve written defenses to said Complaint on plaintiffs attorney, whose name and address is:

                                                         BENNIE LAZZARA JR., ESQUIRE
                                                             WILKES & McHUGH, P.A.
                                                          TAMPA COMMONS, SUITE 800
                                                     ONE NORTH DALE MABRY HIGHWAY
                                                                  TAMPA, FL 33609
                                                                      (813) 873-0026
          within twenty (20) days after service of this summons upon that defendant, exclusive of the day of service, and to file the original
          of said written defenses with the clerk of said court either before service on plaintiffs attorney or immediately thereafter. If a
          defendant fails to do so, a default will be entered against that defendant for the relief demanded in the complaint or petition.
                                                                               ,JUN 09 2020
                  WITNESS lir hand and the seal of said Court on the _day or                                  , 2020.
KEN BURKE CLERK CIRCUll COURT
315 Court Street                                                      KEN BURKE, CPA
Clearwater, Pinellas County, F. 33756-5165                            Clerk of the Circuit Court

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                                                                                -  4-0D
                                                                                      , U(QC01....)
                                                                             BY:    EPUTY CL
                                                                                                                     406,
                                                                                                                       H
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***ELECTRONICALLY FILEt, 06/08/2020 05:07:11 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY"*
Filing #,10855.0742 E-Filed 06/08/2020 05:07:14 PM



                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                          IN AND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                          CIVIL DIVISION


         THE ESTATE OF DONALD J. JACK, by and
         through JESSICA GUNTER, Personal
         Representative,

                        Plaintiff,

         v.

         CCRC OPCO - FREEDOM SQUARE, LLC; HCP,
         INC. a/k/a HCP INC. OF MARYLAND nikia                  CASE NO.:        — 03P755— C2—
         HEALTHPEAK        PROPERTIES,    INC.;
         BROOKDALE SENIOR LIVING, INC.; BKD
         TWENTY-ONE MANAGEMENT COMPANY,
         INC.;       AMERICAN      RETIREMENT
         CORPORATION; LIFE CARE SERVICES, LLC;
         and, CYNTHIA AYALA (as to SEMINOLE
         PAVILION REHABILITATION AND NURSING
         SERVICES),

                        Defendants.


                      PLAINTIFF'S COMPLAINT AND DEMAND FOR JURY TRIAL

                THE ESTATE OF DONALD J. JACK, by and through JESSICA GUNTER, Personal

         Representative, and by and through undersigned counsel, hereby sues Defendants, CCRC OPCO

        - FREEDOM SQUARE, LLC; HCP, INC. ailda HCP INC. OF MARYLAND n/k/a

        HEALTHPEAK PROPERTIES, INC.; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-

        ONE MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION;

        LIFE CARE SERVICES, LLC; and, CYNTHIA AYALA (herein after, the "Defendants"). All of

        the allegations contained in this Complaint are based on either known facts or information and

        belief. Plaintiff alleges as follows:
                                        INTRODUCTION

       - This c-ase concerns the injuries, damages, and untimely death of DONALD J. JACK as a

 result of Defendants' actions and omissions during his residency at Defendants' skilled nursing

  facility known as SeniinOle Pavilion 'Rehabilitation and Nursing Service (the "Facility"). What

  was supposed to be merely a short-term rehabilitation admission turned out to be a death sentence

 for DONALD J. JACK due to Defendants' business practice of placing profits over residents. For

 years, even before DONALD J. JACK's residency, Defendants chose to place profits over

 residents and ignore deficiencies in their emergency preparedness plan and in their infection

 prevention and control program. When Defendants' deficiencies became more pronounced in light

 ofthe COVID-19 pandemic, Defendants continued to choose to place profits over residents by

 refusing to be forthcoming with the authorities, staff, residents, and residents' relatives of the

 potential dangers of COVID-19 and of the COVID-19 positive cases at the Facility. Instead, for

 almost a week after the first COVID-19 death at the Facility, Defendants withheld information

 regarding the COVIDj19 positive death at the Facility and withheld supplies necessary to protect

 residents and staff. During the time Defendants kept everyone in the dark and withheld necessary

- supplies, DONALD-J. JACK contracted COVID-19. Only after the Facility had become known as

 the epicenter. iiiPihellas Coulity-for'COVID-19 and intervention fromthe Florida- Deparffnent of

 Health, did Defendants transfer all ninety-five (95) residents, including DONALD J. JACK, to

 local hospitals to get the necessary care and to allow Defendants and the Florida Department of

 Health to completely reset the Facility's infection control practices, decontaminate the site, and

 provide additional training for staff. Unfortunately, by this time DONALD J. JACK had tested

 positive for COVID-19 and only five days thereafter DONALD J. JACK was dead as a result.

                  JURISDICTION, PARTIES AND VENUE ALLEGATIONS

         I.     This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00).

                                                 2
                 On or about April 2, 2020, DONALD J. JACK was admitted to SEMINOLE

  PAVILION REHABILITATION AND NURSING SERVICES, located at 10800 Temple Terrace,

  Seminole, Florida 33772 in Pinellas County, where he remained until approximately April 17,

  2020.

          3.     Plaintiff, JESSICA GUNTER, is the Personal Representative of THE ESTATE OF

  DONALD J. JACK. Letters of Administration, dated May IS, 2020, evidencing JESSICA

  GUNTER's authority to bring this action on behalf of THE ESTATE OF DONALD J. JACK are

  attached hereto as Exhibit "A."

          4.     SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is a

  fictitious name owned by Defendant CCRC OPCO - FREEDOM SQUARE, LLC.

          5.     CCRC OPCO - FREEDOM SQUARE, LLC is the licensee that operated the

  Facility during DONALD J. JACK's residency.

          6.     CCRC OPCO - FREEDOM SQUAgE, LLC, is an active Delaware limited liability

                               pla.ce of business at 1920 Main Street, Suite 1200,
  company, With its principal place

  Irvine, California 92614, which is registered to do business in Florida and is doing business in
                                                        --..'

"'Florida.

          7.     CCRC-OPO - FREEDOM SQUARE,--LLC conducted and engaged-in business

  activities within the State of Florida; engaged in substantial and not isolated activities within the

  State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

  ownership of, leasing of, operation of, management_of, and/or consultation with nursing home

  facilities, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

  within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC




                                                   3
OPCO - FREEDOM SQUARE, LLC is subject to the jurisdiction of the courts of the State of
   --: -
 Florida.

      • 8.      CCRC OPCO - FREEDOM SQUARE, LLC committed tortious• acts against

 DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, CCRC OPCO -

 FREEDOM SQUARE, LLC is subject to the jurisdiction of the Courts of the State of Florida.

        9.      HCP, INC. a/k/a HCP INC. OF MARYLAND n/k/a HEALTHPEAK

 PROPERTIES, INC. (hereinafter referred to as "HCP") is the owner of property located at 10800

Temple Terrace, Seminole, Florida 33772, which is the property upon which the SEMINOLE

PAVILION REHABILITATION AND NURSING SERVICES is situated.

        10.     HCP is a Maryland corporation, with its principal place of business at 1920 Main

Street, Suite 1200, Irvine, California 92614, which is registered to do business in Florida and is

doing business in Florida.

        II.     HCP had the authority to and did exercise control over the funds available to the

Facility for the use and benefit of the residents, including DONALD J. JACK.

        i2THCP requli-ed reht§tir other compensation from fun& it knew- Weren-ecessary Tor

DONALD J. JACK's support and -maintenance. -HCP. knew that such -conduct would de.pri've-the

•Facility of adequate resources to provide for the wellbeing of the Facility's residents, including

DONALD J. JACK.

        13...   HCP shared control . over the operation                SEMIN.OLE._ PAVILION

REHABILITATION AND NURSING SERVICES through its authority to control the funds

available to the Facility for the use and benefit of the residents, including DONALD J. JACK.




                                                 4
         14        HCP conducted and engaged in business activities within the State of Florida;

engaged in substantial and not isolated activities within the State of Florida; and purposely availed

itself of the privileges of the State of Florida, through its ownership of, leasing of, operation of,

management of, and/or consultation with nursing homes, including SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES, within the State of Florida. Accordingly,

pursuant to section 48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the

State of Florida.

         15.       HCP committed tortious acts against DONALD J. JACK in the State of Florida.

Each tortious act is specifically alleged in the subsequent counts. Accordingly, pursuant to section

48.193, Florida Statutes, HCP is subject to the jurisdiction of the courts of the State of Florida.

         16.       BROOKDALE SENIOR LIVING, INC. is a Delaware corporation, with its

principal place of business at 111 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

which is registered to do business in Florida and is doing business in Florida.

         17.       BROOKDALE SENIOR LIVING, INC. is the parent company and operator of

SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES.

                   BROOKDALE - SENIOR LIVING, 'INC. conducted and -engaged in business

-activities   within the State of Florida; engaged in substantial and not isolated activities within the

State of Florida; and purposely availed itself of the privileges of the State of Florida, through its

ownership of, leasing of, operation of, management of, and/or consultation with nursing homes,

including.SEMINOLE PAVILION REHABILITATI.ON.AND NURSING.SERVICES, within the

State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE

SENIOR LIVING, INC. is subject to the jurisdiction of the courts of the State of Florida.




                                                     5
         19.     BROOKDALE SENIOR LIVING, INC. committed tortious acts against DONALD

 J. JACK in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

 Accordingly, pursuant to section 48.193, Florida Statutes, BROOKDALE SENIOR LIVING, INC.

 is subject to the jurisdiction of the courts of the State of Florida.

         20.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. is a Delaware

 corporation, with its principal place of business at 111 Westwood Place, Suite 400, Brentwood,

Tennessee 37027, which is registered to do business in Florida and is doing business in Florida.

         21.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. served as a

 management company for SEMINOLE PAVILION REHABILITATION AND NURSING

 SERVICES during DONALD J. JACK's residency.

         22.     BKD TWENTY-ONE MANAGEMENT COMPANY, INC. conducted and

engaged in business activities within the State of Florida; engaged in substantial and not isolated

activities within the State of Florida; and purposely availed itself of the privileges of the State of

Florida, through its ownership of; leasing of, operation of, management of, and/or consultation

with nursing homes, including SEMINOLE PAVILION REHABILITATION AND NURSING

SERVICES,' Within the State of Florida. Accordingly, puituant to sedtion 48.193, Florida Statutes,

BKD TWENTY-ONE MANAGEMENT COMPANY, INC-. i§ subjeet- to the juri§dicti*on of the

courts of the State of-Florida.

        23.      BKD TWENTY-ONE MANAGEMENT COMPANY, INC. committed tortious

.acts .against DONALD. J.. JACK in .the.State .of.F.lorida.. Each. tortious act is specifically alleged in

the subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, BKD TWENTY-

ONE MANAGEMENT COMPANY, INC. is subject to the jurisdiction of the courts of the State

of Florida.



                                                    6
          24.     AMERICAN RETIREMENT CORPORATION is a Tennessee corporation, with

  its principal place of business at 1 I 1 Westwood Place, Suite 400, Brentwood, Tennessee 37027,

• which is registered to do business in Florida and is doing business in Florida. •

          25.     AMERICAN RETIREMENT CORPORATION conducted and engaged in

  business activities within the State of Florida; engaged in substantial and not isolated activities

  within the State of Florida; and purposely availed itself of the privileges of the State of Florida,

  through its ownership of, leasing of, operation of, management of, and/or consultation with nursing

  homes, including SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

  within the State of Florida. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

  RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

          26.     AMERICAN RETIREMENT CORPORATION committed tortious acts against

  DONALD J. JACK in the State of Florida. Each tortious act is specifically alleged in the

  subsequent counts. Accordingly, pursuant to section 48.193, Florida Statutes, AMERICAN

  RETIREMENT CORPORATION is subject to the jurisdiction of the courts of the State of Florida.

          27.     AMERICAN RETIREMENT CORPORATION is an entity that operated,

  managed, controlled and oversaw SEMINOLE PAVILION REHABILITATION AND NURSING

—SERVICES during DONALD J. JACK's residencY.

          28.-    LIFE CARE SERVICES, LLC is an active Iowa limited liability company, with its

  principal place of business at 400 Locust Street, Suite 820, Des Moines, Iowa 50309, which is

  registered to.do business.in _Florida and is doing.business.in . Florida.

          29.     LIFE CARE SERVICES, LLC served as a management company for SEMINOLE

  PAVILION REHABILITATION AND NURSING SERVICES during DONALD J. JACK's

  residency.



                                                     7
         30.     LIFE CARE SERVICES, LLC conducted and engaged
                                                           _ _ in business
                                                                      _    activities within

 the State of Florida; engaged in substantial and not isolated activities within the State of Florida;

 and purposely availed itself of the privileges of the State of Florida, through its ownership of,
   _
 leasing of, operation of, management of, and/or consultation with nursing homes, including

 SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, within the State of

Florida. Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC

 is subject to the jurisdiction of the courts of the State of Florida.

         31.     LIFE CARE SERVICES, LLC committed tortious acts against DONALD J. JACK

 in the State of Florida. Each tortious act is specifically alleged in the subsequent counts.

Accordingly, pursuant to section 48.193, Florida Statutes, LIFE CARE SERVICES, LLC is subject

 to the jurisdiction of the courts of the State of Florida.

         32.     CYNTHIA AYALA was at all material times hereto a resident of the State of

Florida and the Administrator at SEMINOLE PAVILION REHABILITATION AND NURSING

 SERVICES.

         33.     CYNTHIA AYALA conducted and engaged in business activities within the State

 of 'Florida; engaged in substantial and not isolated activitieS within the State -of Florida; and

 Ourposely:avdiled herself of the privileges of the State of Florida, through her management of,

operation of, control of, and/or consultation with SEMINOLE PAVILION REHABILITATION

AND NURSING SERVICES, within the State of Florida. Accordingly, pursuant to section 48.193,

. Florida. Statutes, CYNTHIA. AYA LA is_subject. to .the.jurisdiction of the courts of_the State of _

Florida.

         34.     CYNTHIA AYALA committed tortious acts against DONALD J. JACK in the

State of Florida. Each tortious act is specifically alleged in the subsequent counts. Accordingly,



                                                    8
pursuant to section 48.193, Florida Statutes, CYNTHIA AYALA is subject to the jurisdiction of
                                                • • -          -       • ---      - -•

the courts of the State of Florida.

                                      FACTUAL ALLEGATIONS

          35.   In December 2019, the government in Wuhan, China, confirmed that health

authorities were treating clusters of cases of suspected pneumonia that appeared to be viral in

origin.

          36.   On or about January 30, 2020, the World Health Organization declared a Public

Health Emergency of International Concern after the outbreak of the 2019 coronavirus disease.

          37.   On February 11, 2020, the World Health Organization announced an official name

for the new disease — coronavirus disease 2019, abbreviated as COVID-19.

          38.   COVID-19 is an infectious virus that attacks the respiratory system of its human

host. The elderly, medically fragile, and those with compromised immune systems are particularly

susceptible to fatality due to COVID-19.

          39.   On or about February 29, 2020, the Centers for Disease Control and Prevention

("CDC") released a statement regarding the first confirmed death in the United States from the

coronavirus. In addition to the first confirmed death, the CDC reported that the public health

officials in the state of Washington had also reported two additional hospitalized patients—two of

which were from a long-term care facility where one was a health care worker — who had tested

presumptive-positive for the virus that causes COVID-19. In addition, the CDC reported that

additional residents and staff of the long-term care facility had not_yet been tested but were either

ill with respiratory symptoms or hospitalized with pneumonia of unknown cause.

          40.   On or about March 1,2020, in response to positive cases of COVID-19 in Florida,

Governor Ron DeSantis issued Executive Order 20-51, directing the Florida Department of Health

to declare a Public Health Emergency.

                                                 9
       41.      On or about March 4, 2020, Defendants, via various websites, represented to the
                                                                 -
staff, residents, and relatives that Defendants were taking action to address COVID- I 9 concerns

such as:

             a) Providing consistent updates and communication to those who live and work in the

                community.

             b) Following evidence-based precautions that align with guidelines provided by

                the CDC.

             c) Reviewing response measures to ensure the community is organized and ready if

                the virus impacts the community or the surrounding area.

       42.      On or about March 9, 2020, the Governor of Florida declared a state of emergency

existed in Florida.

       43.      On March 11, 2020, the World Health Organization declared COV1D-19 a global

pandemic.

       44.      On or about March 13, 2020, the Governor of Florida ordered all Florida" nursing

home facilities to lock down and implemented a visitation ban in an effort to mitigate the risk to

Florida's most vulnerable population to COVID-19, Vvhich is FlOrida's elderly population (i.e. over

the age of sixty-five (65)) and particularly those who have underlying medical conditions such as

cancer, chronic lung disease, moderate-to-severe asthma, serious heart conditions,

immunocompromised status, diabetes, severe obesity, renal failure and liver disease.

      _45. _ On or about March 15,_2020,_Defendants, .via their shared_ website,. represented to

the staff, residents, and relatives that Defendants were continuing to take action to address COVID-

19 concerns such as:

             a) Continuing to follow the guidance from both the CDC and local health authorities.



                                                10
                    Increasing the frequency and rigor of cleaning and sanitizing common community

                   areas.

                c) Reviewing emergency preparedness and response program.

                d) Coordinating best practices and across their large partner network.

                e) Providing all residents and their families with the most up-to-date guidance from

                   the CDC.

            • f) Staying in communication with local health officials.

          46.      Despite Defendants' representations to the staff, residents, and relatives,

   Defendants failed to adequately take action to address COVID-19 concerns and failed to comply

   with their own procedures by, among other things:

                a) Failing to supply or require staff to wear Personal Protective Equipment ("PPE");

                b) Allowing asymptomatic staff who had been exposed to COV1D-19 to continue

                   working at the Facility;

                c) Failing to provide staff, residents, and their families with consistent updates and

                   communication regarding the risk of COVID-I9 and of COVID-I9 positive cases

                   at the Facility; and,

                d) Failing to implement an adequate emergency preparedness and response program.

          47.     • On or about April 2, 2020, at the age of seventy-five (75), DONALD J. JACK

   admitted himself to SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES

_ (the_"Facility").for short-term rehabilitation .for generalized weakness as he.merely needed to gain

   strength to receive chemotherapy for his recent diagnosis of Hodgkin's Lymphoma.
       48.     Upon admission, Defendants documented that DONALD J. JACK had various

diagnoses including, but not limited to, Hodgkin's Lymphoma, Type II diabetes, and abnormality

of albumin.

       49.     Due to his age and underlying medical conditions, Defendants knew DONALD J.

JACK was one of the residents most vulnerable to COVID-19.

       50.     Although Defendants were on high-alert for COVID-19 since January 2020 and of

the residents' vulnerability, Defendants, consistent with their business practice of placing profits

over residents, disregarded the safety of DONALD J. JACK and the other residents by failing to

implement adequate protocols to minimize the risk and spread of COVID-19 and by failing to

implement adequate care, services and infection control at the Facility.

       51.     Defendants' acts and omissions included, but were not limited to:

               a.      Failing to properly use residents' funds;

               b.      Failing to have an adequate emergency preparedness plan in place to keep

                       residents safe from emerging infectious diseases like COVID-19;

               c.      Failing to implement adequate protocols to minimize the risk and spread of

                       COVID-19;

               d.      Failing to irnplement an adequate system- for preventing, identifying,

                       reporting, investigating, and controlling infections and communicable

                       diseases for all residents and staff;

                    ._ Failing to immediately_notify the_authorities,.staffyresidents, and .relatives

                       of the potential dangers of COVID-19 and of the COVID-19 positive cases

                       at the Facility;

               f.      Forcing staff to reuse PPE;




                                                 12
              g.Failing to _supply proper masks and gowns for weeks causing many staff

                          members to resort to providing their own homemade facial coverings not

                          medically graded to protect against the virus;-

                          Failing to follow and/or adhere to the standards and protocols set out by the

                         CDC and other state and local authorities related to infection control and

                         prevention;

                          Failing to communicate the outbreak to the authorities and avail themselves

                         of the available PPE;

              j.         Failing to implement safety protocols, such as disinfecting many common

                         areas, to minimize the spread of the virus;

              k.          Failing to provide adequate staff in number and training;

              I.         Failing to be forthcoming and adequately share information regarding the

                         outbreak at the Facility with employees, residents and their relatives.

              m.         Reducing basic cleaning practices for which the residents paid for;

              n.         Permitting widespread safety failures, such as inadequate staff and

                         equipment, increasing the risk of injury or death during an emergency such

                         as the pandemic;

              o:-        Failing to have adequate management oversight; and,

              p.         Permitting asymptomatic staff who had been exposed to COVID-19 to

             ....  .........continue to.work at.the Facility and interact.with residents.. .

       52.    As a result of Defendants' acts and omissions and total disregard for the residents,

the Facility experienced systemic failure and became the center of the COVID-19 outbreak in

Pinellas County.



                                                    13
        53.     To date, at least 25 deaths of residents and staff resulting from COVID-19 are

linked to this single Facility.

        54.     The Facility's first-confirmed case of a resident with COVID-19 was a male

resident that was hospitalized on April 5, 2020, and tested positive on April 9, 2020, for COV1D-

19. The resident then died on April 10, 2020.

        55.     Although the Facility had its first confirmed case of COVID-19 on April 9, 2020 —

approxirriately seven days after DONALD J. JACK Was adMitted to the Facility — and first

confirmed death on April 10, 2020, Defendants failed to be forthcoming in sharing this information

with employees, residents, their relatives, and the public.

        56.     Rather, despite having difficulty managing the rapid outbreak, Defendants waited

approximately a week to disclose to the public the first confirmed COVID-19 case. Defendants'

delay in reporting delayed assistance with the much need PPE available through the county.

        57.     Defendants' staff were kept in the dark by Defendants and did not know about the

gravity of the outbreak until the media reported the transfer of residents on or about April 15, 2020.

        58.     Likewise, family members and advocates have sounded alarms about the delays in

residents and the public being informed about the outbreak as families are learning more about the

outbreak ftlorn-ihe-media than fromDefendants who are keeping everyone in the dark.

        59.     Despite the gravity of the outbreak, Defendants failed for weeks to provide

adequate gowns and masks for staff.

                Defendants!. staff. feared fortheir.safety because protocols were not in place to

minimize virus spread such as providing proper PPE and disinfecting common areas. As a result,

staff began quitting and resident care deteriorated even further as staff quit and supplies shrank.




                                                 14
       61.     On or about April 16, 2020, the Facility received laboratory results confirming

DONALD J. .1*ACk was positive for COVID-19.

       62.     By April 16, 2020, approximately 30 residents and staff members at the community

had tested positive for COVID-19 and by April 17, 2020, two additional residents had died.

       63.     Defendants were reluctant to transfer residents to hospitals, but began to transfer

mass amounts of residents on or about April 16, 2020, when they became overwhelmed by the

Outbreak.

       64.     On or about April 17, 2020, after intervention from the Florida Department of

Health and after nearly 60 residents were transferred to area hospitals who had either tested

positive (or were presumed positive) for COVID-19, Defendants transferred all remaining

residents at the Facility, including DONALD J. JACK, to local hospitals to allow Defendants and

the Florida Department of Health to completely reset the Facility's infection control practices,

decontaminate the site, and provide additional training for staff.

       65.     In a span of eight days, from the first confirmed diagnoses to the mass evacuation

on April 17, 2020, a total of 95 residents were removed from the Facility and three had died.

       66.     On April 21, 2020, only five days after being diagnosed, DONALD J. JACK passed

away as a result of COVID-19, Which he contracted at- the Facility due to Defendants' acts and

omissions.

       67.     Based upon the acts and omissions described above, as well as numerous reports

from Defendants' own.staff,Defendants, who were focused on their own.self-interests and putting

profits over the well-being of the Facility's residents in reckless disregard for the residents' safety

and well-being, were ill-prepared to protect the residents, including DONALD J. JACK, from

emerging infectious diseases like COV1D-19.



                                                  15
          68.    In fact, Defendants have a history of insufficient infection control practices and
              .     _
  have been on notice of this problem since at least February 9,2018, when the Facility was cited

  by the Department of Health for failing to have a program in place to prevent the development and

  transmission of communicable diseases and infections.

          69.    The Department of Health cited the Facility again on March 15, 2019, for failing to

  provide and implement an infection prevention and control program to help prevent the

• development and transmission of communicable diseases and infections. Notably, the Department

  of Health found that the staff members failed to use PPE when providing care to a resident on

  contact isolation precautions.

          70.    Defendants' acts and omissions, with knowledge of their history of failing to

  provide and implement an adequate infection prevention and control program and in the face of

  the grave danger faced by DONALD J. JACK and the other residents of contracting COV1D-19,

  were so reckless or wanting in care that it constituted a conscious disregard or indifference to the

  life, safety or rights of by DONALD J. JACK and the other residents exposed to Defendants'

  conduct.

                                   CORPORATE BACKGROUND

          71. — _BROOKDA-LE SENIOR LIVING, 1NC.- was fo-rmed in June 2005 fof.the purOose --

  of combining two leading senior living companies, Brookdale Senior Living Communities, Inc.

  and Alterra Healthcare Corporation. Both companies had been operating independently since the

 .198(1's:.

          72.    Approximately one year after its formation, BROOKDALE SENIOR LIVING,

  INC. acquired another senior living community operator, AMERICAN RETIREMENT

  CORPORATION, which had been independently operating since 1978. The acquisition of




                                                  16
    AMERICAN RETIREMENT CORPORATION made BROOKDALE SENIOR LIVING, INC.
                                                            _
    the largest operator of senior living facilities in the United States.

               71    On or about July 20, 2007, BROOKDALE SENIOR LIVING, INC., through

    AMERICAN RETIREMENT CORPORATION, purchased SEMINOLE PAVILION

    REHABILITATION AND NURSING SERVICES.

               74.   BROOKDALE SENIOR LIVING, INC. is the parent company and long term care

    operator of hundreds of various senior living housing and service alternatives including retirement

    centers, assisted living facilities, skilled nursing facilities and continuing care retirement

    communities also known as CCRCs throughout the country including SEMINOLE PAVILION

    REHABILITATION AND NURSING SERVICES.

               75.   BROOKDALE SENIOR LIVING, INC. owns, operates, and manages its facilities

    using the same officers and directors to control and operate all of its agents and subsidiaries.

    BROOKDALE SENIOR LIVING, INC. operates its facilities by centralizing its management and

    oversight of operations from a "national platform."

               76.   SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES is

    part of a larger CCRC, known as Freedom Square of Seminole ("Freedom Square"), which offers

-   a full -              of care. the Freedom Square campus includes independent living -

    accommodations, an assisted living facility, and two skilled nursing facilities, one being

    SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES. Freedom Square

. offers both rental and what is known as "Life Care" programs. The rental program operates on a

    monthly rental fee basis, with no entry fee. The Life Care program is secured with an entry fee
                                                                                     f

    purchase to cover the cost of future accommodations and health care services.




                                               — 17
        77.     BROOKDALE SENIOR LIVING, INC. advertised that the CCRCs allow a

resident to "age in place" as it offered a retirement community with opportunities for independent

living, assisted living and nursing home care. In theory, a person could spend the rest of his or her

life in a CCRC, moving between levels of care as needed. In reality, CCRCs require hefty buy-ins,

which could include the price of one's home, potentially committing that individual to the CCRC

regardless of the quality care they receive. In 2015, CCRCs were responsible for almost 20% of

BROOKDALE SENIOR LIVING, 1NC.'s total senior living capacity.

        78.     In 2014, in an effort to grow revenue, BROOKDALE SENIOR LIVING, INC.

entered into an agreement with a real estate investment trust ("REIT"), HCP, to create a new

business model for certain preexisting facilities. Together, the companies restructured these

facilities with the intent to make a profit by releasing equity, increasing occupancy, increasing

monthly service fees, and controlling operating expenses. SEMINOLE PAVILION

REHABILITATION AND NURSING SERVICES was included in this restructure.

        79.     The new business model, in part, involved the restructuring of currently owned

facilities by creating new companies for no legitimate purpose other than to avoid liability for

shoddy risk management. In effect, Defendants took a legitimately named company; broke it into

pieces; saddled. it r w- ith tremendous liabilities; and sucked out all the Cash. This restructuring

involved the ostensible separation of the real estate on which the facilities sit from the operator of

the facility itself. This model, known as the "Propco-Opco" structure, required the formation of

.two.new_entities to takeover the.pre-.existing_one: the realestate.company, or the.so-called_landlord

("Propco"), and the facility operator, or the so-called master tenant ("Opco"). At the closing, the

"Opco" entity engaged an affiliate of BROOKDALE SENIOR LIVING, INC. to manage the

owned and leased community pursuant to a management agreement.



                                                 18
                80.     On or about August 29, 2014, at or about the same time that BROOKDALE

        SENIOR LIVING, INC. and HCP partnered to increase revenues and created the Propco/Opco

        entities, BROOKDALE SENIOR LIVING, INC. filed a change of ownership application with the

        State- of Florida.

                81.     After the change in ownership, a new company, Defendant CCRC OPCO -

        FREEDOM SQUARE, LLC, the "Opco" or operating entity, was also created. CCRC OPCO -

        •FREEDOM SQUARE, LLC became the new licensee of SEMINOLE PAVILION

        REHABILITATION AND NURSING SERVICES and the entity saddled with liabilities.

                82. BROOKDALE SENIOR LIVING, INC. and HCP jointly own CCRC OPCO

        Ventures, LLC, which owns one hundred percent of CCRC OPCO-FREEDOM SQUARE, LLC.

    •           83.     CCRC OPCO-FREEDOM SQUARE, LLC entered into a management agreement

•       with another- BROOKDALE SENIOR-- LIVING, INC. subsidiary, -BKD TWENTY-ONE

        MANAGEMENT COMPANY, INC., to own, operate, manage and/or control SEMINOLE

        PAVILION REHABILITATION AND NURSING SERVICES and other nursing home facilities

        in Florida.

•               84-. — —BM). TWENTY-ONE MANAGEMENT 'COMPANY, INC. aSsumed certain —

        dutie aria. obliiatiOns toWards residents to manage the day-to-day operations of SEMINOLE

        PAVILION REHABILITATION AND NURSING SERVICES. The centralized corporate

        functions include financing, accounting, human resources, marketing, training, regulatory, affairs,

        purchasing food. and. supplies, asset. management, _extensive . pol icy _and procedure manuals and

        extensive quality control programs.

                85.     BROOKDALE SENIOR LIVING, 1NC.'s and FICP's quality control measures

        include community inspections conducted by corporate staff on a regular basis. BROOKDALE



                                                        19
 SENIOR LIVING, INC. and HCP focus on increasing occupancy and increasing revenues to

 attempt to generate a profit to support the expansion of their brands through the acquisition of

 additional facilities.

         86.     Upon information and belief, on or about January 31, 2020, HCP acquired

 BROOKDALE SENIOR LIVING, INC.'s interest in SEMINOLE PAVILION

 REHABILITATION AND NURSING SERVICES and transitioned management of SEMINOLE

 PAVILION REHABILITATION AND NURSING SERVICES to LIFE CARE SERVICES, LLC.

 However, documents reflecting the change of ownership and/or management have not been filed

 with and/or made available by the State of Florida.

                          CORPORATE CONDUCT AND JOINT VENTURE

         87.   Based upon information and belief and the allegations stated above, at all relevant

 times, CCRC OPCO-FREEDOM SQUARE, LLC, BROOKDALE- SENIOR LIVING, INC.,

 AMERICAN RETIREMENT CORPORATION, BKD TWENTY-ONE MANAGEMENT

 COMPANY, INC., HCP, and LIFE CARE SERVICES, LLC, engaged in a joint venture to own,

 operate, and manage nursing homes including SEMINOLE PAVILION REHABILITATION

-AND NURSING SERVICES-. Each- can bind the other and-each has the authority to participate in

 the- bther's-profiffind the obligation to share in each other's losses.

         88. Money paid by and on behalf of the nursing home residents was the sole source of

 revenue for the multiple layers of companies created by Defendants to distribute and share the

 revenues generated at SEMINOLE PAVILION REHABILITATION                        AND NURSING

 SERVICES and the other nursing homes in Florida.

         89. Defendants managed themselves, governed and controlled the care and services

 provided to DONALD J. JACK, and, by virtue of their management and control, each of them,



                                                  20
_ voluntarily and intentionally assumed responsibility for and provided supervisory and custodial
   _                 _

   services to DONALD J. JACK while he was a resident of the Facility.

           90. At all relevant times, Defendants held themselves out as being competent, capable, and

   qualified to provide necessary services to their residents, including DONALD J. JACK, and to

   protect and keep all residents, including DONALD J. JACK, safe from harm, including from the

   spread of infectious diseases.

           91. At all relevant times, Defendants owned, operated, and/or managed SEMINOLE

   PAVILION REHABILITATION AND NURSING SERVICES, and furthermore participated in,

   authorized, and/or directed the conduct of SEMINOLE PAVILION REHABILITATION AND

   NURSING SERVICES and its respective agents and employees. Defendants are therefore directly

   liable for their own negligence, recklessness, and other tortious conduct, in the hiring and

   management of their agents and employees.

           92. Defendants, through their managers, directors, presidents, vice-presidents, executive

   officers, and other agents, directly oversaw, managed, and/or controlled all aspects of the operation

   and management of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES,

   including budgdihg,- staffitig; . tediffifig;'.polity and -fifOcaliffeS hfahhal(Oc lice-nihgc - aecoihits

   payable, accounts receivable, general accounting, cash management,- capitalization, and -profit and —

   loss margins.

           93. Defendants employed all of those persons who attended to and provided care and

   services. to DONALD_ J. JACK while he was a resident. at SEMINOLE. PAVILION._ .

   REHABILITATION AND NURSING SERVICES, and employed those persons in management

   and supervisory positions who directed the operations of the Facility, all of whom were acting

   within the course and scope of their employment.




                                                     21
         94. Defendants, through their administrators, directors, and managing agents, condoned

 and ratified all the conduct at the Facility.

         95. At all relevant times, Defendants were the knowing agents and/or alter-egos of one

 another, and are therefore vicariously liable for the acts and/or omissions of each other, their agents

 and employees, as is more fully alleged herein. Moreover, at all relevant times, Defendants were

 acting within the course and scope of their employment and/or agency relationship.

         96. Defendants' acts and omissions, as alleged herein, were done in concert with each other

 and pursuant to a common design and agreement to accomplish a particular result: maximize

 profits at the Facility, despite the result being that the Facility was underfunded and understaffed.

         97. Defendants, by their acts and omissions as alleged herein, operated pursuant to an

 agreement, with a common purpose and community of interest, with an equal right of control, and

 subject to participation in profits and losses such that they operated a joint enterprise or joint

 venture, subjecting each of them to liability for the acts and omissions of each other.

         98. Defendants were responsible for the organization and administration of the Facility,

 and had duties to, inter alia, ensure the Facility complied with applicable statutes and regulations,

 and adopt p011eie abd-prodedhres fOF the Facility.

         0-9: Ea-ch Defendant knOwingly disregarded their resPectiv-edLitiesr ind obligations owed to

 DONALD J. JACK and the other residents through both acts and omissions. Those duties to

 reasonably operate, manage, own and/or control SEMINOLE PAVILION REHABILITATION

...AND.NURSING SERVICES..included:.the d.uty to ensure..the facility.had.sufficient.staff.who were

 trained to meet DONALD J. JACK's needs and the needs of the other residents; the duty to seek

 out and correct deficiencies or lapses in the care provided to DONALD J. JACK and other

 residents; the duty to provide a safe environment for DONALD J. JACK and the other residents;




                                                  22
 the duty to investigate the cause of preventable incidents that occurred at SEMINOLE PAVILION

 REHABILITATION AND NURSING SERVICES; the duty to sufficiently staff SEMINOLE

 PAVILION REHABILITATION AND NURSING SERVICES to ensure DONALD J. JACK's

 needs and the needs of the other residents were met; and the duty to not divert funds from the

 Facility when the funds are intended for the care and maintenance of the residents, including

 DONALD J. JACK.

         100.    Defendants did not meet their duties and obligations. Although investigations and

 surveys by various agencies found deficiencies in the provision of care provided to the residents

 of SEMINOLE PAVILION REHABILITATION AND NURSING SERVICES, each Defendant

 failed or refused to correct or address these issues addressed in the investigations and surveys.

         101.    Defendants required or encouraged the admission of residents with higher acuity

 levels without providing the staff necessary to care for the residents. The staff was lacking in

 supervision, number, and skill.

         102.    Further, in their efforts to maximize profits, Defendants intentionally and/or

 recklessly mismanaged staffing levels and supply levels below the levels necessary to provide

 adequate cai'd and services to the residents and implemented practices'in -disregard to the safety of

 the pltient§.

         103.    Defendants each-have extensive experience in the nursing home industry. This

 experience provided each Defendant the knowledge and experience to know that additional staff

. and. more skilled staff were necessary.to. meet.the_needs.of residents. Even with this knowledge,

 Defendants failed or refused to ensure that the residents received adequate and appropriate care

 while in their nursing home.




                                                 23
         104.   Defendants, pursuant to their scheme to place "profits over residents" at the

Facility, ratified the conduct of each Defendant in that they mandated, were aware of, and/or

accepted inadequate staffing, inadequate training, inadequate supplies and inadequate practices at

the Facility, and were aware that such inadequate staffing, inadequate training, inadequate

supplies, and inadequate practices could lead to injuries and damages for the residents.

         105.   In conceiving of, implementing and carrying out their profits over residents scheme,

Defendants willfully, knowingly, recklessly and with conscious disregard for DONALD J. JACK's

health, safety and welfare, acted in a manner that was malicious, reckless and oppressive.

         106.   Further, Defendants implemented and carried out the profits over residents scheme

with knowledge that such a scheme was designed to exploit elderly/senior citizens, a class

expressly deemed by the Legislature of the State of Florida as a vulnerable segment of the

population who require a heightened level of protection.

         107.   As a result of Defendants' scheme and acts and omissions, DONALD J. JACK was

victimized by Defendants and suffered damages as alleged herein.

                     COUNT I: BREACH OF FIDUCIARY DUTY
  As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

         108.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

above.

         109.   This is a claim that presents a theory of recovery based upon the presence of a

fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, exclusive of and in addition to all rights encompassed in negligence or Chapter 400, Fla.

Stat.

         110.   This is a claim that does not arise out of negligence or a violation of DONALD J.

JACK's nursing home resident rights.


                                                24
        III. Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

owed DONALD J. JACK a duty to act for or to advise him on matters within the scope of their

specialized relationship.

        112.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

and DONALD J. JACK had a developed a special relationship of trust and confidence.

        113.   That trust and confidence started when DONALD J. JACK was admitted to the

Facility because he was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being. Specifically, DONALD J. JACK needed assistance with multiple Activities of Daily Living

("ADLs") and twenty-four hour skilled nursing care.

        114.   As a result of his varying infirmities and advanced age, at all times material,

DONALD J. JACK was incapable of independently providing for all of his necessary care and

services to attain and maintain the highest practicable physical, mental, and psychosocial well-

being; and DONALD J. JACK was incapable of dealing with Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA on equal terms, and was incapable of

  gagingii ariy-arm's length ttlatiorihips with CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA.

        115.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

directly solicited DONALD J. JACK's confidence and trust in attempts to convince him to reside

and remain at the.Facility, and further represented.through the words and acts.of its employees and..

agents that it would undertake to provide all of the necessary care and treatment to attain and

maintain the highest practicable physical, mental, and psychosocial well-being for DONALD J.

JACK.



                                                25
           116.    Additionally, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

    CYNTHIA AYALA specifically undertook the non-delegable duty of protecting DONALD J.

    JACK's residents' rights vested in him by virtue of Florida law, including the right to be treated

    courteously, fairly, and with the fullest measure of dignity and the right to privacy. See NME

    Properties, Inc. v. Rudich, 840 So. 2d 309 (Fla. 4th DCA 2003).

           117.    As a result of Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and

    CYNTHIA AYALA's solicitation of DONALD J. JACK's trust and confidence, DONALD J.

    JACK placed a special confidence and trust in CCRC OPCO - FREEDOM SQUARE, LLC and

    CYNTHIA AYALA to provide for all of his necessary care and services to attain and maintain the

    highest practicable physical, mental, and psychosocial well-being. And DONALD J. JACK relied

    on CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to provide such care and

    services.

           118.   DONALD J. JACK further placed special confidence and trust in Defendants

    CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA to protect and provide for

    his individual rights as established in section 400.022, Florida Statutes, and to further act as a

-tilistee for all- Of his personal ptoperty that he'posSes-sed on the. pretnises. bf the 'Facility as Well as

. his personal funds and income, which on information and belief, he placed in an account

    maintained by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA on his behalf

 and for his benefit.

         ._.1.19.. __Defendants CCRC.OPC0.-EREEDOM. SQUARE, .LLC and CYN.T.HIA.A.YALA

    undertook to act as trustees to protect and preserve DONALD J. JACK's personal property,

    including his clothing and other valuable personal property, as well as to maintain and manage his

    personal funds and income in a trust account for DONALD J. JACK's benefit. Correspondingly



                                                     26
 CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA voluntarily assumed non-

 delegable duties to provide DONALD J. JACK quarterly accounting of any and all transactions

 made utilizing funds from his trust account, to maintain and safeguard the funds therein and to

 only utilize said funds for authorized transactions, and to avoid commingling of his funds with the

 funds of any other person or those of CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

 AYALA.

         120.    Furthermore, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

 CYNTHIA AYALA knowingly and voluntary entered into a highly confidential relationship with

 DONALD J. JACK. CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

 voluntarily assumed extensive legal duties to comply with all of the confidentiality requirements

 enumerated in the Health Insurance Portability and Accountability Act of 1996 ("HIPAA")

 regarding DONALD J. JACK, a confidentiality similar in scope and duration to that attendant to

 attorney-client and doctor-patient relationships.

         121.    Moreover, Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

 AYALA assumed duties to protect and preserve DONALD J. JACK's Federal and State privacy

 rights;inauding those privacy rights enshrined in Article I, Seotion 23 ofthe FlOrida-Cobstitution.

         122. . .Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

 accepted the special •confidence and trust placed upon them by DONALD J. JACK by admitting

 him into the Facility and by, among other things: explicitly assuming, through words and actions,

_.the. various.duties.described.in the preceding. paragraphs regarding..pro.tectin.g his confidentiality,

 protecting his privacy, protecting his individual liberties, and managing and safeguarding his

 personal finances; assuming responsibility and control over every aspect of DONALD J. JACK's




                                                   27
day-to-day
  _        life :•
                 and
                   _voluntarily
                     _          undertaking responsibility for the specific level
                                                                              _   of care,
                                                                                      _ _ protection,

supplies and services that would be provided to DONALD J. JACK.

        123.     Defendants CCRC OPCO- FREEDOM SQUARE, LLC and CYNTHIA AYALA

individually and collectively controlled, oversaw and orchestrated every single aspect of

DONALD J. JACK's existence, from the mundane (such as the clothing worn) to the vital (such

as determining when and how healthcare would be provided, as well as how much food and water

DONALD J. JACK could consume).

        124.    DONALD J. JACK was solely and particularly dependent upon the employees,

officers, directors, and agents of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA to provide for his daily care, protection, services, supplies and personal and
                                                                    .       _

intimate needs.

        125. • Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

developed a special relationship with DONALD J. JACK by virtue of: the nature of the care and

services provided; the trustee-beneficiary relationship they maintained toward him regarding his

personal property and finances; the Federal and State confidentiality and privacy laws CCRC

OPCO - FREEDOM SQUARE, LLC undertook to comply with DONALD J. JACK; the superior

kricil;v1ed, , skill and "abilities of Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

CYNTHIA AYALA; the enormous disparity of power and unequal-bargaining Defendants CCRC

OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA enjoyed DONALD J. JACK; and

.his_inability.to.care.for and.provide.for himself........   •-• ...... •••

        126. This special confidential relationship allowed Defendants CCRC OPCO -

FREEDOM SQUARE, LLC and CYNTHIA AYALA, to occupy a position of confidence toward

DONALD J. JACK, which required fidelity, loyalty, good faith, and fair dealing by CCRC OPCO



                                                    28
= FREEDOM SQUARE, LLC and CYNTHIA AYALA. Additionally, CCRC OPCO - FREEDOM_ _

SQUARE, LLC and CYNTHIA AYALA had a duty to refrain from engaging in self-dealing.

       127.    At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA were each a fiduciary of DONALD J. JACK based on

the special relationship between the parties.

       128.    At all times material to this action, Defendants CCRC OPCO - FREEDOM

SQUARE, LLC and CYNTHIA AYALA owed fiduciary duties to DONALD J. JACK. See

Greenfield v. Manor Care, Inc., 705 So. 2d 926 (Fla. 4th DCA 1997).

       129.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

acted and failed to act in material breach of their fiduciary duties owed to DONALD J. JACK.

Instead Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA acted in

ways to promote their own interests and in contravention of the interests of DONALD J. JACK.

       130.    Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA

breached and violated its relationship Of trust, special confidence, and its fiduciary obligations and

duties owed to DONALD J. JACK by:

               a) 'Failing to take adequate action to addreSS'COVIDL19 -cOncerns at the Fdcility.

                   as Defendants:represented they Would thrbugh their various.websites as alleged

                   in paragraphs 41 and 45;

               b) Failing to take adequate action to minimize the risk and spread of COVID-19

                 ...and.implem.e.nt. adequate care, .services, and. infection control at the Facility as..

                   alleged in paragraphs 46, 50 and 51; and

               c) Knowingly and recklessly engaging in the profits over residents scheme

                   described herein in an effort to increase the profitability of the Facility, for the



                                                 29
                    benefit of Defendants and their joint venture, and at the expense of and to the

                    direct detriment of DONALD J. JACK.

         131.   In violating their fiduciary • obligations and duties to DONALD J. JACK,

  Defendants CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA knew that

  DONALD J. JACK would suffer harm, including but not limited to the daily injuries resulting

  from the daily invasion of rights vested in DONALD J. JACK, as well as economic harm.

         132.   Defendants CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA

  AYALA's breaches of the duties owed to DONALD J. JACK were the legal cause of the loss,

  injury and damages suffered by DONALD J. JACK. As the direct and proximate result of

_ Defendants_CCRC.OPCO ,FREEDOM SQUARE, LLC!s.and CYNTHIA AYALA's breaches of

  the duties owed to DONALD J. JACK, DONALD J. JACK contracted COVID-19 and

 subsequently died from-this infection.

         WHEREFORE, Plaintiff demands judgment against Defendants CCRC OPCO -

  FREEDOM SQUARE, LLC and CYNTHIA AYALA for damages, unjust enrichment, restitution,

 disgorgement of profits, consequential damages, and further demands a trial by jury together with

 such other and further relief as this Court deems appropriate.

        COUNT II: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY
  As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
 MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                          LIFE CARE SERVICES, LLC

        133.    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 132.

        134.    This is a claim that presents a theory of recovery based upon the presence and

 breach of a fiduciary duty owed by Defendants CCRC OPCO - FREEDOM SQUARE, LLC and

 CYNTHIA AYALA, aided and abetted by Defendants, exclusive of and in addition to all rights

 encompassed in negligence or Chapter 400, Fla. Stat.


                                                 30
          135.      As set forth in Count I above, CCRC OPCO - FREEDOM SQUARE, LLC and

   CYNTHIA AYALA owed and breached fiduciary duties owed to DONALD J. JACK.

          136.      Defendants are related entities within a single enterprise or joint venture.

          137.      Defendants had actual knowledge of DONALD J. JACK's fiduciary relationship

   with CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA by virtue of its close

   corporate relationship to CCRC OPCO - FREEDOM SQUARE, LLC.

          138.      By reason of their shared and/or common ownership, directors, officers and

   managers and/or contractual relationships, Defendants knew of the fiduciary duties CCRC OPCO

   - FREEDOM SQUARE, LLC and CYNTHIA AYALA owed to DONALD J. JACK and knew of

_ . CCRC OPCO - FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of those duties

   as described in Count I.

    --    .139. - .Defendants-knew that the residents at the Facility, including DONALD J. JACK,

   were incapable of independently providing their own necessary care and were solely and

   specifically dependent upon the employees, officers, directors, and agents to provide for their basic

   daily care, protection, services, supplies, and personal and intimate needs.'

          140.. Defendants knowingly participated and provided substantial. -assistance and

   eneouragement -to CCRC OPCO - FREEDOM SQUARE; LLC . and CYNTHIA AYALA in

   connection with their breach of fiduciary duties to DONALD J. JACK, as set forth in detail within

   Count 1 above.

          141. In addition to this _knowledge, Defendants aided and abetted Defendants CCRC

   OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA in their breach of fiduciary duties

   and rendered substantial assistance and encouragement for the same, by, among other things:

                       a) Engaging in the conduct set forth in detail within Count 1 above;



                                                     31
b) Exercising dominance and control over CCRC OPCO - FREEDOM

   SQUARE, LLC's revenues by regularly and repeatedly sweeping virtually

   all of the Facility's revenues into an account controlled by the joint venture

   or enterprise, and/or their designee;

c) Knowingly and intentionally taking, creating and accepting inter-company

   fees and transfers, comprised of revenues obtained from the residents and

   designed to improperly and unjustly enrich Defendants instead of allowing

   the Facility to utilize said resources effectively and efficiently to attain or

   maintain the highest practicable physical, mental, and psychosocial well-

   being of each resident,. including DONALD J. JACK, as required; .
     ._
d) Structuring and approving contracts between Defendants and CCRC OPCO

   - FREEDOM SQUARE, LLC, which Defendants knew or should have

   known would result in the diversion of Facility revenues necessary to

   provide the care and services to its residents, DONALD J. JACK;

e) Overseeing and approving CCRC OPCO - FREEDOM SQUARE, LLC's

   and CYNTHIA- AYALA's aeceptande Of mbnies- from residents, including'

   DONALD J. JACK, knowing the Facility could not provide full value of

   the care and services to meet the care and safety needs of the residents;

0 Directly or indirectly misrepresenting the nature of the relationship between

   Defendants and CCRC .0PCO _..- FREEDOM SQUARE,.. .LLC and

   CYNTHIA AYALA, in which Defendants by virtue of the common owners,

   officers and managers, controlled the business operations and working




                             32-
                      capital of the Facility and inappropriately commingled its revenues by

                      making intra-company transfers to related facilities;

                  g) Structuring the managing and operating business model for the Facility in a

                      way that constrained its ability to provide the level of care and services to

                      residents, including DONALD J. JACK, while simultaneously benefitting

                      Defendants and other upstream corporate entities; and,

                • h) Influencing, advocating, and approving CCRC OPCO - FREEDOM

                      SQUARE, LLC's and CYNTHIA AYALA's improper payments to

                      Defendants, which Defendants knew exceeded amounts a prudent and cost

                   ._ conscious buyer would pay, and which. Defendants.also knew would cause

                      the monies intended for the provision of care and services to the residents,

                  - - including DONALD J. JACK, to be depleted.

       142.    The conduct of Defendants as alleged, constitutes aiding and abetting CCRC OPCO

- FREEDOM SQUARE, LLC's and CYNTHIA AYALA's breach of fiduciary duties and subjects

Defendants to liability for the harm suffered by DONALD J. JACK.

       143.    In aiding and abetting CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA in violating fiduciary obligations and duties to DONALD J. JACK as referenced herein,

Defendants knew that DONALD J. JACK would suffer harm and injuries, including the daily

injuries flowing from the repeated breaches of fiduciary duties in which Defendants aided and

abetted.

       144.    As a result of Defendants' aiding and abetting in the breaches of fiduciary duties

by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA AYALA, Defendants were

improperly and unjustly enriched, the Facility was left without the necessary resources to function



                                                33-
in the residents' best interests, and DONALD J. JACK suffered both the injuries set forth herein

as well as economic harm.

        145.   Furthermore, as the direct and proximate result of Defendants' aiding and abetting

breaches of fiduciary duties by CCRC OPCO - FREEDOM SQUARE, LLC and CYNTHIA

AYALA, DONALD J. JACK contracted COV I D-19 and subsequently died.

        WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for damages,

unjust enrichment, restitution, disgorgement of profits, consequential damages, and further

demands a trial by jury together with such other and further_relief as.this Court deems appropriate.

           COUNT III: VIOLATIONS OF FLORIDA STATUTES 4415.1111
 As to Defendants HCP; BROOKDALE SENIOR LIVING, INC.; BKD TWENTY-ONE
MANAGEMENT COMPANY, INC.; AMERICAN RETIREMENT CORPORATION; and
                          LIFE CARE SERVICES, LLC

        146.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 3, 9,

10, 12, 15, 16, 19, 20, 23, 24, 26, 28, and 31 above.

        147.   For the purposes of this count and only this count, it is not alleged that Defendants

are a licensee or entity that established, controlled, conducted, managed or operated the Facility.

        148.   DONALD J. JACK was at all relevant times a vulnerable adult with a long-term

disability. He was seventy-five (75) years of age and was unable to perform the normal activities

of daily living or to provide for his own care or protection due to his disability.

        149.   Defendants' acts or omissions constitute exploitation of a vulnerable adult in

violation of Section 415.1111, Florida Statutes.

        150.   Defendants knew or should have known that DONALD J. JACK lacked the

capacity to consent, but Defendants obtained or used, or endeavored to obtain or use DONALD J.


                                                   34
 JACK's funds, assets or property, including Medicare and Medicaid benefits, with the intent to

 temporarily or permanently deprive DONALD J. JACK of the use, benefit or possession of the

 funds, assets, or property for the benefit of someone other than DONALD J. JACK.

         151.    The compensation Defendants received was derived from the private funds of

 vulnerable adults, including DONALD J. JACK, or from Medicaid and/or Medicare funds that

 were beneficiaries' assets, including DONALD J. JACK, which were paid to Defendants for the

 sole purpose of providing for the support and maintenance of the Facility's residents, including

 DONALD J. JACK.

         152.    Defendants received compensation that they should have known would deprive the

. Eacility_of adequate resources to provide for_the necessities_.of DONALD J. JACK's support and

 maintenance, which should have been used to, inter alia, implement a sufficient infection control

 program at the Facility and to secure sufficient PPE and supplies to prevent the spread of COVID-

 19 at the Facility.

         153.    Defendants failed or refused to effectively use DONALD J. JACK's income or

 assets for the necessities required for his support and maintenance.

         154.    Defendants' failure or refusal to effectively use DONALD J. JACK's income or

 assets as set forth herein, was the proximate cause of the losses he suffered including, but not

 limited to the use, benefit, or possession of the funds, assets or property for his benefit.

         155.    As a direct and proximate result of Defendants' acts and omissions, DONALD J.

 JACK was deprived of the use, benefit or possession of the funds, assets.or property.

         WHEREFORE, Plaintiff demands judgment against Defendants HCP; BROOKDALE

 SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;

 AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC for



                                                   35
disgorgement of profits, consequential damages, attorneys' fees and costs, pre-judgment interest,

trial by jury of all matters so triable, and such other relief this Court deems appropriate.

    COUNT IV: VIOLATION OF FLORIDA'S DECEPTIVE AND UNFAIR TRADE
                       PRACTICES ACT, 4 501.201 ET SEQ.
   As to Defendants CCRC OPCO - FREEDOM SQUARE, LLC; HCP; BROOKDALE
   SENIOR LIVING, INC.; BKD TWENTY-ONE MANAGEMENT COMPANY, INC.;
   AMERICAN RETIREMENT CORPORATION; and LIFE CARE SERVICES, LLC

         156.   Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 107

above.

         157.   Plaintiff brings this Count pursuant to the Florida Deceptive and Unfair Trade

Practices Act, section 501.201 et seq., Florida Statutes (hereinafter "FDUTPA").

     _158. Under_ EDUTPA, .`[u]rifair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce" are

unlawful.-Fla:Stat:-§ 501.204 (1).

         159.   By engaging in the above described conduct and the additional conduct described

below, Defendants engaged in unconscionable, unfair and deceptive acts and practices in violation

of FDUTPA in connection with their advertising, soliciting, providing, and offering services at the

Facility, which acts and practices Ultirriately.VictimiZed DONALD J: JACK, a senior citizen.

         160.   At all relevant tithes, Defendants, their officers, directors, and managers were

engaged in trade and commerce in Florida within the meaning of FDUTPA as Defendants

advertised, solicited, provided, and offered services to consumers and senior citizens.

         161..... At. al I relevant. times, DONALD _1 .. JACK ..was .a.."consumer!'. and "senior _citizen"

within the meaning FDUTPA as he was an individual over the age of sixty (60).

         162.   Defendants, their officers, directors, and managers marketed and advertised service

at the Facility directly to senior citizen consumers, including DONALD J. JACK, by disseminating




                                                    36
    brochures, web sites, videos, advertisements, and other information, which were prepared in part,

    by the Facility's related corporate entities.

            163.   Defendants, their officers, directors, and managers made unfair, deceptive and

    misleading representations in their advertising materials distributed to senior citizen consumers,

    including DONALD J. JACK, regarding the level of services they provided to vulnerable senior

    citizens and nursing home residents.

            164.   Defendants, their officers, directors, and managers advertised and offered their

    nursing facilities by promising to meet residents' needs, to keep them clean, comfortable and safe,

    and to provide food, water, care, and services as needed. These statements were false, deceptive,

    and misleading.

            165.   Defendants advertising materials omitted information that was material to

•   consumers, including DONALD J. JACK, by failing to disclose that DONALD J. JACK would

    experience long delays in the delivery of care and services and that he would often be deprived of

•   the care and services he required and bargained for.

            166.   Defendants, their officers, directors, and managers engaged in deceptive,

    'misleading, and Unfair practices by -representing that certain care and services were or would be

    prcivided to DONALD J. 'JACK; as documented in his care plans and assessments, when in fact

    that care-and services were never provided.

            167.   Defendants, their officers, directors and managers further promised to provide a

    clean, safe, and .sanitary..living environment thro.ughout..DONALD J. JACK!s.residency at their

    facilities, for which Defendants were handsomely paid.

            168.   Defendants affirmatively concealed material facts from DONALD J. JACK

    regarding the existence and effect of the COV1D-19 outbreak at the Facility, and led DONALD J.




                                                    37-
JACK to believe that the Facility was a safe environment, when in fact the Facility was

contaminated with COVID-19.

         169.     Defendants, their officers, directors and managers failed to appropriately manage

the real property at the Facility and failed to maintain a clean, safe, and habitable living

environment for their residents.

         170.     Defendants, their officers, directors and managers, through their deceptive,

unconscionable, and unfair acts and omissions, misled DONALD J. JACK into believing that their

facilities were properly managed, maintained, and equipped to meet his basic needs, when it was

not.

         171.     Defendants, their officers, directors and managers failed to provide DONALD J.

JACK with a living environment and premises that reciprocated the rents and other charges they

were paid for his residency.

         172.     Defendants, their officers, directors and managers caused the Facility to enter into

a lease agreement so onerous that it left Defendants without the ability to provide an adequate,

safe, decent, and clean living environment, despite promising DONALD J. JACK that he would

receive the same in exchange for the monies he paid.

         173.     Defendants' failure to provide basic care and services to DONALD J. JACK not

only violated the FDUTPA, but also degraded DONALD J. JACK, increased his risk of serious

negative health consequences, and caused him to suffer medical expenses, serious injury, and

death.     ••.......             •• ..... •-   •••   ..... •   ••


         174.     In addition to these deceptive, unconscionable, and unfair acts and omissions,

Defendants misled consumers, including DONALD J. JACK, by failing to disclose that the

Facility's related corporate entities exercised control over the Facility, by among other things: (a)



                                                       38
 restricting the ability of the Facility's managers and administrators to increase staffing levels; (b)

 supervising, and in some case, overriding the personnel decisions of the Facility; (c) creating and

 implementing company-wide policies and incentive programs; and (d) entering into agreements,

 including onerous lease and management agreements.

         175.     Defendants, their officers, directors and managers failed to provide DONALD J.

 JACK with the basic care and services he required and bargained for with respect to his use of the

 Facility's premises.

         176.    Defendants' deceptive, unconscionable, and unfair statements and practices were

 in violation of FDUTPA.

         17.7.....Defendantsdeceptiv-e, unconscionable, and unfair representations,. omissions, and

 practices were of the type that would likely mislead Florida consumers acting reasonably in the

 circumstances, to the consumers' detriment, and were particularly misleading and detrimental to

 the senior citizens and infirm residents at their Facility, including DONALD J. JACK.

         178.    DONALD J. JACK could not have detected the existence and effect of the COV1D-

 19 at the Facility or the existence of the onerous agreements, the corporate entities control over

 the Facility that led to the lack of care, .services, arid sanitary living. el-Niro-PiP
                                                                                       - ent at -the Facility:

         179.    DONALD J. JACK admitted himself to the Facility and had therefore been

 aggrieved by Defendants unconscionable, unfair and deceptive practices in violation of FDUTPA.

         180.     DONALD J. JACK sustained damages as a direct and proximate result of

.. Defendants' violations of FDUTPA...

         181.     DONALD J. JACK did not receive the benefit of the bargain, overpaid for the

 services, and suffered actual damages.




                                                       39
        182.   The damages suffered by DONALD J. JACK were directly and proximately caused

by the unconscionable, deceptive, misleading, and unfair practices of Defendants.

        183.    Defendants' violations were willful as Defendants knew or should have known that

their conduct was unfair or deceptive or prohibited by FDUTPA.

        184.    Defendants' violations are made even more reprehensible because of Defendants'

attempt to exploit senior citizens during a global pandemic for profit, while posing a serious and

direct threat to the health and safety of senior citizens such as DONALD J. JACK.

        WHEREFORE, Plaintiff demands judgment against Defendants for damages pursuant to

section 501.211(2), Florida Statutes, in an amount to be proven at trial, pre-judgment interest, post-

judgment interest, attorney's. fees ancLcourt costs as provided in section_501_2105,_Florida_Statutes,

and further demands a trial by jury, together with such other and further relief as this Court deems

appropriate.


                                             /s/ Bennie Lazzara, Jr.
                                             Bennie Lazzara, Jr., Esquire
                                             Florida Bar No. 119568
                                             Bennie@wilkesmchugh.com
                                             TPABXLStaff@wilkesmchugh.com
                                             fl@wilkesrriChiugh.com —
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                                             1 N. Dale Mabry Highway, Suite 700
                                             Tampa, FL 33609
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                                             Facsimile: (813) 286-8820
                                             Attorneys for the Plaintiff



                                                 40.
Filing #, 108550742 E-Filed 06/08/2020 05:0714 PM




                                EXHIBIT A"
   FILED 05/15/2020 14:42:42 KEN BURKE, CLERK OF THE CIRCUIT COURT AND COMPTROLLER, PINELLAS COUNTY FLORIDA

'Filing /1,10720380 E-Filed 05/08/2020 09:44:17 PM

                                                   IN THE CIRCUIT COURT FOR PINELLAS COUNTY, FLORIDA
                                                                                    PROBATE DIVISION

          IN RE: ESTATE OF                                                      Case No. 20-004321-ES
          DONALD JOHN JACK
                      Deceased.



                                                 LETTERS OF ADMINISTRATION

          TO ALL WHOM IT MAY CONCERN

                  WHEREAS, Donald.John Jack, a resident 'of 12542 82nd Ten-ace N.; Seminole, FL 33776, died

          on Apri12.1, 2020, owning assets in the State of Florida, and

                  WHEREAS,. Jessica Ginter has been 'appointed personal 'representative of the estate, of the

          decedent and has performed all aetS prerequisite to issuance of Letters Of Administration in the estate,

                  -NOW,   THEREFORE,        I,   the undersigned circuit judge, declare Jessica Gunter duly qualified

          under the laws of the State Of .Fldrida to aat AS pergonal reiNesentatime of the estate of - D-Onald.John JaCk,

          deceased, with full power- to administer the estate 'according to-JAW; to ask', demand,. sue for, recover and

          receive.the property Of the decedent; titi 'pay the debts of the•dectident as far as the.8Sets 'of the estate Will.

          permit and the-law directs; and to make distribution of the estate according to.law.

                  ORDERED in chambers, Pinellas County, Florida.
                                                                              0 15/2020 11:03:20 AM


                                                                                     rama,   iLtwriv:). eimuii AO,


                                                                                   Pamela A. M. Campbell
                                                                                       Circuit Judge




"*ELECTRONICALLY FILED 05/08/2020 09:44:16 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY.*
Filing # 109927630 E-Filed 07/08/2020 10:51:47 AM




                   IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                      INAND FOR PINELLAS COUNTY, STATE OF FLORIDA
                                     CIVIL DIVISION

           THE ESTATE OF DONALD
           J. JACK, by and through JESSICA
           GUNTER, Personal Representative,

                          Plaintiff,                           Civil Action File Number:
                                                               20-002755-CI
           v.

           CCRC OPCO- FREEDOM SQUARE,
           LLC; HCP, INC. a/k/a HCP INC. OF
           MARYLAND n/k/a HEALTHPEAK
           PROPERTIES, INC.; BROOKDALE
           SENIOR LIVING, INC; BKD
           TWENTY-ONE MANAGEMENT
           COMPANY, INC.; AMERICAN
           RETIREMENT CORPORATION;
           LIFE CARE SERVICES, LLC; and,
           CYNTHIA AYALA (as to SEMINOLE
           PAVILION REHABILITATION AND
           NURSING SERVICES),

                       Defendants.
           ________________________________________________________________________

                         NOTICE OF FILING OF NOTICE OF REMOVAL
           ________________________________________________________________________

                  COME NOW, Defendants CCRC OPCO-Freedom Square, LLC; HCP, Inc. a/k/a

           HCP, Inc. of Maryland n/k/a Healthpeak Properties, Inc.; Brookdale Senior Living, Inc.;

           BKD Twenty-One Management Company, Inc.; American Retirement Corporation; Life

           Care Services, LLC; and Cynthia Ayala, by and through their undersigned counsel, and

           hereby gives notice that it has this day filed a Notice of Removal of this action to the

           United States District Court for the Middle District of Florida, Tampa Division. By virtue
of the Notice of Removal, this action has been removed from the State Court of Pinellas

County, Florida to the United States District Court for the Middle District of Florida,

Tampa Division. A copy of the Notice of Removal, exclusive of attachments, is attached

hereto as Exhibit A.

       WHEREFORE, the State Court of Pinellas County shall proceed no further in

this action unless and until the case is remanded.

       Respectfully submitted this 7th day of July, 2020.


                                              QUINTAIROS,     PRIETO,     WOOD       &
                                              BOYER, P.A.

                                              /s/ Robin N. Khanal ________
                                              ROBIN N. KHANAL, ESQUIRE
                                              Florida Bar No.: 0571032
                                              CHRISTOPHER E. BROWN, ESQUIRE
                                              Florida Bar No.: 0071568
                                              255 S. Orange Avenue, Suite 900
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                                              Tel: (407) 872-6011
                                              Fax: (407) 872-6012
                                              RNK.pleadings@qpwblaw.com
                                              Attorneys for Defendants




                                             2
        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
           INAND FOR PINELLAS COUNTY, STATE OF FLORIDA
                          CIVIL DIVISION

THE ESTATE OF DONALD
J. JACK, by and through JESSICA
GUNTER, Personal Representative,

               Plaintiff,                          Civil Action File Number:
                                                   20-002755-CI
v.

CCRC OPCO- FREEDOM SQUARE,
LLC; HCP, INC. a/k/a HCP INC. OF
MARYLAND n/k/a HEALTHPEAK
PROPERTIES, INC.; BROOKDALE
SENIOR LIVING, INC; BKD
TWENTY-ONE MANAGEMENT
COMPANY, INC.; AMERICAN
RETIREMENT CORPORATION;
LIFE CARE SERVICES, LLC; and,
CYNTHIA AYALA (as to SEMINOLE
PAVILION REHABILITATION AND
NURSING SERVICES),

            Defendants.
________________________________________________________________________

                       CERTIFICATE OF SERVICE
________________________________________________________________________

       I hereby certify that I have this day served a copy of the within and foregoing

NOTICE OF FILING NOTICE OF REMOVAL with the Clerk of Court, which will

automatically send email notification of such filing to the following parties of record

below and by depositing a true copy of the same in the U.S. Mail, with adequate postage

affixed thereon, addressed as follows:

                                   Bennie Lazzara, Jr.
                                   James L. Wilkes, II




                                            3
                            Jason R. Delgado
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Respectfully submitted this 7th day of July, 2020.


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